Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 1 of 291 PageID 18795




                    EXHIBIT G
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 2 of 291 PageID 18796
                                      Raeann M. Bayless

         1                IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
         2                        CHARLESTON DIVISION
         3   ---------------------------------§
             IN RE:     BOSTON SCIENTIFIC CORP.,    §   Master File No. 2:12-MD-02326
         4   PELVIC REPAIR SYSTEM PRODUCTS          §
             LIABILITY LITIGATION                   §   MDL No. 2326
         5                                          §

                 THIS DOCUMENT RELATES TO:          §   JOSEPH R. GOODWIN
         6                                          §   U.S. DISTRICT JUDGE
             RAEANN BAYLESS,                        §

         7                                          §   Case No. 2:16-CV-01311
                      Plaintiff,                    §

         8                                          §
                 v.                                 §

         9                                          §

             Boston Scientific Corporation,         §

       10                                           §

                      Defendant.                    §

       11    ---------------------------------§

       12
                                   Wednesday, June 6, 2018
       13

       14
       15             Videotaped deposition of RAEANN M. BAYLESS,
                 held at Hampton Inn Douglas, 1604 South Peterson
       16        Avenue, Douglas, Georgia, commencing at
                 10:01 a.m., on the above date, before Susan D.
       17        Wasilewski, Registered Professional Reporter,
                 Certified Realtime Reporter, and Certified Realtime
       18        Captioner.
       19
       20

       21
                               GOLKOW LITIGATION SERVICES
       22                 877.370.3377 ph I 917.591.5672 fax
                                    deps@golkow.com
       23
       24
       25

      Golkow Litigation Services                                                 Page 1
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 3 of 291 PageID 18797
                                      Raeann M. Bayless

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       18     ALSO PRESENT:
       19        STAN TAM, Videographer
       20
       21
       22
       23
       24
       25

      Golkow Litigation Services                                             Page 2
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 4 of 291 PageID 18798
                                    Raeann M. Bayless

         1

         2                               I N D E X

         3

         4    Testimony of:    RAEANN M. BAYLESS                                PAGE

         5         DIRECT EXAMINATION BY MS. ERIXSON . . . . . . . . . . . .      6

         6         CROSS-EXAMINATION BY MS. HOWARD . . . . . . . . . . . . . . 158

         7         CROSS-EXAMINATION BY MR. SILVERMAN . . . . . . . . . . . 281

         8

         9

       10                            E X H I B I T S

       11                      (Attached to transcript)

       12     BAYLESS DEPOSITION EXHIBITS                                      PAGE

       13    Exhibit 1   Amended Notice of Deposition Duces                      12

                         Tecum of Raeann Bayless

       14
             Exhibit 2   Medical Record                                          84

       15                Informed Consent and Request for

                         Repair of Relaxation of Pelvic Organs

       16                and/or Urinary Incontinence

       17    Exhibit 3   Medical Record                                          97

                         Surgery/Procedure Consent Form

       18
             Exhibit 4   Amended Plaintiff Fact Sheet                           141

       19
             Exhibit 5   Cross-notice of Deposition of Raeann                   162

       20                Bayless

       21    Exhibit 6   Plaintiff Fact Sheet                                   164

       22    Exhibit 7   Medical Record                                         184

                         COL PLTF 000008 RBAYLESS through

       23                12 RBAYLESS

       24
       25

      Golkow Litigation Services                                                       Page 3
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 5 of 291 PageID 18799
                                  Raeann M. Bayless

         1                        E X H I B I T S

         2                   (Attached to transcript)

         3    BAYLESS DEPOSITION EXHIBITS                          PAGE

         4   Exhibit 8   Medical Record                             199

                         COL PLTF 000460 RBAYLESS through

         5               463 RBAYLESS

         6   Exhibit 9   Medical Record                             216

                         COL PLTF 000203 RBAYLESS through

         7               208 RBAYLESS

         8

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      Golkow Litigation Services                                             Page 4
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 6 of 291 PageID 18800
                                       Raeann M. Bayless

         1

         2               THE VIDEOGRAPHER:     This is the beginning of

         3       Disk Number 1 in the deposition of Raeann

         4       Bayless.     Today's date is June 6th, 2018, and the

         5       time is 10:01 a.m.

         6               My name is Stan Tam and I'm the

         7       videographer.     The court reporter is Susan

         8       Wasilewski.

         9               Counsel, please introduce yourselves,

       10        including who you represent, beginning with the

       11        plaintiff's counsel.

       12                MR. SILVERMAN:     David Silverman with

       13        Schlesinger Law on behalf of the plaintiff.

       14                MS. ERIXSON:     Emily Erixson with Ellis   &


       15        Winters from Raleigh, North Carolina, on behalf

       16        of Boston Scientific.

       17                MS. HOWARD:    Heather Howard and TaCara

       18        Harris of King    &    Spalding in Atlanta on behalf of

       19        Coloplast Corporation.

       20                THE VIDEOGRAPHER:     Please swear in the

       21        witness.

       22                THE COURT REPORTER:    Ma'am, would you raise

       23        your right hand?        I'm going to place you under

       24        oath.

       25                Do you solemnly swear or affirm the

      Golkow Litigation Services                                             Page 5
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 7 of 291 PageID 18801
                                  Raeann M. Bayless

         1       testimony you're about to give will be the truth,

         2       the whole truth, and nothing but the truth?

         3             THE WITNESS:     Yes, I do.

         4             THE COURT REPORTER:     Thank you.

         5             RAEANN M. BAYLESS, called as a witness by

         6    Defendant Boston Scientific Corp., having been duly

         7    sworn, testified as follows:

         8                      DIRECT EXAMINATION

         9    BY MS. ERIXSON:

       10        Q.    Good morning, Ms. Bayless.     If you could,

       11     please state your full name for the record.

       12        A.    Raeann Michelle Bayless.

       13              MS. ERIXSON:     And before we get into some

       14        questions, I just want to make a point for the

       15        record.   The parties have agreed that because

       16        there are two defendants here, each defendant

       17        will be allotted the full three hours to the

       18        extent needed for the course of the deposition.

       19              MR. SILVERMAN:     Just to clarify, I don't

       20        think we discussed agreeing to anything, but I

       21        believe under the court order you guys are

       22        entitled to a full three hours today with regards

       23        to doing it all together.      I don't think we'll

       24        have to exercise that full three hours, but I

       25        guess let's see how the day goes.


      Golkow Litigation Services                                             Page 6
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 8 of 291 PageID 18802
                                      Raeann M. Bayless

         1               MS. ERIXSON:     And we will reserve three

         2       hours for each defendant.

         3               MR. SILVERMAN:     Okay.   Yeah.

         4               MS. ERIXSON:     Thank you.

         5    BY MS. ERIXSON:

         6       Q.      Ms. Bayless, have you ever gone by any other

         7    names or aliases?

         8       A.      (Shaking head.)

         9       Q.      We met

       10        A.      No.

       11        Q.      Thank you.     We met a moment ago.   My name is

       12     Emily Erixson and I represent Boston Scientific.

       13     We've never met before, correct, than other this

       14     morning?

       15        A.      No.

       16        Q.      Have you ever been deposed before?

       17        A.      Not to my knowledge, no.

       18        Q.      I'm going to go over a few rules just to

       19     make it easier and make today flow a little bit

       20     easier.     The purpose of today is for -- is to give

       21     me the opportunity to ask you some questions and

       22     I'll be doing that throughout the course of the

       23     morning.     Okay?

       24        A.      Okay.

       25        Q.      And I'll ask that -- I'm going to ask you a


      Golkow Litigation Services                                             Page 7
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 9 of 291 PageID 18803
                                     Raeann M. Bayless

         1    question and I will ask that you wait until I finish

         2    my question even if you think you know where I'm

         3    going, and I will wait for you to complete your

         4    answer, so that we can make a clear record.       Is that

         5    fair?

         6       A.    Yes, ma'am.

         7       Q.   And if you don't understand one of my

         8    questions, I will ask for you to -- you can tell me

         9    and I'll try to repeat it.    Is that fair?

       10        A.    Yes.

       11        Q.    If you don't indicate that you don't

       12     understand my question, I will assume that you have

       13     understood my question when you answer.       Is that

       14     okay?

       15        A.    That's fine.

       16        Q.   And you understand that you are under oath,

       17     you were just sworn in by the court reporter?

       18        A.    Yes, I understand that.

       19        Q.   And that's the same oath that you would take

       20     before a court of law, do you understand that?

       21        A.    I understand that.

       22        Q.    If you need to take a break at any time,

       23     please let me know and we can do that.     My only

       24     request would be that you answer the question that's

       25     pending at the time.


      Golkow Litigation Services                                             Page 8
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 10 of 291 PageID 18804
                                    Raeann M. Bayless

         1        A.   Okay.

         2        Q.   Okay.

         3             MR. SILVERMAN:     I just want to jump in real

         4        quick.     During the deposition, for the purposes

         5        of a clear record, I may sometimes say something

         6        along the lines of "I object" or "object to

         7        form."     You still have to answer the question.     I

         8        just ask that you give a moment to make that

         9        objection, and the only time you don't answer a

        10        question is if I instruct you not to.

        11             THE WITNESS:     Okay.   Okay.

        12     BY MS. ERIXSON:

        13        Q.   And one more point:      Even though we're on

        14     video today, I'll ask that you give verbal

        15     responses, yeses, nos, rather than nodding your head

        16     or uh-huhs.

        17        A.   Okay.

        18        Q.   And if I correct you, I don't mean to be

        19     insulting you or anything.       It's just for the

        20     purposes of the clear record.

        21        A.   Okay.

        22        Q.   Thank you.

        23             Have you taken any medications in the last

        24     24 hours?

        25        A.   Yes.     I take lisinopril daily for blood


       Golkow Litigation Services                                             Page 9
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 11 of 291 PageID 18805
                                        Raeann M. Bayless

         1     pressure, high blood pressure.

         2        Q.      Any other prescription medications?

         3        A.      No.

         4        Q.      Do you take any vitamins or supplements of

         5     any kind?

         6        A.      I usually do but I'm out right now.

         7        Q.      What do you usually take?

         8        A.      Like a multivitamin.   I don't have a

         9     specific brand.

        10        Q.      And that's something you just get over the

        11     counter?

        12        A.      Uh-huh.

        13        Q.      Any other prescription drugs?

        14        A.      No.

        15        Q.      Have you consumed any alcohol in the last 24

        16     hours?

        17        A.      No, I haven't.

        18        Q.      Have you taken any recreational drugs in the

        19     last 24 hours?

        20        A.      No, I haven't.

        21        Q.      Are there any side effects to the blood

        22     pressure medication that would affect your ability

        23     to testify truthfully and accurately today?

        24        A.      Not at all.

        25        Q.      Do you experience any side effects of that


       Golkow Litigation Services                                           Page 10
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 12 of 291 PageID 18806
                                     Raeann M. Bayless

         1     drug?

         2        A.      No.

         3        Q.      Is there anything else that would prohibit

         4     you from testifying truthfully and accurately this

         5     morning?

         6        A.      No.

         7        Q.      What did you do to prepare for this

         8     deposition today, if anything?

         9                MR. SILVERMAN:   Object to form.    You can

        10        answer.

        11        A.      Nothing.

        12        Q.      Did you meet with your attorney?

        13        A.      Yes, I did do that.

        14        Q.      And without telling me anything that you all

        15     talked about, I don't want to hear about that, how

        16     long did y'all meet?

        17        A.      Just several minutes before we came in here.

        18        Q.      Was today the first time that you met your

        19     attorney?

        20        A.      This attorney, yes.

        21        Q.      Have you met with other attorneys from his

        22     law firm prior to --

        23        A.      I've talked to them on the phone.     I haven't

        24     actually met them.

        25        Q.      Did you review any records in advance of the


       Golkow Litigation Services                                           Page 11
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 13 of 291 PageID 18807
                                      Raeann M. Bayless

         1     deposition today?

         2        A.      No.

         3        Q.      Have you ever reviewed any of your medical

         4     records?

         5        A.      No.

         6        Q.      Did you speak with -- other than your

         7     attorney, did you speak with anyone else about the

         8     deposition today?

         9        A.      No.

        10        Q.      I'm going to ahead and mark --

        11                MR. SILVERMAN:     Are you going to have copies

        12        for me today?

        13                MS. ERIXSON:     Yes.

        14                (Bayless Exhibit 1 was marked for

        15     identification.)

        16     BY MS. ERIXSON:

        17        Q.      Ms. Bayless, I'm showing you what we've

        18     marked as Exhibit 1.        Have you seen this document

        19     before?

        20        A.      I think I received one of these in the mail

        21     recently.

        22        Q.      And if --

        23        A.      I'm not sure -- it's set up like this but

        24     I'm not sure if this was the exact document.

        25        Q.      And I'll represent to you that this is the


       Golkow Litigation Services                                           Page 12
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 14 of 291 PageID 18808
                                  Raeann M. Bayless

         1     notice for your deposition today.

         2        A.   Okay.

         3        Q.   If you would turn to what I believe is the

         4     third page, it says Schedule A.     It may be the

         5     fourth page.

         6             MR. SILVERMAN:     I'm just going to make one

         7        objection with regards to Schedule A.     We've

         8        produced all records pursuant to this       pursuant

         9        to this duces tecum.     Our belief is that the

        10        previous request and the plaintiff's fact sheet

        11        requests mirror the requests in here, so

        12        everything that she has has been produced to you.

        13             MS. ERIXSON:     Okay.

        14     BY MS. ERIXSON:

        15        Q.   And I'll just ask, have you ever had the

        16     opportunity to review this Schedule A?

        17        A.   I did read over it a little bit and I --

        18     yeah, I had received this.

        19        Q.   And did you have any documents that are

        20     listed in any of those paragraphs in your

        21     possession?

        22        A.   No.

        23        Q.   You never had anything?

        24        A.   Ung-ugh.

        25        Q.   Did you ever look for any of those


       Golkow Litigation Services                                           Page 13
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 15 of 291 PageID 18809
                                     Raeann M. Bayless

         1     documents?

         2                MR. SILVERMAN:   Form.   You can answer.

         3        A.      Whatever documents that I had, I turned over

         4     to them.

         5        Q.      Okay.   Thank you.   You can put that to the

         6     side and that will be the court reporter's copy.

         7                Ms. Bayless, what is your current address?

         8        A.      Well, I'm living here in Douglas

         9     temporarily, and that's 341 Greenfield Circle, and

        10     that's Douglas, Georgia, 31535.

        11                My permanent or what has been off and on for

        12     the last 30, 40 -- 30 something years is 1754

        13     Poinciana, that's P-o-i-n-c-i-a-n-a, Circle,

        14     Titusville, Florida 32796.

        15        Q.      You mentioned you are living at the

        16    Greenfield Circle address here in Douglasville

        17     temporarily?

        18        A.      I came down because my daughter just had a

        19     baby.   I've been here for a couple of months and

        20     that was to help her with the baby, you know, get

        21     through the pregnancy and help her with the baby,

        22     which she has had the baby, and in the meantime, I

        23    got a job at McDonald's, so I wasn't in any hurry to

        24    go back right at the moment.

        25        Q.      Is the Greenfield Circle address your

       Golkow Litigation Services                                           Page 14
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 16 of 291 PageID 18810
                                    Raeann M. Bayless

         1     daughter's address?

         2        A.   Uh-huh.

         3        Q.   And which daughter is that?

         4             MR. SILVERMAN:     One second.     I'm just going

         5        to remind you just to give verbal answers, yeses

         6        and nos, and not uh-huhs or shakes of the head.

         7             THE WITNESS:     Okay.   I'm sorry.

         8             MR. SILVERMAN:     It's okay.     I may remind

         9        sometimes.

        10             THE WITNESS:     Okay.

        11             MR. SILVERMAN:     She may remind you.     It's

        12        just to have a clear record.       Okay?

        13             THE WITNESS:     Okay.

        14             MS. ERIXSON:     Thank you.

        15     BY MS. ERIXSON:

        16        Q.   Which daughter is it that you are here --

        17        A.   Kassidy Joe.

        18        Q.   Kassidy Joe.     Thank you.     And when did you

        19     arrive in Douglas?

        20        A.   April the 25th.

        21        Q.   Of 2018?

        22        A.   Of this year, yes.

        23        Q.   And you don't have any present plans to

        24     return to Titusville?

        25        A.   I will return eventually because I have a


       Golkow Litigation Services                                           Page 15
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 17 of 291 PageID 18811
                                        Raeann M. Bayless

         1     mother that's down there that she needs assistance.

         2        Q.      Does your mother live at the Titusville

         3     address?

         4        A.      Yes.

         5        Q.      And you said you've been there for 30, 40

         6     years?

         7        A.      Off and on.     Let's see.   My son is 31 and

         8     they moved in there shortly after he was born.

         9        Q.      Do you own that home?

        10        A.      No.     My mother and father own the home and

        11     my father is deceased and now my mother owns the

        12     home.

        13        Q.      Does anyone else live in that home?

        14        A.      My son and his girlfriend and her two kids,

        15     my son Kevin Pope.

        16        Q.      What is your son's girlfriend's name?

        17        A.      Melissa but I don't know her last name.

        18        Q.      And you said there are two kids?

        19        A.      Not their two kids, her two kids.

        20        Q.      So you mentioned your daughter Kassidy and

        21     your son Kevin.       And you have two other children,

        22     correct?

        23        A.      I do.

        24        Q.      Michelle Pope?

        25        A.      (Nodding head. )


       Golkow Litigation Services                                           Page 16
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 18 of 291 PageID 18812
                                      Raeann M. Bayless

         1        Q.    Is that a yes?

         2        A.    I'm sorry.     Yes.

         3        Q.   And Kenneth Joe?

         4        A.    That's correct.

         5        Q.   Who is the biological father of Michelle

         6     Pope?

         7        A.    He's deceased.        His name is Chester Lee

         8     Pope.   His name was Chester Lee Pope.

         9        Q.   When did he pass?

        10        A.    He passed in 1999.

        11        Q.   Who is the biological           is he also the

        12     biological father of Kevin?

        13        A.    Yes.

        14        Q.   And who is the biological father of Kassidy

        15     Joe?

        16        A.    Kassidy and Kenneth have the same father and

        17     their name is -- his name General Lee Joe.

        18        Q.    I'm sorry.     General Lee Joe?

        19        A.    Yes, That's his name.        There is no junior.

        20        Q.    Is he still alive?

        21        A.    Yes, he is.

        22        Q.   Where does he live?

        23        A.    He lives in Titusville also.

        24        Q.    Do you have his address?

        25        A.    Not his specific address but he lives in a


       Golkow Litigation Services                                           Page 17
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 19 of 291 PageID 18813
                                     Raeann M. Bayless

         1     place called Canaveral Groves.        It's off of US 1,

         2     State Road US 1, in between Titusville and Cocoa.

         3        Q.   Have you ever been married, Ms. Bayless?

         4        A.   No.

         5        Q.   With your four children, did you have

         6     vaginal deliveries with each of those four children?

         7        A.   Yes, I did.

         8        Q.   Did you experience any complications during

         9     labor with any of your four children?

        10             MR. SILVERMAN:     Form.     You can answer.

        11        A.   No.

        12        Q.   How long were the labors for each of those

        13     children?

        14        A.   My daughter Michelle, hers was over the

        15     course of a couple of days.        My son Kevin, I don't

        16     even remember, like maybe eight to 10 hours; and

        17     Kassidy, I want to say eight; and with Kenneth, it

        18     was only about five, three to five.

        19        Q.   Other than those four labor and deliveries,

        20     have you ever been pregnant other than those?

        21        A.   Yes.

        22        Q.   How many times?

        23        A.   Five more times.

        24        Q.   How did each of those pregnancies end?

        25             MR. SILVERMAN:     Form.


       Golkow Litigation Services                                           Page 18
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 20 of 291 PageID 18814
                                    Raeann M. Bayless

         1        A.     I ended three of them, and two of them were

         2     miscarriages.

         3        Q.     With the two that were miscarriages, did you

         4     have to have any medical procedures following the

         5     miscarriage?

         6        A.     No.

         7        Q.     Did you seek medical attention?

         8        A.     No, but I was aware of, you know, what signs

         9     to look for because I've -- I was going to go into

        10     the medical field and just from having other

        11     children, I knew what the look for.

        12        Q.     And what were those signs?

        13               MR. SILVERMAN:   Form.

        14        A.     Infection, big clots, after the miscarriage,

        15     any more big clots, foul smell, something to that

        16     effect.

        17        Q.     When were each of the two miscarriages?

        18        A.     Between -- between 1988 and 1989.   They

        19     were, like, back to back, but I couldn't give you a

        20     specific date or month.

        21        Q.     Prior to the miscarriage, did you know that

        22     you were pregnant?

        23        A.     Yes.

        24               MR. SILVERMAN:   Form.

        25        Q.     And you mentioned that you noticed an


       Golkow Litigation Services                                           Page 19
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 21 of 291 PageID 18815
                                     Raeann M. Bayless

         1     infection.    Can you describe that for me?

         2        A.   No.     I said I knew what to look for.     I

         3     didn't say I had an infection.

         4        Q.   Okay.     Thank you.

         5        A.   That's why I did not seek medical attention.

         6        Q.   What -- what symptoms did you experience

         7     prior to the miscarriage?

         8             MR. SILVERMAN:     Object to the form; vague as

         9        to which miscarriage.

        10        Q.   Both of them.

        11             MR. SILVERMAN:     Form.

        12        A.   Like strong period cramps, not quite labor

        13     pains but sharper pains than a period cramp, and it

        14     didn't come and go like a contraction.        It was,

        15     like, steady.

        16        Q.   And the three other pregnancies that you

        17     described you ended in abortion?

        18        A.   Yes, I did.

        19        Q.   Where were those abortions performed?

        20        A.   Orlando, Florida.

        21        Q.   When were they?

        22        A.   Oh, no.     I'm sorry.     One of them was in

        23     Jack -- Orange -- well, I was living in Orange Park

        24     at the time, Orange Park, Florida, and I don't

        25     remember exactly where I went.        It might have been


       Golkow Litigation Services                                           Page 20
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 22 of 291 PageID 18816
                                         Raeann M. Bayless

         1     on in to Jacksonville, because I don't remember

         2     having an abortion clinic in Orange Park, but that

         3     was the first one, in 1983.

         4               And the second one, when I moved back to

         5     Titusville, there were a few months in between that,

         6     so I'd say 1984, maybe a year -- within a year I got

         7     pregnant again and very -- I had a high temperature

         8     from a urinary tract infection that was caused from

         9     not drinking enough water or hydrating myself, and

        10     the temperatures were so high that the doctor said

        11     there might be some brain damage, so I elected to

        12     end the pregnancy.

        13          Q.   And that was in 1984?

        14          A.    '84.   Okay.    And then the other abortion was

        15     after the miscarriage, between '87 and '89 -- well,

        16     1   88 and '89, I got pregnant again not too long after

        17     I miscarried.      Okay.    Hold on.

        18                I got pregnant from somebody in Orlando and

        19     I miscarried that one, and then when I came back to

        20     Titusville, I -- it was a matter of a couple of

        21     months and I got pregnant from someone else and

        22     miscarried that one.        And then several months --

        23     within six months I got pregnant from that same

        24     person.     It was Kenneth and Kassidy's father, those

        25     four pregnancies right there, and I chose to end

       Golkow Litigation Services                                           Page 21
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 23 of 291 PageID 18817
                                  Raeann M. Bayless

         1     that one.

         2             And then when I got pregnant with Kassidy, I

         3     chose not to, and with Kenneth I chose not to, even

         4     though they were kind of relatively close together.

         5        Q.   With the three terminated pregnancies, did

         6     you have to -- did you have a medical procedure to

         7     end those pregnancies?

         8        A.   Yes.

         9             MR. SILVERMAN:     Form.

        10        Q.   Do you know what that procedure was?

        11             MR. SILVERMAN:     Form.

        12        A.   However they perform abortions.

        13        Q.   Ms. Bayless, how many sexual partners have

        14     you had that involved vaginal intercourse?

        15             MR. SILVERMAN:     Object to the form.

        16        A.   I don't know.

        17        Q.   Is it greater than 50?

        18             MR. SILVERMAN:     Form.

        19        A.   No.

        20        Q.   Greater than 20?

        21             MR. SILVERMAN:     Form.

        22        A.   Probably around 20.

        23        Q.   We're going to turn to your education

        24     background and work history now.

        25        A.   Okay.


       Golkow Litigation Services                                           Page 22
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 24 of 291 PageID 18818
                                       Raeann M. Bayless

         1        Q.      Did you attend Orange Park High School in

         2     Florida?

         3        A.      I did.    Yes, I did, but I didn't graduate

         4     from there.

         5        Q.      Why was that?

         6        A.      Because my father was retired Navy, which is

         7     why we were in Orange Park in the first place, and I

         8     had about a          in high school, I had about a

         9     year-and-a-half to go in high school, and at that

        10     time, I was 17, we moved to Titusville because my

        11     father got a job at the Cape.

        12        Q.      Did you attend a different high school in

        13     Titusville?

        14        A.      I attended Whispering Hills Adult Education

        15     under the regular high school program.        It was a

        16     high school program also, and I received a high

        17     school diploma.

        18        Q.      Did you       since high school, have you had

        19     any other education?

        20        A.      I went to college -- I attempted college a

        21     few times.     I have one college credit.

        22        Q.      When you say you attempted, did you leave

        23     and come back?

        24        A.      I enrolled about three or four times.

        25        Q.      And why didn't you complete the course?


       Golkow Litigation Services                                           Page 23
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 25 of 291 PageID 18819
                                       Raeann M. Bayless

         1                MR. SILVERMAN:     Form.

         2        A.      Pregnancies, a bad relationship, dysfunction

         3     in the family.        I don't know.

         4        Q.      You mentioned that you were going to go into

         5     the healthcare field.        What field did you plan to go

         6     into?

         7        A.      Nursing.

         8        Q.      Is that the credit that you have?

         9        A.      No.   That was Introduction into the Legal

        10     System.     I did go to school in 1987 to be certified

        11     in nurse's aide.        I did become a nurse's aide.

        12        Q.      Which school was that?

        13        A.      It was through the local community college.

        14     It was Brevard Community College, which is where I

        15     have the other credit I have, but it was a separate

        16     program.

        17        Q.      How long was that program to become a

        18     nurse's aide?

        19        A.      Just a few weeks, like eight weeks.

        20        Q.      Did you work as a nurse's aide after that

        21     point?

        22        A.      I did.

        23        Q.      For how long?

        24        A.      Well, I was pregnant at the time and when I

        25     went to school I worked a few months after I was


       Golkow Litigation Services                                           Page 24
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 26 of 291 PageID 18820
                                    Raeann M. Bayless

         1     certified at one place, and then I went to a new

         2     place and stayed there for about a year or less.

         3        Q.   Is the certification that you have to be a

         4     nurse's aide something that you have to renew

         5     periodically?

         6        A.   Yes, but I haven't renewed it.

         7        Q.   When was the last time you held that

         8     certification?

         9        A.   It was 1987,   '88.

        10        Q.   So you held it for about a year?

        11        A.   Hm-mm.

        12        Q.   Are currently employed?

        13        A.   Yes, I am.

        14        Q.   And that's the job at McDonald's you

        15     mentioned?

        16        A.   Uh-huh.

        17        Q.   How long have you been at that job?

        18        A.   Since April the 25th.

        19        Q.   How many hours do you work in a week at

        20    McDonald's?

        21        A.   I average about 30 a week, but I am allowed

        22     to work overtime and I elect to do that quite often,

        23     so it varies.

        24        Q.   How much do you get paid -- do you get paid

        25     per hour at McDonald's?


       Golkow Litigation Services                                           Page 25
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 27 of 291 PageID 18821
                                    Raeann M. Bayless

         1        A.     Per hour, $7.25 per hour.

         2        Q.     Are there any other benefits associated with

         3     that position?

         4        A.     Not yet, no.   You have to be there for a

         5     certain period of time.

         6        Q.     Do you currently have health insurance

         7     otherwise?

         8        A.     No.   I'm not eligible for that until after

         9     the three-month probation, but the open enrollment

        10     for McDonald's is not until November, which I plan

        11     to do that, I plan to get it.

        12        Q.     When was the last time that you had health

        13     insurance?

        14        A.     I don't -- I can't even remember.    I would

        15    go through somebody else that's based on your

        16     income.

        17        Q.     Do you have Medicaid?

        18        A.     No.

        19        Q.     Prior to working at McDonald's, what was the

        20     last job that you held?

        21        A.     I was self-employed.    I did housekeeping for

        22     a few people.

        23        Q.     And that was in Titusville?

        24        A.     Uh-huh.

        25        Q.     How many hours per week did you work as a


       Golkow Litigation Services                                           Page 26
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 28 of 291 PageID 18822
                                    Raeann M. Bayless

         1     housekeeper?

         2        A.   It just depended on when I was needed.      I

         3     had to -- I took care of my mother a lot, so I had

         4     to work around that.

         5        Q.   And from -- during what time period were you

         6     self-employed as a housekeeper?

         7        A.   From the time I came back from Orlando, this

         8     time was 2012 or '13, until I moved here.

         9        Q.   And until you moved to Douglasville?

        10        A.   Uh-huh.

        11        Q.   I'm sorry.     Douglas.

        12             During that period, between 2012 and 2018,

        13     when you moved to Douglas, did you hold any other

        14     jobs?

        15        A.   Yes.     I went to beauty school while I was in

        16     Orlando through vocational rehab, and I worked at a

        17     nail and day spa there for a year.

        18        Q.   I'm going to take one step back.      When you

        19     were working as a housekeeper, how much did you get

        20     paid?

        21             MR. SILVERMAN:     Form.

        22        A.   It was       it varied.    It wasn't very

        23     lucrative, but it was enough to, you know, get my

        24     cigarettes or, you know, get -- have little stuff,

        25     personal hygiene, stuff like that.


       Golkow Litigation Services                                           Page 27
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 29 of 291 PageID 18823
                                  Raeann M. Bayless

         1        Q.   How long did you work at the nail spa?

         2        A.   About a year.

         3        Q.   How much did you make during --

         4        A.   I make commissions.

         5             MR. SILVERMAN:    Form.

         6        A.   So it was 60/40, I made 60 and they made 40

         7     percent of whatever, and it varied.     It just

         8     depended on -- because I didn't have a clientele

         9     built up, so it just varied by whatever they brought

        10     in through Groupon or something like that, walk-ins.

        11        Q.   You made 40 percent of whatever was charged

        12     to the client?

        13        A.   I made 60, they made 40.

        14        Q.   Sixty.   Thank you.    Other than the nail

        15     salon, any other employment?

        16        A.   Several places.

        17        Q.   Let's say since 2000.

        18        A.   Not -- since 2000?     Dunkin' Donuts while I

        19     was in Orlando in 2001.    I worked there several

        20     months, maybe a year, before I moved back to

        21     Titusville, and then I've worked at Ramada Inn.

        22     I've done, like, room attendant, maid work at

        23     motels, and that was about it, because I had a -- I

        24     was in a relationship where he pretty much was the

        25     provider.


       Golkow Litigation Services                                           Page 28
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 30 of 291 PageID 18824
                                  Raeann M. Bayless

         1        Q.   You've mentioned a couple of times going

         2     back and forth between Orlando and Titusville.     Why

         3     was that?

         4             MR. SILVERMAN:   Form.

         5        A.   In 2001 -- well, let me go back.    In '99 I

         6     had broke up with Kassidy and Kenneth's father, and

         7     I was kind of devastated about it, so I got into

         8     drugs for a little while and I went to rehab over in

         9     Orlando in 2001, 2000 to 2001.

        10        Q.   Were you living in Orlando at the time?

        11        A.   I was at a residential program.

        12        Q.   So the rehab facility was in Orlando?

        13        A.   Yes.

        14        Q.   Were you living in Orlando prior to

        15     attending the rehab facility?

        16        A.   No.

        17        Q.   And if you'll just wait until I ask the

        18     question.

        19        A.   Okay.

        20        Q.   You were not living in Orlando prior to

        21     attending the rehab?

        22        A.   No.

        23        Q.   You went there for the purpose of the rehab?

        24        A.   Right.

        25        Q.   What drugs were you using?


       Golkow Litigation Services                                           Page 29
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 31 of 291 PageID 18825
                                        Raeann M. Bayless

         1                MR. SILVERMAN:    Form.

         2        A.      Crack cocaine.

         3        Q.      And in that period between 1999 and 2001,

         4     how frequently did you use crack cocaine?

         5                MR. SILVERMAN:    Object to the form.

         6        A.      As much as I could.

         7        Q.      Daily?

         8                MR. SILVERMAN:    Form.

         9        A.      Almost daily, yes.

        10        Q.      When was the first time you used crack

        11     cocaine?

        12        A.      Around that time.

        13        Q.      Around 1999?

        14        A.      Uh-huh.   Yes.

        15        Q.      Thank you.

        16                What was the name of the residential rehab

        17     program that you attended in Orlando?

        18        A.      The Bridge.

        19        Q.      The Bridge?

        20        A.      Uh-huh.

        21        Q.      Were you there for an entire year?

        22        A.      No.   It was a six-month program and I

        23     completed the program successfully.

        24        Q.      During that six-month period did you use

        25     crack cocaine?


       Golkow Litigation Services                                           Page 30
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 32 of 291 PageID 18826
                                       Raeann M. Bayless

         1           A.   No.

         2           Q.   Was that program funded by health insurance?

         3           A.   No.     It was court ordered, so it was paid

         4     for.

         5           Q.   What led to the court order?

         6                MR. SILVERMAN:     Form.

         7           A.   A possession charge.


         8           Q.   When was the possession charge?

         9           A.   Right before I went there, a couple of

        10     months before I went to it.

        11           Q.   In 2000?

        12           A.   Uh-huh.    Yes.

        13           Q.   Where -- where was the possession charge?

        14           A.   In Titusville.

        15           Q.   How much -- was it crack cocaine possession?

        16                MR. SILVERMAN:     Form.

        17           A.   Well, it was       they didn't have any actual

        18     pieces of crack.        It was like residue in an

        19     instrument I was using or that I was in possession

        20     of.

        21           Q.   Was that a pipe?

        22           A.   Yeah.

        23           Q.   Were you convicted of possession?

        24                MR. SILVERMAN:     Object to form.

        25           A.   Not until 2005.


       Golkow Litigation Services                                           Page 31
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 33 of 291 PageID 18827
                                    Raeann M. Bayless

         1        Q.   Was that a separate instance or all related?

         2        A.   No, it just took that long, because

         3     initially I got two-and-a-half years probation or

         4     something, and I didn't have to take any drug tests

         5     or any of that stuff and adjudication was withheld,

         6     but my probation officer wanted -- there was a new

         7     program coming out, a new residential rehab called

         8     the Phoenix House, and we were personally involved,

         9     not as lovers or anything like, but my kids hung

        10     around with her kids and that was a conflict of

        11     interest.   So she told me not to say anything to

        12     anybody because then I'd get a new probation officer

        13     as a conflict of interest, but in the end she turned

        14     on me and I had to start probation all over again,

        15     and then they convicted me of it for other -- for

        16     other reasons.

        17             My boyfriend used to abuse me physically and

        18     emotionally, and one particular time it was kind of

        19     bad and she said that she could not let me stay in

        20     his presence and be okay with herself, so if I

        21     didn't press charges against him, she was going to

        22     violate me, and that's what she did.     So then that

        23     turned into the -- a new court -- going through the

        24     court again.     And I told them I didn't want to do

        25     any more probation and then they convicted me of it,

       Golkow Litigation Services                                           Page 32
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 34 of 291 PageID 18828
                                       Raeann M. Bayless

         1    gave me a plea deal and convicted me of it.

         2        Q.      Okay.     I'm going to go back.   We're going to

         3     still talk about the this same instance, I'm just

         4    going to go back and help myself with the time line.

         5        A.      Okay.

         6        Q.      So you were arrested --

         7        A.      In two

         8        Q.      Let me finish my question.

         9        A.      I'm sorry.

        10        Q.      You were arrested in 2000 for a possession

        11     of crack cocaine charge; is that correct?

        12        A.      Uh-huh.

        13                MR. SILVERMAN:     Object to the form.   I am

        14        just going to instruct you that if you had an

        15        attorney at the time, any conversations with that

        16        attorney would be privileged, so you are not to

        17        divulge that information.        Okay?

        18                THE WITNESS:     Okay.

        19     BY MS. ERIXSON:

        20        Q.      After you were arrested, you indicated that

        21     you -- there was a court order in place to send you

        22     to the six-month residential program, The Bridge,

        23     correct?

        24                MR. SILVERMAN:     Object to form.

        25        A.      That was part of the withholding the


       Golkow Litigation Services                                            Page 33
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 35 of 291 PageID 18829
                                     Raeann M. Bayless

         1     adjudication and the two years probation.       That was

         2     part of the -- I had to do a six-month residential

         3     program at The Bridge.

         4        Q.     So that was --

         5        A.     It was all together.

         6        Q.     So initially you were given probation and a

         7     six-month residential in response to your arrest in

         8     2000, correct?

         9               MR. SILVERMAN:     Object to form; asked and

        10        answered.

        11        Q.     Is that correct?

        12        A.     Yes, that's correct.

        13        Q.     And then you mentioned a probation officer.

        14     What was her name?

        15        A.     I know her pretty well but I can't think of

        16     her name right now.     I don't know.    I'd have to go

        17     back and find it for you.       I don't know.   It's been

        18     a long time and my memory is not the same about some

        19     things.

        20        Q.     Did you work with that probation officer

        21     between 2000 and 2005?

        22               MR. SILVERMAN:     Form.

        23        A.     Okay.   First of all, her name is

        24    Mrs. Griffin but I can't remember -- I think it was

        25     Kathy Griffin, Griffin.


       Golkow Litigation Services                                           Page 34
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 36 of 291 PageID 18830
                                     Raeann M. Bayless

         1              I'm sorry.     What did you say?

         2        Q.    Did you work with Ms. Griffin between 2000

         3     and 2005?

         4        A.    Yes.

         5        Q.    And during       is there a more specific

         6     period between 2000 and 2005 that you worked with

         7    Ms. Griffin, or was it that whole period?

         8        A.    It was pretty much that whole period.

         9        Q.    You testified that she turned on you at some

        10     point.   Can you explain that?

        11              MR. SILVERMAN:     Object to the form; asked

        12        and answered.      You can answer if you remember.

        13        A.    Yeah, she did.     She wanted to -- she wanted

        14     to -- it was a new thing to -- I guess they get

        15     credit or something for sending people to the

        16     Phoenix House, and it was a new thing and she kind

        17     of, to me, was just -- in my personal opinion, she

        18     was looking for something to violate me for so she

        19     could send me there and get bonus points or whatever

        20     they get for sending you there.

        21        Q.    What kind of establishment is the Phoenix

        22    House?

        23              MR. SILVERMAN:     Form.

        24        A.    It's a residential rehab but it's more

        25     long-term.      It's like an 18-month to two-year


       Golkow Litigation Services                                           Page 35
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 37 of 291 PageID 18831
                                    Raeann M. Bayless

         1     program.

         2        Q.      And did you ever attend Phoenix House?

         3        A.      No.

         4        Q.      You mentioned that you were in a

         5     relationship at the time that involved physical

         6     abuse.

         7        A.      Yes.

         8        Q.      Who was that with?

         9                MR. SILVERMAN:   Form.

        10        A.      His name was Willie Dixon.

        11        Q.      And I know this may be difficult to talk

        12     about but was there sexual abuse in that

        13     relationship?

        14        A.      No.

        15        Q.      Did you ever report the abuse to

        16     authorities?

        17        A.      I did, but I never followed through with it.

        18        Q.      When did that relationship end?

        19        A.      Three years ago in November.   It will be

        20     three years in November.

        21        Q.      Did the abuse continue between 2005 and

        22     2015?

        23        A.      Yes, throughout the whole relationship.

        24        Q.      You mentioned that you successfully

        25     completed the six-month program at The Bridge and


       Golkow Litigation Services                                           Page 36
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 38 of 291 PageID 18832
                                     Raeann M. Bayless

         1     you didn't use crack cocaine during that time

         2     period, correct?

         3        A.      That's correct.

         4                MR. SILVERMAN:    Form.

         5        Q.      Since leaving The Bridge have you used crack

         6     cocaine?

         7        A.      Maybe twice.

         8        Q.      When were those two occasions?

         9                MR. SILVERMAN:    Form.

        10        A.      I don't remember the exact dates.

        11        Q.      When was the last time that you used crack

        12     cocaine?

        13        A.      It's been a long time, but I don't remember.

        14     Like, over a year.

        15        Q.      Over a year from today?

        16        A.      No.

        17                MR. SILVERMAN:    Form.

        18        A.      It's been several months, over 12.

        19        Q.      Have you ever used any other illicit drugs?

        20        A.      No.   Well, marijuana, if you consider that

        21     illicit.

        22        Q.      How many times have you smoked marijuana?

        23                MR. SILVERMAN:    Form.

        24        A.      Just a handful because it didn't effect --

        25     it didn't agree with me.


       Golkow Litigation Services                                           Page 37
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 39 of 291 PageID 18833
                                    Raeann M. Bayless

         1        Q.   You mentioned that in 2005 you were

         2     convicted of the possession charge; is that correct?

         3        A.   That's correct.

         4        Q.   Did you receive a sentence?

         5        A.   I did receive a six-month county jail time

         6     sentence, and I did four on that six.

         7        Q.   Other than that conviction, have you ever

         8     been convicted of a crime?

         9             MR. SILVERMAN:       Object to form.

        10        A.   Some misdemeanors for paraphernalia, open

        11     container, driving on a suspended license.

        12        Q.   Anything else?

        13        A.   No, mostly those.

        14        Q.   Other than The Bridge facility, have you

        15     ever attended another rehab program?

        16        A.   Several, yes.

        17        Q.   What are those programs?

        18        A.   Let's see.    The Robin's Nest in Palm Bay,

        19     Florida; Christ Aid in Titusville, Florida; Parkside

        20     Lodge, that was in 19 -- so I do have kind of a

        21     history of this      1987.

        22             I can't even remember them.       Let's see.   I

        23     think that was all of them right there.

        24        Q.   Were those all residential programs?

        25        A.   Yeah.


       Golkow Litigation Services                                           Page 38
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 40 of 291 PageID 18834
                                      Raeann M. Bayless

         1        Q.    How were they paid for?

         2              MR. SILVERMAN:     Object to form.

         3        A.    The first one, my mother paid for it,

         4     Parkside Lodge.       The rest of them were on a sliding

         5     scale.

         6        Q.    What does that mean?

         7        A.    That means based on your income, so you

         8     could go in without having to pay anything and then

         9     you were supposed to get a job later on or whatever.

        10        Q.    How long were each of those programs,

        11     starting with the Parkside Lodge?

        12              MR. SILVERMAN:      Form.

        13        A.    That was a six-week program, 45 days.

        14     Robin's Nest was 30 days.       Christ Aid was

        15     indefinite, as long as you needed it.         Then I

        16     already told you that Parkside Lodge -- I mean The

        17     Bridge was six months.

        18        Q.    You mentioned earlier that you started using

        19     crack cocaine in 1999, after your breakup.

        20        A.    Yeah.    I

        21              MR. SILVERMAN:     Just -- there's no question.

        22        Wait for her questions.

        23        Q.    Yeah.    Then you now mentioned that you

        24     attended the Parkside Lodge in 1987.       Was that

        25     related to crack cocaine use?


       Golkow Litigation Services                                           Page 39
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 41 of 291 PageID 18835
                                    Raeann M. Bayless

         1        A.      It was.

         2                MR. SILVERMAN:     Object to form.

         3        Q.      So you started using crack cocaine

         4        A.      It was early on.     I --

         5                MR. SILVERMAN:     Wait for her --

         6        Q.      If you'll just wait until I ask

         7                MR. SILVERMAN:     I'm sorry.   Wait for her

         8        question.     It's okay.

         9        Q.      Did you start using crack cocaine in 1987 or

        10     some other date?

        11                MR. SILVERMAN:     Object to form; asked and

        12        answered.     Counsel, you've went over this over

        13        and over and over again.

        14                MS. ERIXSON:     She just changed her

        15        testimony, so I'm just clarifying.

        16                MR. SILVERMAN:     She hasn't changed anything.

        17        She has clarified this several times.           It is

        18        borderline harassment already.          You've asked this

        19        same topic over and over and over again.           I will

        20        let her answer it this time, but if you can move

        21        on, please.

        22                MS. ERIXSON:     Your objection is noted.

        23     BY MS. ERIXSON:

        24        Q.      When did you first start using crack

        25     cocaine?


       Golkow Litigation Services                                             Page 40
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 42 of 291 PageID 18836
                                     Raeann M. Bayless

         1              MR. SILVERMAN:    Object to form.

         2        A.    I had used crack cocaine -- and I should

         3     have said that -- a couple of times in 1987, but

         4     when I was really -- I don't know how to put it.

         5     When I was really, like, having a problem with it

         6     started in 1999 and it lasted for however long, a

         7     year or something, a couple years.

         8        Q.    All right.    We will move on and we're going

         9     to turn to your general medical history now.

        10        A.    Okay.

        11        Q.    Other than the surgeries that have brought

        12     us here today, have you had any other pelvic

        13     surgeries in your lifetime?

        14              MR. SILVERMAN:    Form.

        15        A.    A tubal ligation.

        16        Q.    When was that surgery?

        17        A.    In 1992.

        18        Q.    Which doctor performed that surgery?

        19        A.    Dr. Bhalani in Titusville, Florida.

        20        Q.    Can you spell that?

        21        A.    Bhalani, B-a-h-a-1-a-n-i.    He's Indian.   I'm

        22     not sure if that's the correct spelling but it's

        23     close.

        24        Q.    Did you experience any complications with

        25     that surgery?


       Golkow Litigation Services                                           Page 41
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 43 of 291 PageID 18837
                                    Raeann M. Bayless

         1             MR. SILVERMAN:     Form.

         2        A.   Except for the fact that he left gauze

         3     inside of me after he performed it, no.

         4        Q.   Did you have a subsequent surgery to remove

         5     the gauze?

         6        A.   No.     I just pulled them out.

         7        Q.   You pulled the gauze out?

         8        A.   Yeah.

         9        Q.   From --

        10        A.   The vaginal

        11        Q.   Could you see it at the incision?

        12        A.   From the vaginal canal.

        13        Q.   Did you do that yourself?

        14        A.   I did.

        15        Q.   Did you ever seek medical attention related

        16     to the gauze?

        17        A.   No.     It hadn't been in there that long.

        18        Q.   Other than the tubal ligation, any other

        19     pelvic surgeries?

        20        A.   No.

        21        Q.   Any other surgeries of any kind?

        22        A.   Gallbladder, colonoscopy

        23        Q.   Let's just go through them one by one.       When

        24     was the gallbladder surgery?

        25        A.   '92.


       Golkow Litigation Services                                           Page 42
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 44 of 291 PageID 18838
                                  Raeann M. Bayless

         1        Q.   Which doctor performed that?

         2        A.   I don't know.    It's in the -- you can find

         3     it in the medical records.

         4        Q.   What else besides gallbladder removal?

         5        A.   What did - - a colonoscopy.

         6        Q.   When did you have a colonoscopy?

         7        A.   Around 2004 or 2005.

         8        Q.   Was that a routine procedure or was that

         9     recommended?

        10        A.   Yes, it was routine.

        11        Q.   Which doctor performed the colonoscopy?

        12        A.   I don't know.    It's been a long time.

        13        Q.   Where was that performed?

        14        A.   In Titusville.

        15        Q.   Any other surgeries?

        16        A.   Not -- no, not to my knowledge.    I can't

        17     remember any, except for the abortions.

        18        Q.   Have you ever had any injuries to your

        19     spinal cord?

        20        A.   No.

        21        Q.   Any neurological diseases?

        22        A.   No.

        23             MR. SILVERMAN:   Form.

        24        Q.   Have you ever had any problems with blood

        25     clotting?


       Golkow Litigation Services                                           Page 43
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 45 of 291 PageID 18839
                                     Raeann M. Bayless

         1        A.      No.

         2                MR. SILVERMAN:     Form.

         3        Q.      Have you ever had any -- have you ever been

         4     diagnosed with any autoimmune connective tissue

         5     disease?

         6        A.      No.

         7        Q.      Have you ever been diagnosed with arthritis?

         8        A.      No.

         9        Q.      Have you ever had any problems with your

        10     kidneys?

        11        A.      No.

        12        Q.      Have you experienced any degenerative

        13     changes as you've gotten older?

        14                MR. SILVERMAN:    Object to form.

        15        A.      Joint, maybe joint problems.

        16        Q.      Tell me about the joint problems that you've

        17     experienced.

        18                MR. SILVERMAN:    Object to form; misstates

        19        testimony.

        20        A.      Mostly

        21                THE WITNESS:     Pardon me?

        22                MR. SILVERMAN:    You can answer.

        23        A.      Mostly in my neck or something like that.

        24     There's not -- when I lift things or something, you

        25     know, they start hurting.        If I've been walking on


       Golkow Litigation Services                                           Page 44
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 46 of 291 PageID 18840
                                   Raeann M. Bayless

         1     my knees too long, one of my knees kind of hurts.

         2        Q.    So you mentioned that sometimes you

         3     experience discomfort in your neck; is that correct?

         4        A.    Uh-huh.

         5              MR. SILVERMAN:     Form.

         6        Q.    How often do you experience that discomfort?

         7        A.    It depends on how -- you know, how -- how

         8     much activity, physical activity that I done.

         9        Q.    What kind of discomfort do you experience?

        10        A.    Stiffness, pain.

        11        Q.    Anything else related to your neck?

        12        A.    No, not really, no, stiffness, pain mostly.

        13        Q.    Have you ever sought medical attention for

        14     that stiffness?

        15        A.    I got in a car wreck in July, I think it was

        16     July of the same year, 2013, that I had the surgery,

        17     but it was before the surgery.

        18              MR. SILVERMAN:     Let's take a short break.

        19        It's about an hour.

        20              THE VIDEOGRAPHER:     Off the record at 10:50.

        21             (Recess from 10:50 a.m. until 11:02 a.m.)

        22              THE VIDEOGRAPHER:     Back on the record at

        23        11:02.

        24     BY MS. ERIXSON:

        25        Q.    Ms. Bayless, we just took a quick break.


       Golkow Litigation Services                                           Page 45
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 47 of 291 PageID 18841
                                  Raeann M. Bayless

         1    During that break did you speak with your attorney?

         2             MR. SILVERMAN:     Object to the form.

         3        A.   Just briefly.

         4        Q.   What did you talk about?

         5             MR. SILVERMAN:     Whoa, whoa.   I object.   You

         6        are not to answer that question.

         7             I can't believe you are even asking the

         8        question that would invade an attorney-client

         9        privilege, and I am going to instruct her not to

        10        answer pursuant to the attorney-client privilege.

        11             MS. ERIXSON:     Well, and I'll note an

        12        objection that during the pendency of the

        13        deposition, to the extent that attorney --

        14        there's a conversation between the attorney and

        15        the client about the substance of this testimony,

        16        that violates federal rules.

        17             MR. SILVERMAN:     To the extent -- I'm going

        18        to instruct her not to answer with regards to the

        19        conversation she may or may not have had with the

        20        attorney during the break.     That's subject to the

        21        attorney-client privilege and you can move on.

        22     BY MS. ERIXSON:

        23        Q.   Are you going to abide by your attorney's

        24     recommendation not to answer?

        25        A.   Yes.


       Golkow Litigation Services                                           Page 46
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 48 of 291 PageID 18842
                                    Raeann M. Bayless

         1        Q.   Did you take a smoking break when we had the

         2     break a few moments ago?

         3             MR. SILVERMAN:     Form.

         4        A.   I did.

         5        Q.   How many cigarettes did you smoke?

         6        A.   A half, not even a half.

         7        Q.   A half a cigarette?

         8        A.   Yes.

         9        Q.   How many cigarettes do you smoke in a day?

        10             MR. SILVERMAN:     Object to form.

        11        A.   It varies.    A pack can last me a couple

        12     days.

        13        Q.   And how long have you been a smoker?

        14        A.   Off and on for 30 years.

        15        Q.   Before we took the break, Ms. Bayless, we

        16     were talking about your general medical history.     Do

        17     you remember that?

        18        A.   Yes.

        19        Q.   And you mentioned that you were in a car

        20     accident in 2013.

        21        A.   Yes.

        22             MR. SILVERMAN:     Form.

        23        Q.   Can you describe that car accident for me?

        24        A.   I was rear-ended by someone while I was

        25     stopped at a red light.


       Golkow Litigation Services                                           Page 47
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 49 of 291 PageID 18843
                                        Raeann M. Bayless

         1        Q.      Did you experiences any injuries as a result

         2     of that car accident?

         3        A.      The whiplash from the -- that's why I have

         4     neck pain.

         5        Q.      Did you seek medical attention?

         6        A.      I did.

         7        Q.      From whom?

         8        A.      I can't remember their names right at the

         9     moment.

        10        Q.      Where were you?

        11        A.      In Orlando.

        12        Q.      Did you go to the hospital?

        13        A.      Not right away.     I went maybe a day later.

        14        Q.      Did you receive any treatment for your

        15     whiplash?

        16        A.      I did receive chiropractic, but I don't

        17     remember her name.        It was a lady.

        18        Q.      How many chiropractic treatments did you

        19     receive?

        20        A.      I went several times but I don't remember

        21     how many times.

        22        Q.      And you're not claiming whiplash as an

        23     injury in this lawsuit, correct?

        24                MR. SILVERMAN:     Object to form.

        25        A.      No, not at all.


       Golkow Litigation Services                                           Page 48
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 50 of 291 PageID 18844
                                   Raeann M. Bayless

         1        Q.    You were also describing some joint pains

         2     that you experienced.      We've talked about your neck

         3     pain related to your car accident, correct?

         4        A.    (Nodding head.)

         5        Q.    Yes?

         6        A.    Yes.   I'm sorry.

         7        Q.    And you mentioned that you also experience

         8     some pain in your knees; is that right?

         9              MR. SILVERMAN:      Object to form.

        10        A.    I have one knee, that is my right knee.

        11     Shortly after I had my son in '92, I put my knee

        12     down on the bed while I had him in my arm to brace

        13     myself so I could sit down, and I kind of twisted it

        14     a little bit, and with -- depending how much

        15     physical activity I do, it is starting -- it's

        16     starting to hurt.    It didn't give me a problem for a

        17     long time, but I guess it's weaker now because I'm

        18     older.

        19        Q.    And that is -- that knee pain is not

        20     something you're claiming as an injury in this

        21     lawsuit, correct?

        22        A.    No.

        23              MR. SILVERMAN:      Form.

        24        Q.    Other than the blood pressure medication

        25     that you mentioned at the beginning of the


       Golkow Litigation Services                                           Page 49
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 51 of 291 PageID 18845
                                   Raeann M. Bayless

         1     deposition today, in the last 10 years have you ever

         2     taken any other prescription drugs?

         3        A.   Yes, antibiotics.

         4             MR. SILVERMAN:    Form.

         5        Q.   And on what occasions have you taken

         6     antibiotics?

         7        A.   Several occasions.

         8        Q.   To treat what injuries?

         9        A.   To treat -- to treat --

        10             MR. SILVERMAN:    Object to form.

        11        A.        bacterial vaginosis and I would get the

        12     antibiotic because -- I don't know why but it was

        13     treatable and it would go away.    I have that problem

        14     currently but I can't get rid of it now.

        15        Q.   And you're talking about bacterial

        16     vaginosis?

        17        A.   Yes.

        18        Q.   You experience that currently?

        19        A.   Some kind of infection, yes.

        20        Q.   When was the first time that you experienced

        21     bacterial vaginosis, as far as you know?

        22        A.   I don't know.

        23        Q.   Was it prior to the surgery in 2013?

        24        A.   It was.

        25        Q.   And how many times prior to the surgery in


       Golkow Litigation Services                                           Page 50
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 52 of 291 PageID 18846
                                     Raeann M. Bayless

         1     2013 did you have bacterial vaginosis?

         2        A.   It was a few times.

         3             MR. SILVERMAN:    Object to form.

         4        A.   But I could treat it and get rid of it.

         5        Q.   Was it more than five times?

         6             MR. SILVERMAN:     Form.

         7        A.   Probably.

         8        Q.   More than 10 times?

         9             MR. SILVERMAN:    Object to form.

        10        A.   I'm not sure.     It wasn't a constant problem

        11     but it occurred frequently.

        12        Q.   Did you seek medical attention -- and I'll

        13     strike that.

        14             In the period prior to 2013, did you seek

        15     medical treatment for the bacterial vaginosis?

        16             MR. SILVERMAN:    Object to form.

        17        A.   Yes, I did.

        18        Q.   With whom?

        19        A.   The county health department in Titusville,

        20     and the emergency room sometimes, and Brevard Health

        21    Alliance.   I'm not sure if that was prior to me

        22     moving back from Orlando but -- and in Orlando I

        23     went to the county clinic, but that was mostly for

        24     blood pressure.     I didn't have    I didn't

        25     experience it that much then, the bacterial


       Golkow Litigation Services                                           Page 51
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 53 of 291 PageID 18847
                                  Raeann M. Bayless

         1     vaginosis.

         2        Q.   Prior to 2013, when you experienced

         3     bacterial vaginosis, what symptoms did you

         4     experience?

         5             MR. SILVERMAN:   Form.

         6        A.   Odor, foul odor, a discharge.     I could tell

         7     the difference right away, so I would go seek

         8     treatment right away.

         9        Q.   When you say you could tell the difference

        10     between not having bacterial vaginosis and having

        11     it, is that the difference you're talking about?

        12        A.   Yes.

        13        Q.   Do you know what antibiotics were

        14     prescribed?

        15        A.   Clindamycin, I think.    I'm not sure if

        16     that's the right pronunciation, and that was a

        17     vaginal -- you put it in vaginally, like a cream or

        18    gel or clear gel or something.     Flagyl was sometimes

        19     prescribed.

        20        Q.   And you said that you're currently

        21     experiencing bacterial vaginosis?

        22        A.   I have it -- since the surgery, I have it

        23     all the time and I can't get rid of it.

        24        Q.   When did that begin?

        25             MR. SILVERMAN:   Form.


       Golkow Litigation Services                                           Page 52
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 54 of 291 PageID 18848
                                   Raeann M. Bayless

         1        A.     Since I had the surgery and part of the mesh

         2     perforated through the top of my vagina.       It's been

         3     a constant problem and I can't treat it and it won't

         4    go away.     I've seeked medical attention for it and

         5     it just -- I can't treat it.       It won't go away.

         6        Q.     And in relation to your surgery, when was

         7     the first time after your surgery that you

         8     experienced bacterial vaginosis?

         9        A.     Oh, within the first year, within the first

        10     few months.    I'm not sure exactly but I know it was

        11     when the -- not very long afterwards, and I heal --

        12     and I went through the healing process.

        13        Q.     So it was sometime after you had fully

        14     healed from your surgery?

        15               MR. SILVERMAN:   Object to form.

        16        A.     Yeah -- I might not even have been fully

        17     healed, but yes.

        18        Q.     And in that period following your surgery in

        19     2013, which medical provider did you see with regard

        20     to your bacterial vaginosis?

        21        A.     The emergency room and Brevard Health

        22    Alliance.

        23        Q.     Why did you go to the emergency room?

        24        A.     Because

        25               MR. SILVERMAN:   Form.


       Golkow Litigation Services                                           Page 53
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 55 of 291 PageID 18849
                                    Raeann M. Bayless

         1        A.   Because also at that time I noticed what I

         2     thought at the time was stitches or stitching kind

         3     of inside my vagina hanging down or hanging out, and

         4     it turned out -- you know, I thought they needed to

         5     take those -- take it out, and it turned out to be

         6     the mesh perforating through my vagina, through the

         7     wall of my vagina.

         8        Q.   How did you notice the stitches?     What did

         9     it appear to be to you?

        10             MR. SILVERMAN:    Form.

        11        A.   It appeared to be -- it appeared to be like

        12     something that I knew that wasn't supposed to be

        13     there but I was not -- it was more firm than regular

        14     stitches.

        15        Q.   How did you notice it?

        16        A.   By feeling up inside there.

        17        Q.   Inside your vagina?

        18        A.   Yes.   And what -- oh, never mind.   What

        19     brought it to my attention was I don't have a uterus

        20     or a cervix anymore, and I had the foul smell and

        21     the discharge, but I also had blood in my underwear,

        22     and I knew I didn't have a period anymore, so I

        23     was -- I was trying to feel up inside there to see

        24     what it was, what was going on.

        25        Q.   How much blood did you notice?


       Golkow Litigation Services                                           Page 54
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 56 of 291 PageID 18850
                                     Raeann M. Bayless

         1        A.   It wasn't pouring out but it was enough to

         2     notice in my underwear, and it was the color of red.

         3     It wasn't like a brown or a discharge from bacterial

         4     vaginosis.

         5        Q.   When did you first notice the blood in your

         6     underwear?

         7             MR. SILVERMAN:    Form.

         8        A.   I noticed it      I noticed it within -- I

         9     don't know exactly.    I don't know exactly when

        10     how -- what the time frame was, but it was within

        11     the first year of having the surgery, maybe less.

        12        Q.   And you've described the first instance that

        13     you experienced bacterial vaginosis after your

        14     surgery and noticing blood in your underwear.      Was

        15     that the same visit to the emergency room, or are

        16     those two different occasions?

        17        A.   I couldn't tell you exactly.    I can't tell

        18     you exact dates or how -- what the time frame was.

        19     I just noticed that afterwards, when I could have

        20     sex and, you know, whenever, those problems with the

        21     perforation and stuff were not there, after the

        22     healing process, but within the first six months to

        23     a year, I noticed the perforation and the blood.

        24     Because initially I thought that the blood was from

        25     sexual activity too soon after the surgery, but I


       Golkow Litigation Services                                           Page 55
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 57 of 291 PageID 18851
                                     Raeann M. Bayless

         1     waited the allotted time that they told me before I

         2     could have sex and I -- and I noticed -- I listened

         3     to my body about being healed or not if I was ready,

         4     and I noticed pain, a lot of pain, but it wasn't

         5     like -- you know, we didn't have rough sex or

         6     anything like that, so -- it was the same way we

         7     always had it, and that's when I noticed there was

         8     blood.

         9              I started having -- every time that I did

        10     any physical act -- light physical activity or had

        11     sex, I would bleed.    I didn't notice the perforation

        12     of the mesh until somewhere in between several times

        13     after having sex after the healing process and when

        14     I went to the emergency room, because I thought it

        15     was just something -- like a normal thing from maybe

        16     I -- I still didn't let my body heal long enough or

        17     something, but I waited the allotted time and I

        18     noticed blood, and I know I shouldn't have been

        19     bleeding because I don't have a cervix or a uterus.

        20        Q.    How long did you wait after your surgery in

        21     2013 to have sexual intercourse the first time?

        22        A.    I couldn't tell you that.   Whatever she

        23     instruct -- whatever my doctor instructed me, I

        24     waited that time.

        25        Q.    And we'll go through this in a little bit


       Golkow Litigation Services                                           Page 56
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 58 of 291 PageID 18852
                                    Raeann M. Bayless

         1     more detail a little bit later.    I'm going to turn

         2     back to general medical history, if I can, for just

         3     a few minutes.

         4        A.   Okay.

         5        Q.   Have you ever taken any hormone replacement

         6     therapies?

         7        A.   No, except for a brief period after I had

         8     the surgery, for maybe a week or two, because she

         9    Dr. Kathy Jones gave me an exam, was checking the

        10     surgery and everything just to make sure it was

        11     healing properly, and to the back of my -- where

        12     they took the uterus and the cervix out, to the back

        13     of my vagina, the bottom of my vagina or the bottom

        14        the wall at the -- you know, I don't know how to

        15     describe it because I'm not a doctor, but where she

        16     stitched, where there was a surgical line, I guess

        17     where -- you know, to the back, there was a little

        18     opening in it.   So she gave me Prevagen or estrogen,

        19     or whatever it is.    It's something to do with

        20     silver -- silver something, and that was to close up

        21     where there might have been a little opening where

        22     the stitch line in the back came open a little bit.

        23        Q.   Was that a cream that she prescribed?

        24        A.   It was like a clear -- it came out of a

        25     tube.


       Golkow Litigation Services                                           Page 57
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 59 of 291 PageID 18853
                                      Raeann M. Bayless

         1           Q.   And that was something you applied?

         2           A.   Yeah, I did.

         3           Q.   How long did you use that gel?

         4           A.   It was just a short period of time, like

         5     maybe a week or two, because she didn't want me to

         6     take it for very long.       It was just to seal it back

         7     up.

         8           Q.   And this is in relation to your 2013

         9     surgery, correct?

        10           A.   Yes.    It was very shortly after the surgery.

        11           Q.   And other than that instance, you've never

        12     taken any --

        13           A.   Nothing else.

        14           Q.   -- pills or creams that are estrogen based?

        15           A.   No.

        16           Q.   Have you ever -- do you have a history of

        17     keloid scarring?

        18           A.   No.

        19           Q.   Do you know what keloid scars are?

        20           A.   Whatever it is, I've never had it.

        21           Q.   Have you ever had any issues with scarring

        22     after a surgical procedure or injury?

        23                MR. SILVERMAN:    Object to form.

        24           A.   No.    Actually, I don't    my scarring from

        25     any surgeries I've had were very minimal after I


       Golkow Litigation Services                                           Page 58
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 60 of 291 PageID 18854
                                    Raeann M. Bayless

         1     healed.     I was lucky in that department.

         2        Q.     Have you ever been diagnosed with a mental

         3     health condition?

         4        A.     No.

         5               MR. SILVERMAN:   Form.

         6        Q.     Have you ever sought treatment for any

         7     mental health condition?

         8        A.     No.

         9        Q.     We're going to go through a bit of your

        10     family history and I'll define family as

        11    grandparents, parents, aunts and uncles and

        12     siblings.

        13        A.     Okay.

        14        Q.     Anyone within that category have a history

        15     of cancer?

        16               MR. SILVERMAN:   Object to form.

        17        A.     Yes.

        18        Q.     Who is that?

        19        A.     My father, his father, my father's side of

        20     the family had it, cancer.

        21        Q.     What kind of cancer?

        22        A.     His father and he died of throat cancer.

        23        Q.     Your father and your grandfather?

        24        A.     Uh-huh.

        25        Q.     How old were they when they died?


       Golkow Litigation Services                                           Page 59
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 61 of 291 PageID 18855
                                    Raeann M. Bayless

         1        A.     My father was 69.   He died in 2008.    His

         2     father was a lot younger when he died.       He -- I

         3     think he was in his early fifties.

         4        Q.     Any other instances of cancer in your

         5     family?

         6        A.     I think it runs -- it's very prevalent on

         7     their side of the family, but I understand that

         8     there is more but I don't know those relatives and

         9     I'm not -- I'm not sure by name who they are, but

        10     there seems to be a history.

        11        Q.     And is it a history of throat cancer in

        12     particular?

        13               MR. SILVERMAN:   Object to form.

        14        A.     Yes.

        15        Q.     What about on your mother's side, any

        16     history of cancer?

        17        A.     No.

        18        Q.     Alzheimer's?

        19               MR. SILVERMAN:   Form.

        20        A.     No.

        21        Q.     What about is there history of diabetes?

        22               MR. SILVERMAN:   Object to form.

        23        A.     My -- my brother, my biological brother has

        24     juvenile diabetes, and then my father's

        25    grandmother -- excuse me        which is his dad's mom,


       Golkow Litigation Services                                           Page 60
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 62 of 291 PageID 18856
                                    Raeann M. Bayless

         1     had diabetes, but those are the only two relatives

         2     that I know of personally that had it.

         3        Q.     How many siblings do you have?

         4        A.     I have two biological siblings and one

         5     adopted sibling.

         6        Q.     And are you the oldest, youngest, where do

         7     you fall?

         8        A.     I am the youngest biologically, but my

         9     adopted sister is younger than me, who is really my

        10     cousin.     We adopted her from my aunt, so she's still

        11     a blood relative.

        12        Q.     She's your biological cousin?

        13        A.     Yeah, about a second or third cousin, second

        14     probably.

        15        Q.     Anyone in your family as we've described it

        16     have a history of neurological disease?

        17               MR. SILVERMAN:   Object to form.

        18        A.     No.

        19        Q.     Anyone in your family as we've described it

        20     have any history of urinary problems?

        21               MR. SILVERMAN:   Form.

        22        A.     After the birth of my siblings and me, my

        23     mother experienced some.

        24        Q.     What problems did she experience?

        25               MR. SILVERMAN:   Object to form.


       Golkow Litigation Services                                           Page 61
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 63 of 291 PageID 18857
                                   Raeann M. Bayless

         1        A.    She -- it wasn't -- you know, she didn't

         2     have it right away but she has incontinence

         3     problems.    She had incontinence after she had

         4     birth -- gave birth to her kids.

         5        Q.    Does she still experience incontinence

         6     problems?

         7              MR. SILVERMAN:   Object to form.

         8        A.    Yeah, it's real bad right now.     She's had

         9     the surgery also to correct it maybe twice, and then

        10     because of her age and some other health problems,

        11     they would not do it again, and now her incontinence

        12     is really bad.

        13        Q.    What type of surgery did she have to treat

        14     her incontinence?

        15              MR. SILVERMAN:   Object to form.

        16        A.    I don't know what they had before they had

        17     implants, but whatever it was, whatever kind of

        18     surgery they used to correct incontinence.      I don't

        19     know exactly.

        20        Q.    When did she have her surgeries?

        21        A.    I don't know that either.   I don't know the

        22     years.

        23        Q.    And you said she had two different

        24     surgeries?

        25              MR. SILVERMAN:   Form.


       Golkow Litigation Services                                           Page 62
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 64 of 291 PageID 18858
                                  Raeann M. Bayless

         1        A.    I think she had it done twice, yeah.

         2        Q.    Do you know which doctor did those

         3     surgeries?

         4        A.    No.

         5        Q.    You mentioned that she couldn't have another

         6     surgery because of her age and other health

         7     problems; is that correct?

         8              MR. SILVERMAN:   Object to form; calls for

         9        speculation.

        10        A.    Yeah.

        11        Q.    Is that how you testified prior?

        12              MR. SILVERMAN:   Form.

        13        A.    Yeah.

        14        Q.    What other health problems did you mean when

        15     you --

        16        A.    She had osteoarthritis.

        17              MR. SILVERMAN:   Form.

        18        A.    She had some kind of heart ailment where she

        19     had to get a pacemaker put in.     She's anemic.

        20     That's about -- that's the major -- and the

        21     incontinence, major incontinence, irritable bowel.

        22        Q.    Other than what we've already talked about

        23     this morning, do you have any other health

        24     conditions that we haven't mentioned?

        25              MR. SILVERMAN:   Form.


       Golkow Litigation Services                                           Page 63
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 65 of 291 PageID 18859
                                          Raeann M. Bayless

         1           A.      No.

         2           Q.      Do you have any gastrointestinal issues?

         3                  MR. SILVERMAN:    Form.

         4           A.      Depends on what I eat, but no, I don't have

         5     irritable bowel or anything like that.

         6           Q.      Do you have food allergies?

         7           A.      No.

         8           Q.     We're going to turn now to the time period

         9     before your surgery in 2013.           Okay?

        10                  What symptoms were you experiencing that led

        11     you to seek medical attention?

        12           A.      The urinary incontinence, which turned out

        13     to be mixed incontinence, and I guess a cystocele

        14     problem, if that's the way you're supposed to put

        15     it.        I don't know.

        16           Q.      How long have you been experiencing urinary

        17     incontinence prior to 2013?

        18           A.      It was just 18 months, maybe, to two years

        19     before I sought help to get the surgery, because it

        20     was a gradual decline until I got the surgery.

        21           Q.      So the incontinence was getting worse over

        22     time?

        23           A.      Exactly.

        24                  MR. SILVERMAN:    Form.

        25           Q.     What -- what symptoms did you experience

       Golkow Litigation Services                                           Page 64
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 66 of 291 PageID 18860
                                    Raeann M. Bayless

         1     related to urinary incontinence?

         2               MR. SILVERMAN:   Form.

         3        A.     I couldn't hold my urine for very long.    I

         4     had -- if I felt the urge, I would have to -- I

         5     better go to the restroom right then, and if I drank

         6     soda or something with caffeine in it, it might come

         7     up on me all of the sudden and I'd have -- you know,

         8     I wetted my clothes or -- that was pretty much it.

         9        Q.     Did you experience frequency of urination?

        10        A.     Not usually, but sometimes.   It was a -- it

        11     would just -- it was just -- it would be different

        12     but it was all the time a problem.      If I sneezed, if

        13     I had anything to drink that day, I would wet on

        14     myself.

        15        Q.     And so you experienced leaking of urine

        16     during that time period?

        17        A.     Yes.

        18               MR. SILVERMAN:   Form.

        19        Q.     And you leaked urine when you sneezed?

        20        A.     Sneezed.

        21               MR. SILVERMAN:   Form.

        22        A.     If I moved a certain way, like Indian -- if

        23     I sat Indian style and I was drinking something, it

        24     wouldn't be long and I probably wouldn't be able to

        25     hold it, or if I just moved, you know, like turned


       Golkow Litigation Services                                           Page 65
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 67 of 291 PageID 18861
                                     Raeann M. Bayless

         1     my body or something, I would -- it would -- I'd

         2     have leakage.

         3        Q.     What about when you coughed?

         4        A.     Exactly.    Definitely, sneezed or coughed.

         5        Q.     What about when you laughed?

         6        A.     That too.

         7        Q.     Any other movements

         8        A.     When I would yell.    I'm sorry.

         9        Q.     So you experienced leaking when you would

        10     yell?

        11               MR. SILVERMAN:    Form.

        12        A.     Yeah.   If I just, like -- I don't know

        13     how -- what you would call it, but if I raised my

        14     voice, just that little thing right there would

        15     cause leakage.

        16        Q.     Anything else that would cause you to leak

        17     urine?

        18        A.     Not -- if I drank caffeine, I'd have, like,

        19     episode -- I guess my bladder -- yeah, my bladder

        20     would convulse every now and then from the caffeine

        21     effect.    That's why it was mixed incontinence, and I

        22     would leak sometimes for that too.       If I got up to

        23    go to the bathroom, I would probably leak if I -- if

        24        from the caffeine, if I drank caffeine.

        25        Q.     How often were you experiencing leaking in


       Golkow Litigation Services                                           Page 66
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 68 of 291 PageID 18862
                                     Raeann M. Bayless

         1     the time period prior to your surgery in 2013?

         2             MR. SILVERMAN:     Object to form; asked and

         3        answered.     You can answer.

         4             THE WITNESS:     I can answer?

         5             MR. SILVERMAN:     Uh-huh.

         6        A.   Like I said, it was a gradual decline, but

         7     prior to the surgery, like very prior, like right

         8     before the surgery, for about a -- six months to a

         9     year, maybe less.     It might have been around -- I'd

        10     say six months to a year, maybe six to eight months,

        11     it became very bad.

        12        Q.   Were you experiencing leaking every day?

        13             MR. SILVERMAN:     Form.

        14        A.   All the time.     All the activity that I would

        15     do, it was pretty much a leakage.

        16        Q.   Did you wear any pads or undergarments?

        17        A.   I did.

        18        Q.   How many would you wear in a day?

        19             MR. SILVERMAN:     Form.

        20        A.   I -- it would only take maybe two or three,

        21     because I wouldn't saturate them, but I'd have to

        22     have something on or I would be changing clothes

        23     about 20 times a day, so it wasn't like -- you know,

        24     like I said, it wasn't gushing out, but I'd have to

        25     have something on so I wouldn't wet myself, even a


       Golkow Litigation Services                                           Page 67
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 69 of 291 PageID 18863
                                       Raeann M. Bayless

         1     little leakage.

         2        Q.   How did the fact that you were leaking

         3     affect your quality of life during that time period?

         4             MR. SILVERMAN:      Form.

         5        A.   It affected it a lot.       That's why I sought

         6     help, sought the medical attention, because I could

         7     be at any given place or anything and I'd have

         8     leakage and then I'd -- even with, you know -- if I

         9     forgot to put the pad on or I didn't think I was

        10    going to -- you know, I could -- I didn't have that

        11     much to drink that day so I wouldn't have to worry

        12     about leakage, then, you know, I'd go suffer

        13     embarrassment, because I'd have to go home from

        14     wherever I was, or I'd have to always carry a change

        15     of clothes.

        16             Because at first, I mean, what I'm just

        17     saying is it didn't happen all time before, like, a

        18     couple months or a month prior to the surgery.

        19    Around that time it happened every day and several

        20     times a day.    Okay.    Before that, I'd go a day maybe

        21     without having any problems, so I didn't -- it

        22     didn't occur to me maybe at that time to wear a pad

        23     all day long.

        24             And then I'd be at the wrong place or out

        25     somewhere and that incident would occur, so it

       Golkow Litigation Services                                           Page 68
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 70 of 291 PageID 18864
                                  Raeann M. Bayless

         1     limited to me -- limited me on where -- what I could

         2     do and where I could go.

         3        Q.   During the period that we've just been

         4     discussing prior to your surgery in 2013, were you

         5     sexually active?

         6        A.   I was.

         7        Q.   Did the -- did your urinary incontinence

         8     symptoms affect your sex life?

         9             MR. SILVERMAN:     Form.     Form.

        10        A.   No, except for the fact while I was having

        11     sex it would sometimes       I would have leakage,

        12     which was embarrassing.

        13        Q.   Were there any activities that you had

        14     previously done that you stopped doing in the period

        15     before your surgery in 2013 because of the leakage?

        16             MR. SILVERMAN:     Form.

        17        A.   Not too much, no, because once -- once I

        18     noted, you know, I was aware of what was going on,

        19     I'd try to plan around it, so -- and then I sought

        20     medical attention, so I was going through that

        21     process so I could get it repaired, fixed, or

        22     whatever you want to say.     I --

        23        Q.   When -- I'm sorry.     Go ahead.

        24        A.   I didn't wait too long before I sought help

        25     because, you know, I didn't want to go through that


       Golkow Litigation Services                                           Page 69
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 71 of 291 PageID 18865
                                    Raeann M. Bayless

         1     for an extended period of time.

         2        Q.   You anticipated my next question.      When was

         3     it -- when was the first time that you sought

         4     medical attention with regard to your urinary

         5     incontinence?

         6             MR. SILVERMAN:     Form.

         7        A.   I don't know.     Whenever the -- it's like a

         8     homeless clinic or something like that, whenever I

         9     went there for the blood pressure and I went there

        10     for the incontinence and to get qualified through

        11     the County so I could get the surgery done, so the

        12     initial -- I don't remember exactly the dates of

        13     that, but it was Orange Blossom Family Health

        14     Center, or something, off of South Orange Blossom

        15     Trail, and I started the process when things started

        16     really getting bad, so I didn't waste much time

        17     seeking help.

        18        Q.   And did that clinic put you in touch with

        19    Dr. Kathy Jones?

        20        A.   They did.

        21        Q.   Did she work at that clinic?

        22        A.   No.     They referred me out to her.

        23        Q.   Prior to that referral, did you have any

        24     relationship with Dr. Jones?

        25        A.   No.


       Golkow Litigation Services                                           Page 70
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 72 of 291 PageID 18866
                                     Raeann M. Bayless

         1        Q.     When was the first time you met with

         2    Dr. Jones?

         3        A.     I don't remember that.

         4        Q.     If your medical records reflect that you

         5     were experiencing symptoms of incontinence for seven

         6     years prior to 2012, would you have any reason to

         7     disagree with that?

         8               MR. SILVERMAN:     Object to form.   One second.

         9        Do you have any specific medical records you want

        10        to show her?    That would probably be the best

        11        way.    Just to talk in vague of what kind of

        12        medical records she may or may not have, I don't

        13        think is proper.

        14               MS. ERIXSON:     Well, I understand your

        15        objection but I'm just trying to figure out what

        16        she knows before seeing any records.

        17               MR. SILVERMAN:     Well, she testified as to

        18        what she knows.       Are you talking about a medical

        19        record, a fabricated medical record, are you

        20        saying that there is a specific medical record

        21        that says something?       That's my objection.

        22               MS. ERIXSON:     Okay.

        23               MR. SILVERMAN:     You can answer if you know

        24        the answer, If you could.

        25     BY MS. ERIXSON:


       Golkow Litigation Services                                           Page 71
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 73 of 291 PageID 18867
                                  Raeann M. Bayless

         1        Q.    If your medical records reflected that you

         2     had been experiencing urinary incontinence symptoms

         3     for seven years prior to your surgery in 2013, would

         4     you have any reason to disagree with that?

         5              MR. SILVERMAN:   Object to form.

         6        A.    I do disagree with that.     To my knowledge, I

         7     didn't have it for that long.       I wouldn't have let

         8     it go that long.

         9        Q.    Prior to your surgery in 2013, did you

        10     experience any urinary tract infections?

        11        A.    During pregnancies?      I would -- they would

        12     occur.

        13        Q.    How frequently would they occur?

        14              MR. SILVERMAN:   Form.

        15        A.    I'd get one at least for each pregnancy,

        16     except for my last son.    I didn't get any -- I

        17     didn't experience any with him.       I don't recall

        18     having any with him.

        19        Q.    Prior to your surgery in 2013, did you

        20     experience any urinary retention, any trouble

        21     urinating?

        22        A.    No, never had that problem.

        23        Q.    And you mentioned when we first started

        24     talking about this time period, that you were also

        25     experiencing a cystocele; is that right?


       Golkow Litigation Services                                           Page 72
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 74 of 291 PageID 18868
                                   Raeann M. Bayless

         1        A.   Whatever it is when the bladder -- when the

         2     vagina kind of sags, you know, implodes inside.        I

         3     don't know how to describe it but it kind of sags

         4     inside the canal.   That's what I -- that's another

         5     reason why I sought medical attention.

         6        Q.   And when did you first experiencing

         7     experience that sagging?

         8        A.   That --

         9             MR. SILVERMAN:     Object to form.   You can

        10        answer.

        11        A.   That was after the birth of my second child,

        12     Kevin, but it got progressively worse with the

        13     after the other two pregnancies, after getting

        14     older, after having more frequent sex.

        15        Q.   So you first started experiencing the

        16     sagging that you described in around 1987?

        17        A.   Uh-huh.

        18             MR. SILVERMAN:     Form.

        19        Q.   And it got progressively worse over time?

        20        A.   It got gradually worse.     It never became --

        21     it never turned inside out, but I have heard that

        22     some people experience that.

        23        Q.   And what symptoms did you experience in

        24     particular?

        25             MR. SILVERMAN:     Form.


       Golkow Litigation Services                                           Page 73
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 75 of 291 PageID 18869
                                    Raeann M. Bayless

         1        A.      The bladder fell down.   You could see the

         2     bladder at the opening of the vagina.      There was

         3     sagging.     The uterus and the cervix, I guess, were

         4     sagging behind where you could -- you know, behind

         5     my bladder, and that's about -- that was about it,

         6     that I could think of right now.

         7        Q.      Did you experience any pain associated with

         8     the cystocele?

         9                MR. SILVERMAN:   Form.

        10        A.      No.

        11        Q.      Did you experience any pressure?

        12        A.      In the bladder maybe.

        13        Q.      Prior to your surgery in 2013, did you

        14     experience any pain during intercourse?

        15        A.      No.

        16        Q.      Did you ever experience bleeding following

        17     intercourse?

        18        A.      No.

        19        Q.      Have you ever been diagnosed with

        20     endometriosis?

        21        A.      No.

        22        Q.      Have you ever been diagnosed with uterine

        23     fibroids or cysts?

        24                MR. SILVERMAN:   Form.

        25        A.      No.


       Golkow Litigation Services                                           Page 74
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 76 of 291 PageID 18870
                                    Raeann M. Bayless

         1        Q.      Prior to your surgery in 2013, did you

         2     what, if any, treatments did you receive other than

         3     surgery, so not including the surgery, for your

         4     urinary incontinence?       Did you receive any medical

         5     treatment for that?

         6                MR. SILVERMAN:    Form.

         7        A.      Oh, no, I didn't, because it really was not

         8     an issue until right before, till within the year,

         9     six months to a year before I sought help, because I

        10     sought help immediately when it got bad.       If I drank

        11     caffeine, like a lot of soda, like a two-liter thing

        12     of soda, which I'm prone to do sometimes, every now

        13     and then I would, I know, because of the mixed

        14     incontinence, because of the spasms of the bladder,

        15     too much caffeine, whatever it is, you know, I'd

        16     have -- I might have to rush to the bathroom, but I

        17     never went on myself as frequently and like I did

        18     right before the surgery.

        19        Q.      Did you ever take any medications for

        20     incontinence?

        21        A.      Never did, no, because it wasn't really a

        22     problem.

        23        Q.      Did you ever try to cut back on the caffeine

        24     prior to the surgery?

        25        A.      Yeah.


       Golkow Litigation Services                                           Page 75
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 77 of 291 PageID 18871
                                    Raeann M. Bayless

         1        Q.     Did that provide any relief?

         2        A.     Yes, of course it did, yes.

         3        Q.     When you first saw Dr. Jones, did she do any

         4     testing in that first visit that you recall?

         5               MR. SILVERMAN:   Object to form.   You can

         6        answer if you remember, if you know.

         7        A.     No.   We just discussed medical issues that I

         8     wanted to address, you know, the medical issues I

         9     wanted to address, and then she started explaining

        10     to me what -- going through the process, but we

        11     she didn't test me the first time, that I can

        12     recall.

        13        Q.     What medical issues did you discuss with

        14     her, with Dr. Jones?

        15        A.     The cystocele and the incontinence.

        16        Q.     And what were your goals with regard to the

        17     medical treatment for those two issues?

        18               MR. SILVERMAN:   Form.

        19        A.     That the bladder would not be visible.       I

        20     wanted to put everything back in place where it was

        21     supposed to go because I know it wasn't supposed to

        22     be like that, and one of my wishes was that she

        23     could tighten it up some, but mostly to put

        24     everything back where -- in place where it was

        25     supposed to go.


       Golkow Litigation Services                                           Page 76
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 78 of 291 PageID 18872
                                    Raeann M. Bayless

         1        Q.   Did you have any goals with regard to the

         2     urinary incontinence?

         3             MR. SILVERMAN:   Form.

         4        A.   Yes, just, you know, so I wouldn't have the

         5     leakage, so I could move without problems, so I

         6     could go and -- you know, go places and do things

         7     without having to worry about whether I need a

         8     change of clothes or wear a pad or if I could have

         9     sex without pulling down my pants and, you know,

        10     having a pad there that might have been partially

        11     wet with urine.

        12        Q.   What did Dr. Jones tell you during that

        13     first visit?

        14             MR. SILVERMAN:   Form.

        15        A.   I don't remember the specifics.

        16        Q.   Did Dr. Jones talk to you about your medical

        17     treatment options?

        18        A.   I don't remember.   I'm not sure exactly what

        19     the -- I'm not sure exactly what we -- how much we

        20     discussed or whatever, but I know that she told me,

        21     basically, she could help me and that was a process

        22     and that she would -- she could do something for me

        23     to correct it.

        24        Q.   What process did she talk to you about?

        25        A.   I don't remember.   I think she had to take


       Golkow Litigation Services                                           Page 77
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 79 of 291 PageID 18873
                                  Raeann M. Bayless

         1     measurements, and I'm not sure.      I don't remember

         2     if she took MRis or whatever it is that the --

         3     sonograms or something, where they could see where

         4     everything is before they can figure out where they

         5     are going to put it back to, a physical exam.

         6        Q.   How many times did you meet with Dr. Jones

         7     prior to undergoing surgery in 2013?

         8        A.   I don't remember.

         9        Q.   Was it more than five?

        10             MR. SILVERMAN:     Object to form.

        11        A.   I'm not sure.

        12        Q.   What surgical options did Dr. Jones provide

        13     to you in your meetings with her?

        14             MR. SILVERMAN:     Form.

        15        A.   I don't remember that either.        There might

        16     have been maybe two but I'm not -- I don't even

        17     remember exactly how many options she gave me.

        18        Q.   What are the two options that you remember?

        19             MR. SILVERMAN:     Object to form; asked and

        20        answered, speculation.

        21             MS. ERIXSON:     It's not speculation.     It's

        22        personal knowledge.

        23             MR. SILVERMAN:     She just testified that she

        24        doesn't know.   You're asking for a guess.

        25             MS. ERIXSON:     No.   She said


       Golkow Litigation Services                                           Page 78
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 80 of 291 PageID 18874
                                       Raeann M. Bayless

         1     BY MS. ERIXSON:

         2        Q.      You said you remembered two options?

         3        A.      I don't know what they are.        I know the one

         4     that I got was one of them.           I remember that.

         5        Q.      Did Dr. Jones talk to you about nonsurgical

         6     options for treatment?

         7                MR. SILVERMAN:     Form; asked and answered.

         8        If you know, you can answer.

         9        A.      That wasn't even considered.        I wanted

        10     something done and I knew it was going to take

        11     surgery.     I knew that myself.

        12        Q.      How did you know that?

        13                MR. SILVERMAN:     Form.

        14        A.      Because I have -- I could tell that they

        15     just couldn't put it up in place, back up.           I knew

        16     it was out of place and I knew they couldn't just

        17     put it back up in place with their hand or

        18     something.        I knew it was going to take surgery.

        19        Q.      Prior to your surgery in 2013, did you do

        20     any independent research about either your

        21     conditions or the surgical procedures?

        22                MR. SILVERMAN:     Form.

        23        A.      Yes.     I asked a lady at -- who used to be

        24     my -- she was a nurse practitioner.           She's deceased

        25     now and I can't remember -- I think her name was


       Golkow Litigation Services                                             Page 79
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 81 of 291 PageID 18875
                                  Raeann M. Bayless

         1    Ms. Beason at the Brevard County Health Department.

         2     I would discuss certain things in length to her and

         3     she's the one that told me about the tubal -- how to

         4    go about getting the tubal ligation, but she also

         5     told me about a procedure could be done.

         6             Back then we didn't discuss the specifics.

         7     I don't remember what year that was.    I know it was

         8     after I had all my kids, and that was the only time

         9     that I inquired about it.   I knew I had to get

        10     insurance or -- that it had to be covered

        11     financially some kind of way, so I left it alone for

        12     a long time.

        13        Q.   So that conversation you had with -- with

        14     who you think was Ms. Beason was sometime after your

        15     last child was born?

        16             MR. SILVERMAN:   Form.

        17        A.   Yes.

        18             MR. SILVERMAN:   You can answer.

        19        Q.   So sometime after 1992?

        20        A.   Uh-huh.   Yeah, because it was around the

        21     time that I had the tube -- tubal ligation, and that

        22     was right after the birth of my last child, so that

        23     was in '92.

        24        Q.   Did Dr. Jones provide you with any written

        25     materials prior to your surgery?

       Golkow Litigation Services                                           Page 80
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 82 of 291 PageID 18876
                                    Raeann M. Bayless

         1             MR. SILVERMAN:       Object to form.   You can

         2        answer if you know.

         3        A.   I remember some brochures.       I remember maybe

         4     a printout or something of what to         how to

         5     prepare, what to expect, but I don't remember

         6     anything specific.    I remember some brochures maybe

         7     telling me about the -- a couple different cystocele

         8     repair surgeries, but I don't         it's been so long,

         9     I don't remember specifics.

        10        Q.   What did you understand the procedure that

        11     was performed in 2013 to be?

        12             MR. SILVERMAN:       Object to form.

        13        A.   That it was going to correct the cystocele

        14     and the incontinence.

        15        Q.   And did you understand that it would involve

        16     mesh implants?

        17        A.   Yeah.    I -- yes.

        18        Q.   Did you understand that it would involve

        19     more than one mesh implant?

        20        A.   That it was a combination of the sling and

        21     an implant, mesh implant.

        22        Q.   What did you understand about the sling, if

        23     anything?

        24             MR. SILVERMAN:       Form.

        25        A.   That it could correct my incontinence, 70


       Golkow Litigation Services                                           Page 81
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 83 of 291 PageID 18877
                                    Raeann M. Bayless

         1     percent is what she told me.

         2        Q.      And did you understand that the mesh

         3     implants would be permanent?

         4                MR. SILVERMAN:   Object to form.

         5        A.      I did.

         6        Q.      Did you have conversations or any

         7     conversation with Dr. Jones about the risks of the

         8     procedure that you were to have done in 2013?

         9                MR. SILVERMAN:   Form.

        10        A.      Just general surgery risks.

        11        Q.      What risks were those?

        12        A.      I don't remember the specifics, just, you

        13     know, whatever risks are associated with having a

        14     surgery.

        15        Q.      Any other risks that you discussed with

        16    Dr. Jones?

        17                MR. SILVERMAN:   Object to form.

        18        A.      Not to my knowledge.     Not that I can recall.

        19     I'm not saying that I didn't but I don't remember

        20     specifics.

        21        Q.      Did you rely on Dr. Jones to evaluate the

        22     risks of the procedure?

        23                MR. SILVERMAN:   Form.

        24        A.      I trusted her, so -- and she, you know,

        25     she's -- you know, I put my full trust in her, so


       Golkow Litigation Services                                           Page 82
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 84 of 291 PageID 18878
                                  Raeann M. Bayless

         1     whatever she said, I pretty much took her word for

         2     it and was okay with it.

         3        Q.   Did you have the opportunity to ask any

         4     questions you might have had prior to the surgery?

         5             MR. SILVERMAN:     Form.

         6        A.   I did, but I don't remember what they were.

         7     I just knew that it -- that the -- it was going to

         8     correct my problems and that's what I needed, that's

         9     what I wanted.

        10        Q.   Did you ask any questions?

        11        A.   I don't know.

        12        Q.   Prior to surgery?

        13        A.   I'm sure I did.

        14        Q.   Outside of Dr. Jones or other medical

        15     providers, did you talk to anyone else about the

        16     surgery prior to having the surgery?

        17             MR. SILVERMAN:     Form.

        18        A.   Nothing specific but, like, my boyfriend

        19     knew that I was going to have it, but I didn't

        20     discuss the specifics with him.

        21        Q.   Did he come to any of your medical

        22     appointments with you?

        23        A.   No.

        24             MS. ERIXSON:     We could take a quick break.

        25             MR. SILVERMAN:     Yep.


       Golkow Litigation Services                                           Page 83
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 85 of 291 PageID 18879
                                     Raeann M. Bayless

         1              THE VIDEOGRAPHER:     Off the record at 11:55.

         2             (Recess from 11:55 a.m. until 11:55 a.m.)

         3              THE VIDEOGRAPHER:     This is the end of Disk

         4        Number 1 in the deposition of Raeann Bayless.

         5        We're off the record at 1 -- I'm sorry, 11:55.

         6             (Recess from 11:55 a.m. until 12:12 p.m.)

         7              THE VIDEOGRAPHER:     This is the beginning of

         8        Disk Number 2 in the deposition of Raeann

         9        Bayless.      We are off the -- on the record at

        10        12:14.

        11     BY MS. ERIXSON:

        12        Q.    Ms. Bayless, we just took a short break and

        13     prior to that time we were talking about the visits

        14     that you had with Dr. Jones prior to your surgery in

        15     2013.   Do you remember that?

        16        A.    Yes, I do.

        17        Q.    And we were talking about your discussions

        18     that you had with Dr. Jones regarding the risks of

        19     the surgery.     Do you recall that discussion?

        20        A.    I do.

        21              MR. SILVERMAN:     Form.

        22               (Bayless Exhibit 2 was marked for

        23     identification.)

        24     BY MS. ERIXSON:

        25        Q.    Let me show you what I have marked as


       Golkow Litigation Services                                           Page 84
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 86 of 291 PageID 18880
                                    Raeann M. Bayless

         1     Exhibit 2.

         2             MR. SILVERMAN:      Thank you.

         3        Q.   And at the top of this document it says

         4     Informed Consent and Request for Repair of

         5     Relaxation of Pelvic Organs and/or Urinary

         6     Incontinence.

         7             Do you see that?

         8        A.   Yes.    That's --

         9             MR. SILVERMAN:      Form.

        10        A.   Yes, I do.

        11        Q.   Have you seen this document before?

        12        A.   Yes, it does look familiar but it's been a

        13     long time.

        14        Q.   And if you will look down at the bottom of

        15     that first page, there is a notation that says

        16     "patient initials."

        17        A.   Yes.

        18        Q.   Are those your initials there?

        19        A.   They are.

        20        Q.   Is that your handwriting?

        21        A.   Yes, that is my handwriting.

        22        Q.   And if you will turn to the next page, I

        23     know there is several pages in that, so let's just

        24    go to the second page, and near the bottom there is

        25     a place for a person giving consent to sign.     Do you


       Golkow Litigation Services                                           Page 85
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 87 of 291 PageID 18881
                                    Raeann M. Bayless

         1     see where I am?

         2        A.   Yep.

         3        Q.   And is that your signature?

         4        A.   It is.

         5             MR. SILVERMAN:     Form.

         6        Q.   And it's dated May 28th, 2013, correct?

         7        A.   Uh-huh.

         8        Q.   And that is prior to your surgery of

         9    August 9th, 2013, correct?

        10        A.   That's correct.

        11             MR. SILVERMAN:     Form.

        12        Q.   And further on that same page there is

        13     another notation for person giving consent at the

        14     very bottom.     Do you see that?

        15        A.   I do.

        16        Q.   And is that also your signature?

        17        A.   It is.

        18        Q.   And if you will turn back to the first page

        19     of this document --

        20        A.   The first page?

        21        Q.   Yes.

        22        A.   Okay.

        23        Q.   You would have had the opportunity to read

        24     this before you signed it, correct?

        25             MR. SILVERMAN:     Object to form.   You can


       Golkow Litigation Services                                           Page 86
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 88 of 291 PageID 18882
                                      Raeann M. Bayless

         1        answer if you know.

         2        A.    Yeah, I had a chance to read it.

         3        Q.    And did you read it before you signed it?

         4              MR. SILVERMAN:     Form.

         5        A.    I don't remember, but I usually read over

         6     stuff before I sign it.

         7        Q.    And if you will look with me under where it

         8     says patient's name, Raeann Bayless -- do you see

         9     where I am at the top?

        10        A.    Uh-huh.   Yes.

        11        Q.    Date, May 28th, 2013.

        12        A.    I see that.

        13        Q.    And it says:     I acknowledge and understand

        14     that the following procedures have been described to

        15     me and are to be -- excuse me, are to be performed

        16     on me.

        17              Do you see that?

        18        A.    I do.

        19        Q.    And then in handwriting, and I know this

        20     copy is not the best, but it says:      robotic assisted

        21     total laparoscopic hysterectomy.

        22        A.    I see that.

        23              MR. SILVERMAN:     Form.

        24        Q.    And did you have a hysterectomy on

        25    August 9th of 2013?


       Golkow Litigation Services                                           Page 87
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 89 of 291 PageID 18883
                                         Raeann M. Bayless

         1          A.     I did.

         2          Q.    And it further says cystocele repair.   Do

         3     you see that?

         4          A.     I see that.

         5                MR. SILVERMAN:     Form.

         6          Q.     Did you have a cystocele repair on

         7    August 9th of 2013?

         8          A.     To the best of my knowledge, yes.

         9          Q.     It says sacrocolpopexy with mesh, sling,

        10     cystoscopy.      Do you see that?

        11          A.     I see that.

        12                MR. SILVERMAN:     Form.

        13          Q.     Is that your understanding of the procedure

        14     that you had on August 9th, 2013, this whole entire

        15     handwritten note?

        16                MR. SILVERMAN:     Form.

        17          A.     It is, but I'd like to add that had I known

        18     that the product was defective, I wouldn't have had

        19     it        the mesh implant.

        20          Q.    And why do you say the product was

        21     defective?

        22          A.    Well, that's why we're here now, isn't it?

        23          Q.    Why do you say that the product is

        24     defective?

        25          A.    Well, it's perforating through my vagina,


       Golkow Litigation Services                                           Page 88
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 90 of 291 PageID 18884
                                     Raeann M. Bayless

         1     it's causing bleeding, I have pulling and tugging

         2     when I move.     It wasn't like that before I had the

         3     surgery even with the cystocele.     I'm nauseous every

         4     time after I have sex.     When I eat I'm nauseous.

         5     That didn't happen before the surgery.

         6        Q.   And when you say the product, which product

         7     are you referring to?

         8             MR. SILVERMAN:     Object to form.

         9        A.   I don't know which product is causing the

        10     problems.     I thought it was a unit but, obviously,

        11     it's two separate things.     I have constant infection

        12     that I can't treat.     That's never happened before.

        13     I have pain.    Sometimes I have, like, pelvic pain

        14     without sex.     It's even worse when I do have sex.

        15    And that's why I sought representation.

        16        Q.   And we'll talk about each of those items

        17     that you're claiming as part of this lawsuit, but if

        18     I could direct your attention to Paragraph Number 5

        19     on this sheet, it says:     In addition to these

        20     material risks, there may be other possible risks

        21     involved in this procedure, including but not

        22     limited to.

        23             Do you see where I am?

        24        A.   Yes.

        25        Q.   The first -- there is a bullet point list.


       Golkow Litigation Services                                           Page 89
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 91 of 291 PageID 18885
                                    Raeann M. Bayless

         1    Do you see that?

         2        A.    I see it.

         3        Q.    And that -- and the first bullet point says:

         4     Possible injury to bowel, bladder, ureter, or

         5     other pelvic or abdominal structures.

         6              Do you see that?

         7              MR. SILVERMAN:     Form.

         8        A.    I do.

         9        Q.    And the next bullet point says:     Possible

        10     fistula formation, opening between bowel, bladder,

        11     ureter, vagina and/or skin caused by injury to the

        12     bowel, bladder or ureter.

        13              Do you see that?

        14              MR. SILVERMAN:     Form.

        15        A.    I do.

        16        Q.    The next bullet point says:     Possible need

        17     for immediate surgery or additional surgery which

        18     might include a colostomy.

        19              Do you see that?

        20              MR. SILVERMAN:     Form.

        21        A.    Okay.   Yes, I do.    I have a question after

        22     you --

        23        Q.    If I could go through this list --

        24        A.    I'm waiting.

        25        Q.    The next bullet point says:     Possible blood


       Golkow Litigation Services                                           Page 90
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 92 of 291 PageID 18886
                                     Raeann M. Bayless

         1     loss necessitating transfusion, which carries the

         2     risk of exposure to AIDS, hepatitis or other

         3     infectious diseases.

         4        A.   I see that.

         5             MR. SILVERMAN:     Form.

         6        Q.   The next one, which has a star by it, do you

         7     see that?

         8        A.   I do.

         9        Q.   Did you make that notation?

        10        A.   No.

        11        Q.   Do you know who did?

        12        A.   I assume my doctor, but I don't know.

        13        Q.   That bullet point says:     Possibly no

        14     improvement, or only temporary improvement, to urine

        15     control, worsening urinary incontinence.

        16             Do you see that?

        17        A.   I see it.

        18             MR. SILVERMAN:     Form.

        19        Q.   The next one, which also has a star by it,

        20     did you make that notation, the star?

        21        A.   No.

        22        Q.   Do you know who did?

        23             MR. SILVERMAN:     Object to form.

        24        A.   No.

        25        Q.   That next bullet point says:     Possible


       Golkow Litigation Services                                           Page 91
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 93 of 291 PageID 18887
                                      Raeann M. Bayless

         1     prolonged need of a catheter to drain the bladder,

         2     incomplete bladder emptying, urinary retention.

         3              Do you see that?

         4              MR. SILVERMAN:     Form.

         5        A.    I see it.

         6        Q.    The next bullet point says:     Possible pain

         7     or discomfort with sexual intercourse?

         8              Do you see that?

         9              MR. SILVERMAN:     Form.

        10        A.    I see that.

        11        Q.    The next bullet point says:     Possible

        12     formation of blood clots in legs, pelvic area, and

        13     lungs.

        14              Do you see that?

        15              MR. SILVERMAN:     Object to form.

        16        A.    I see that.

        17        Q.    The next bullet point says:     Possible

        18     emboli, clots of blood or other material that might

        19     travel to other parts of the body.

        20              Do you see that?

        21        A.    I do.

        22              MR. SILVERMAN:     Object to form.

        23        Q.    The next says:     Recurrence of cystocele,

        24     rectocele, enterocele or vaginal vault prolapse.

        25     Success rate 85 percent.


       Golkow Litigation Services                                           Page 92
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 94 of 291 PageID 18888
                                     Raeann M. Bayless

         1             Do you see that?

         2        A.   I see that.

         3             MR. SILVERMAN:     Form.

         4        Q.   And that one also has a marking next to it.

         5    Did you make that marking?

         6        A.   No, I didn't.

         7        Q.   Do you know would did?

         8             MR. SILVERMAN:     Form.

         9        A.   No.

        10        Q.   And do you understand that everything listed

        11     in Paragraph 5 is a potential risk of the surgery

        12     you had on August 9, 2013?

        13        A.   I understand that.

        14             MR. SILVERMAN:     Object to form.

        15        Q.   And you signed this form as understanding

        16     those risks prior to having your surgery, correct?

        17        A.   I signed the form.

        18             MR. SILVERMAN:     Object to form.

        19        A.   But I didn't sign on to have defective

        20     hardware put in my body.

        21        Q.   And you understood that all of these were

        22     potential risks with your surgery, though?

        23             MR. SILVERMAN:     Object to form; asked and

        24        answered.

        25        A.   I understand that.


       Golkow Litigation Services                                           Page 93
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 95 of 291 PageID 18889
                                   Raeann M. Bayless

         1             THE COURT REPORTER:        I missed that.

         2             MR. SILVERMAN:    Asked and answered.

         3             THE COURT REPORTER:        And I missed her

         4        answer.

         5             THE WITNESS:     To what?

         6             THE COURT REPORTER:        The last answer,

         7        please.

         8             MR. SILVERMAN:     Do you want to repeat the

         9        question for her?

        10             THE COURT REPORTER:        "And you understood

        11        that all of these were potential risks?"

        12        A.   Yes, but I did not agree to put defective

        13     hardware in my body.

        14             MR. SILVERMAN:     Form.

        15        Q.   If you will turn to the third page on this

        16     document, it says "Hysterectomy Surgical Consent

        17     Form" on the top.

        18        A.   Yes.

        19        Q.   And you had a hysterectomy on August 9th,

        20     2013, correct?

        21        A.   I did.

        22        Q.   Did you have an opportunity to read this

        23     form before that surgery?

        24             MR. SILVERMAN:     Form.

        25        A.   I'm sure I did.


       Golkow Litigation Services                                           Page 94
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 96 of 291 PageID 18890
                                     Raeann M. Bayless

         1        Q.   And if you look with me at the bottom, does

         2     your signature appear at the bottom of this page?

         3        A.   It does.

         4        Q.   With the date May 28th, 2013 next to it?

         5        A.   Yes.

         6        Q.   If you will turn to the next page, please,

         7     it says "Procedure:     Anterior and/or Posterior

         8     Colporrhaphy."

         9             Do you see that?

        10        A.   I do.

        11        Q.   And if you will look at the bottom, does

        12     your signature appear at the bottom of this page?

        13        A.   It does.

        14             MR. SILVERMAN:     Form.

        15        Q.   Dated May 28th, 2013?

        16        A.   Yes, it does.

        17        Q.   And you had the opportunity to read this

        18     form before your surgery, correct?

        19             MR. SILVERMAN:     Object to form.

        20        A.   I did.     I don't remember reading it but I

        21     wouldn't have signed it if I didn't go over it.        I

        22     don't sign anything without going over it.

        23        Q.   And if you will look with me on the next

        24     page, it says "Procedure:     Urethrovesical

        25     Suspension" and in parenthesis it has the word


       Golkow Litigation Services                                           Page 95
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 97 of 291 PageID 18891
                                     Raeann M. Bayless

         1     "sling" next to it.

         2        A.    I got it.

         3        Q.    And if you will look at the bottom, does

         4     your signature appear at the bottom of this page?

         5        A.    It does.

         6        Q.    And it's dated May 28, 2013.

         7        A.    Yes.

         8              MR. SILVERMAN:     Object to form.

         9        Q.    And you would have had the opportunity to

        10     read this form before you signed it?

        11              MR. SILVERMAN:     Object to form.

        12        A.    Yes.

        13        Q.    If you will look at the next page, which I

        14     believe is the last page, it says "Augmentation

        15    Graft Consent Form."

        16              Do you see that?

        17        A.    I see it.

        18        Q.    And circled and underlined in that first

        19     paragraph it says "synthetic materials such as

        20     mesh."

        21              Do you see that?

        22              MR. SILVERMAN:     Object to form.

        23        A.    I knew -- I was aware       yes, I see it.   I

        24     was aware that I was going to be implanted with

        25     mesh.


       Golkow Litigation Services                                           Page 96
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 98 of 291 PageID 18892
                                  Raeann M. Bayless

         1        Q.   And my question is did you make the markings

         2     that are on this page?

         3        A.   No.

         4        Q.   Do you know who did?

         5             MR. SILVERMAN:   Object to form.

         6        A.   No.

         7        Q.   And if you will look with me at the bottom,

         8     is that your signature on this page?

         9        A.   It is.

        10             MR. SILVERMAN:   Form.

        11        Q.   And it's dated May 28th, 2013?

        12        A.   It is.

        13             MR. SILVERMAN:   Form.

        14        Q.   Did you have any visits with Dr. Jones

        15     between May 28th, 2013, and August 9th, 2013, the

        16     date of your surgery?

        17        A.   Yes, I'm sure I did, but I can't tell you

        18     what the specific dates are -- were.     I know I saw

        19     her more than once before I had a surgery.

        20             (Bayless Exhibit 3 was marked for

        21     identification.)

        22     BY MS. ERIXSON:

        23        Q.   I'm going to show you what I've marked as

        24     Exhibit 3.

        25             MR. SILVERMAN:   Thanks.


       Golkow Litigation Services                                           Page 97
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 99 of 291 PageID 18893
                                     Raeann M. Bayless

         1        Q.   Do you recognize the documents that I've

         2     just handed you, Ms. Bayless?

         3        A.   Yeah, I've seen them before

         4             MR. SILVERMAN:     Object to form.

         5        A.   -- but I don't remember them.        I don't --

         6     nothing jumps out at me.     I'm sure I did, so --

         7        Q.   And the first page, it says at the top

         8     "Surgery/Procedure Consent Form."

         9             Do you see that?

        10        A.   I see that.

        11        Q.   And if you will flip with me to the second

        12     page of that document, does your signature appear on

        13     that page?

        14        A.   It does.

        15        Q.   And it's dated August 9th, 2013?

        16        A.   Uh-huh.

        17             MR. SILVERMAN:     Form.

        18        Q.   Which is the date of your surgery?

        19        A.   Uh-huh.

        20        Q.   And this is a form that you would have had

        21     the opportunity to read prior to signing it?

        22             MR. SILVERMAN:     Object to form; speculation.

        23        Q.   Would you have had the opportunity to read

        24     this form prior to signing it?

        25        A.   If I signed it, I would have had the


       Golkow Litigation Services                                           Page 98
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 100 of 291 PageID
                               Raeann
                                   18894M. Bayless

       1    opportunity.

       2       Q.      And if you will look with me on the -- back

       3    to the first page of this document, under Paragraph

       4    1 it says:        "I hereby authorize Dr. Kathy Y. Jones

       5    and/or such associates and/or assistants as may be

       6    selected by said physician to perform the following

       7    surgery/procedures."

       8               Do you see where I am?

       9               MR. SILVERMAN:    Object to form.

      10       A.      Yes.

      11       Q.      And in handwriting it says:       Robotic

      12    assisted total laparoscopic hysterectomy."             Correct?

      13               MR. SILVERMAN:    Form.

      14       A.      Yes.

      15       Q.      "Possible cystocele repair."       Correct?

      16       A.      Yes.

      17       Q.      "Laparoscopic sacrocolpopexy with mesh."

      18    Correct?

      19               MR. SILVERMAN:    Form.

     20        A.      Yes.

     21        Q.      "Midurethral retropubic sling."       Correct?

     22        A.      Yes.

     23                MR. SILVERMAN:    Form.

     24        Q.      And a "cystoscopy."       Do you see that?

     25        A.      Yes.


    Golkow Litigation Services                                                Page 99
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 101 of 291 PageID
                               Raeann
                                   18895M. Bayless

       1          Q.   And that was -- is that an accurate

       2    representation of the procedure you had done on

       3    August 9th, 2013?

       4               MR. SILVERMAN:     Object to form.

       5          A.   Yes.

       6          Q.   Thank you.     If you will turn to the third

       7    page, it says "Consent for Anesthesia" at the top.

       8    Do you recognize this document?

       9          A.   Yeah.

      10               MR. SILVERMAN:     Form.

      11          A.   I mean no, but I'm sure it came along with

      12    the packet.        I've seen it before.

      13          Q.   And if you will, turn to the next page for

      14    me.

      15          A.   It's been five years.

      16          Q.   Does your signature appear on that next page

      17    of the consent form?

      18          A.   Yes, it does.

      19               MR. SILVERMAN:     Form.

     20           Q.   And it's dated August 9th, 2013?

     21           A.   Yes, it is.

     22           Q.   And that was the date of your surgery?

     23           A.   Yes.

     24           Q.   And would you have had the opportunity to

     25     read this form prior to your surgery?


    Golkow Litigation Services                                           Page 100
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 102 of 291 PageID
                               Raeann
                                   18896M. Bayless

       1             MR. SILVERMAN:   Object to form -- one

       2       second.

       3       A.    Yeah.

       4             MR. SILVERMAN:   Object to form; calls for

       5       speculation.     If you don't remember, you can

       6       answer.

       7       Q.    Would you have had the opportunity to read

       8    this form prior to signing it?

       9       A.    If I signed it, yes.

      10       Q.    And if you will turn to the next page, it

      11    says at the top "Blood/Blood Components Transfusion

      12    Consent Form."

      13       A.    Yes.

      14       Q.    Do you recognize this document?

      15       A.    No, but I don't really -- I vaguely remember

      16    any of these.

      17       Q.    Does your signature appear on this document?

      18       A.    It does.

      19       Q.    And it's dated August 9th, 2013?

     20        A.    Uh-huh.

     21        Q.    And as you've said before, you would have

     22     had the opportunity to read this prior to signing

     23     it, correct?

     24              MR. SILVERMAN:   Object to form; asked and

     25        answered, speculation.


    Golkow Litigation Services                                           Page 101
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 103 of 291 PageID
                               Raeann
                                   18897M. Bayless

       1             MS. ERIXSON:     This is a different document.

       2    BY MS. ERIXSON:

       3       Q.    Would you have had the opportunity to review

       4    this document prior to signing it?

       5             MR. SILVERMAN:     Same objection.   You can

       6       answer if you remember.

       7       A.    If my signature is on it, yes.       I wouldn't

       8    have signed it.   I told you that over and over.

       9       Q.    Thank you.     You can put those aside.

      10             We started talking about this a little bit

      11    earlier but, Ms. Bayless, why did you bring a

      12    lawsuit against Boston Scientific?

      13       A.    Because I'm having problems with my

      14    implants.   I am bleeding wherein I shouldn't be

      15    bleeding.   I'm having constant infection that I

      16    can't treat.   I'm having perforation of wires coming

      17    through the top of my vagina, and it's not from

      18    sexual activity or anything that I've done.

      19             I can only do physical things for -- like

     20     raking the yard or anything, without having some

     21     pressure, some tugging, some nausea.      I feel -- I

     22     feel things about to tear in my abdominal area.         I'm

     23     limited on what I can do as far as picking up

     24     grandchildren that are babies, newborn babies.

     25              I'm afraid that I'm going to get cancer

    Golkow Litigation Services                                            Page 102
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 104 of 291 PageID
                               Raeann
                                   18898M. Bayless

       1    because -- because of the thing that's implanted

       2    inside me, which I did know -- did not know at the

       3    time people were being -- people were seeking

       4    counsel for that.

       5             If I had known that this was defective and

       6    that people were seeking to sue your company and

       7    everything, I wouldn't have let her put that in me.

       8    I knew that she was going to put some mesh in me and

       9    a sling but I didn't know that it was under -- it

      10    was going through problems at the time or it was

      11    defective.

      12             I trusted her and she trusted whoever about

      13    the implant.

      14       Q.    Do you know the name of the Boston

      15    Scientific implant that you currently have?

      16       A.    No.   I knew at one time but I don't know

      17    now.

      18       Q.    And has any medical professional told you

      19    that the Boston Scientific product is causing any of

     20     the issues you just named?

     21              MR. SILVERMAN:   Form.

     22        A.    How do I answer that?    Because if I'm here,

     23     your -- it must be your product or I wouldn't be

     24     here.   No, nobody specifically told me that it came

     25     from your company.

    Golkow Litigation Services                                           Page 103
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 105 of 291 PageID
                               Raeann
                                   18899M. Bayless

       1       Q.    And you understand that you have two

       2    separate products, correct?

       3       A.    Yes, I do.   That's why the two separate

       4    people are here.

       5       Q.    So what about the Boston Scientific product

       6    specifically --

       7       A.    I don't know.

       8       Q.    If you will let me --

       9             MR. SILVERMAN:   Let her finish her question.

      10       Q.    What about the Boston Scientific product

      11    specifically has brought you to this lawsuit?

      12             MR. SILVERMAN:   Object to form; asked and

      13       answered.

      14       A.    Is the Boston Scientific the sling or the

      15    other part?

      16       Q.    What do you understand it to be?

      17             MR. SILVERMAN:   Object to form.

      18       A.    I don't know, so I'm asking you.

      19       Q.    And this is my opportunity to ask you

     20     questions to find out what you know.    What do you

     21     understand the Boston Scientific product to be?

     22              MR. SILVERMAN:   Object to form; asked and

     23        answered, calls for speculation, asked and

     24        answered several times.    If you know the answer,

     25        you can answer.


    Golkow Litigation Services                                           Page 104
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 106 of 291 PageID
                               Raeann
                                   18900M. Bayless

       1       A.    I don't know.    I don't know which one

       2    belongs to which company.     I thought it was a unit.

       3       Q.    And no one has told you that the Boston

       4    Scientific product in particular is causing any of

       5    your issues, correct?

       6             MR. SILVERMAN:    Object to form -- one

       7       second.

       8       A.    They didn't say they weren't

       9             MR. SILVERMAN:    One second.   One second.

      10       Object to form; misstates testimony, asked and

      11       answered.     If you know, you can answer the

      12       question.

      13       A.    I don't know.

      14       Q.    Has any medical professional told you that

      15    the Boston Scientific product in particular --

      16       A.    Not specific.

      17       Q.    Excuse me.    If you would let me answer my

      18    question -- I mean let me finish my question.

      19             Has any medical professional told you that

     20     the Boston Scientific product specifically has

     21     caused any of the issues that you just named?

     22        A.    They didn't say it didn't.

     23              MR. SILVERMAN:    Object to form -- one

     24        second.     Object to form; asked and answered.

     25        A.    No.


    Golkow Litigation Services                                           Page 105
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 107 of 291 PageID
                               Raeann
                                   18901M. Bayless

       1          Q.   Your answer is no?

       2               MR. SILVERMAN:    Object to form.

       3          A.   Not specifically Boston Scientific product,

       4    no.

       5          Q.   How did you come to find your attorney?

       6               MR. SILVERMAN:    Object to form.    If you

       7          remember, you can answer.

       8          A.   An advertisement.

       9          Q.   Where did you see the advertisement?

      10          A.   On TV.

      11          Q.   When was that?

      12          A.   I don't remember exactly.     Right before I

      13    hired them.

      14          Q.   When did you hire your attorney?

      15               MR. SILVERMAN:    Object to form.

      16          A.   I believe it was --

      17               THE WITNESS:     Pardon?

      18               MR. SILVERMAN:     You can answer if you

      19          remember.

     20           A.   I don't remember the exact date.

     21           Q.   Do you remember the year?

     22                MR. SILVERMAN:     Form.

     23           A.   I don't know,    '14 or something.   I'm not

     24     sure when,    '15.   Around the time that I went to the

     25     emergency room and found out that I'm having              that


    Golkow Litigation Services                                               Page 106
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 108 of 291 PageID
                               Raeann
                                   18902M. Bayless

       1    it's causing problems.

       2       Q.    You say you went to the emergency room and

       3    found out it was causing problems.     What did you

       4    mean by that?

       5       A.    I meant that it was perforating through my

       6    vagina

       7       Q.    And what is perforating --

       8       A.    -- and causing bleeding.     I don't know what

       9    it is, part of the mesh, wires.      I know I don't have

      10    wires in my body before I got implanted.

      11       Q.    How many times did you see the advertisement

      12    that you were talking about on television?

      13             MR. SILVERMAN:   Form.

      14       A.    One or two.   I called it immediately when I

      15    first saw it.

      16       Q.    Who did you speak with?

      17             MR. SILVERMAN:   Object to form.

      18       A.    I don't remember exactly.

      19       Q.    Was it someone from your current counsel's

     20     law firm?

     21        A.    Someone -- yes, it was, but I don't remember

     22     a specific person.

     23        Q.    Did you ever speak to any medical

     24     professional about filing a lawsuit?

     25              MR. SILVERMAN:   Object to form.


    Golkow Litigation Services                                           Page 107
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 109 of 291 PageID
                               Raeann
                                   18903M. Bayless

       1       A.    No, I didn't.

       2       Q.    Why not?

       3             MR. SILVERMAN:     Object to form.

       4       A.    Because I already had -- I don't know the

       5    procedure.   I didn't feel it necessary to do that.

       6    I just knew that I have been experiencing problems

       7    and that I saw the advertisement that kind of

       8    related to my problems and I called them and asked

       9    them to file --

      10             MR. SILVERMAN:     Don't -- don't -- don't

      11       any conversations you had with any of your

      12       attorneys at the time, this is all privileged.

      13       You can say if you called or what year it was or

      14       time, but anything more than that is all

      15       privileged, attorney-client privilege.

      16             THE WITNESS:     Okay.

      17    BY MS. ERIXSON:

      18       Q.    What specifically did the advertisement say?

      19             MR. SILVERMAN:     Object to form.

     20        A.    I don't remember.

     21        Q.    What time of day was it that you saw the

     22     advertisement?

     23        A.    I don't know that either.

     24        Q.    Other than seeing the advertisement, did you

     25     do any research about mesh products in general

    Golkow Litigation Services                                           Page 108
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 110 of 291 PageID
                               Raeann
                                   18904M. Bayless

       1       A.    No.

       2       Q.    -- prior to filing this lawsuit?

       3       A.    No.

       4       Q.    Did you do any research about Boston

       5    Scientific prior to filing this lawsuit?

       6             MR. SILVERMAN:    Form.

       7       A.    No, I didn't.    There wasn't -- I had no

       8    reason to.

       9       Q.    When is the first time you heard the name

      10    Boston Scientific?

      11             MR. SILVERMAN:   Object to form.    I'm going

      12       to instruct you that any conversations you had

      13       with your attorney is all privileged and if you

      14       can answer outside of any conversations you had

      15       with your attorneys or the Schlesinger Law

      16       offices, or any attorneys in this matter, then

      17       you can answer.

      18       Q.    What is your response?

      19             MR. SILVERMAN:    If you remember the

     20        question.

     21        A.    Ask me the question again.

     22        Q.    When was the first time you heard of Boston

     23     Scientific?

     24              MR. SILVERMAN:    Same objection.

     25        A.    I don't     I don't remember.


    Golkow Litigation Services                                           Page 109
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 111 of 291 PageID
                               Raeann
                                   18905M. Bayless

       1       Q.    We've gone through this sort of generally

       2    and in different pieces, but I want to make a list

       3    with you --

       4       A.    Okay.

       5       Q.    -- of the injuries that you're claiming in

       6    this lawsuit.    So if we could go through one by one

       7    and tell me exactly what injuries you're claiming in

       8    this lawsuit.    Go ahead.

       9             MR. SILVERMAN:      Form.

      10       A.    Okay.   Constant bacterial vaginosis or

      11    infection that does not -- it won't go away;

      12    bleeding, moderate -- light to moderate bleeding;

      13    perforation of wires through the top of my vagina;

      14    pulling, like a pulled muscle, cramping, tugging;

      15    pain, a lot of pain when -- especially if I have to

      16    have a bowel movement.       I can feel it moving through

      17    my body and it is painful until I go to the

      18    restroom.

      19             Pressure.    If I eat, all of the sudden I

     20     feel -- I mean I have pressure most of the day until

     21     I digest my meal.

     22              Nausea after sex, nausea during sex, and

     23     nausea after I eat.

     24              Painful intercourse, which I did not have

     25     before the surgery.

    Golkow Litigation Services                                           Page 110
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 112 of 291 PageID
                               Raeann
                                   18906M. Bayless

       1               Limited physical activity because then I can

       2    start feeling pulling and tugging and I almost

       3    double over from the pressure and the pain until I

       4    go and sit down and relax and let it subside, which

       5    takes sometimes a few hours and sometimes I have to

       6    lay down for the rest of the night.

       7               No lifting.   If I do, I pay for it for a day

       8    or two, and that's most of the extent.

       9               Worrying about the perforation and if the

      10    bleeding is from something else or is going to cause

      11    something else, I should say, like cancer, something

      12    like that.     How much more of the mesh has migrated

      13    or eroded?

      14               If the bladder sling is intact, it causes --

      15    I -- it causes some incontinence still, and I feel

      16    like I have a urinary tract infection, which I have

      17    just recently went to the emergency room here in

      18    Douglas to see if I had a urinary tract infection,

      19    and I don't, so there is constant burning, which I

     20     don't know where that is coming from, and then it's

     21     painful.     It feels like I have to go to the bathroom

     22     all the time, but I don't leak as much.      I don't

     23     leak too much anymore, but it's just aggravated and

     24     painful.

     25                That's pretty much it for right now.

    Golkow Litigation Services                                           Page 111
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 113 of 291 PageID
                               Raeann
                                   18907M. Bayless

       1       Q.     Well, and this is my only opportunity to

       2    talk to you about what exactly it is.     So if there

       3    is anything else that you are claiming as an injury

       4    in this lawsuit, I need -- I want you to tell me

       5    today.

       6       A.     No, it's mostly the nausea, the bleeding,

       7    limited physical activity, and if I do have a little

       8    light physical activity or sex, it takes me -- it's

       9    a lot worse and I have to recuperate for a while,

      10    sometimes for hours, sometimes a day, two days, and

      11    in that time I'm nauseous while I'm eating or

      12    resting to recuperate, which I did not have that

      13    before.     I had a healthy appetite and I could eat

      14    like a horse.

      15       Q.      Is that everything?

      16              MR. SILVERMAN:   Form.

      17       A.     That's pretty much everything, Yes, it is.

      18       Q.     And I am going to go through these one by

      19    one.     If you think of anything that we haven't

     20     covered, I'll ask that you tell me.     Is that fair?

     21               So we'll start with the bacterial vaginosis.

     22     We talked about this a little earlier on today, and

     23     if my memory serves, you mentioned that that started

     24     within a year of the surgery; is that correct?

     25        A.     Maybe sooner.

    Golkow Litigation Services                                           Page 112
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 114 of 291 PageID
                               Raeann
                                   18908M. Bayless

       1       Q.    And that's something -- you experienced

       2    bacterial vaginosis prior to the surgery, correct?

       3       A.    Before, yes.

       4       Q.    How, if at all, is it different?

       5       A.    It -- I can't -- it won't -- it's not

       6    treatable.      I've taken medicine to clear it up and

       7    it won't clear up.      The odor is more foul.   My

       8    vagina is like not wet, it's like slimy from it.         I

       9    didn't have that before and I haven't had -- haven't

      10    been having sexual intercourse, so it's not from

      11    something my partner may have given me or caused by

      12    having a, you know, unclean sexual organ.

      13       Q.    Have you ever been diagnosed with a sexually

      14    transmitted disease?

      15       A.    Yes.

      16       Q.    What is that?

      17             MR. SILVERMAN:     Form.

      18       A.    Gonorrhea twice.

      19       Q.    When were you diagnosed with gonorrhea?

     20        A.    2003 or '04, and probably I had -- I think I

     21     had it from my boyfriend when I went to The Bridge,

     22     so that was around 2001, so two separate incidents.

     23        Q.    Have you ever been diagnosed with any other

     24     sexually transmitted disease?

     25              MR. SILVERMAN:     Form.


    Golkow Litigation Services                                           Page 113
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 115 of 291 PageID
                               Raeann
                                   18909M. Bayless

       1       A.      Like trichomonas, but that has the same

       2    symptoms as bacterial vaginosis, so it's hard to say

       3    whether -- and that -- you can get that from wiping

       4    the wrong way when you are having a bowel movement,

       5    is what the doctors told me.         So --

       6       Q.      Have you been treated for trichomonas?

       7       A.      I have.

       8       Q.      When have you been treated for --

       9       A.      I don't know when it was.         It's documented

      10    somewhere, but I can't tell you if it was

      11    trichomonas or bacterial vaginosis.           They just

      12    treated me because one certain pill covers the

      13    whole -- covers both of them.

      14       Q.      When you have sexual intercourse, do you use

      15    condoms?

      16               MR. SILVERMAN:    Form.

      17       A.      Most of the time, but not all the time.

      18       Q.      What percentage of time do you use condoms?

      19       A.      I don't know.    I can't tell you.       It's just

     20     a spontaneous thing.        I had one particular partner

     21     for 15 years, but a lot of times we didn't use

     22     those, and a lot of times we did.

     23        Q.      Are you currently experiencing the symptoms

     24     that you described for bacterial vaginosis?

     25        A.      Yes, I am.


    Golkow Litigation Services                                              Page 114
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 116 of 291 PageID
                               Raeann
                                   18910M. Bayless

       1       Q.     Are you currently seeking any medical

       2    attention for that?

       3       A.     I just did a week ago Sunday.

       4       Q.     Who did you see?

       5       A.     The emergency room here in Douglas.

       6       Q.     Why did you go to the emergency room?

       7       A.     Because I'm tired of the - - I got tired of

       8    the odor and it still being there and I wanted to

       9    try to clear it up again, but it's not -- it doesn't

      10    clear up.

      11       Q.     Did you receive any medical treatment?

      12       A.     I did tell them just to treat me for any --

      13    any infection they think I might have.         They gave me

      14    a shot.     I don't know the name of the shot but that

      15    usually is also what they give you for -- if you get

      16    gonorrhea or whatever, and I got the Flagyl, and

      17    then I got an antifungal in case I have yeast or

      18    because it's itching, and it didn't go away.

      19       Q.     Has any medical provider told you that the

     20     bacterial vaginosis you've experienced since your

     21     surgery in 2003 is related to the Boston Scientific

     22     mesh?

     23               MR. SILVERMAN:     Object to form.

     24        Q.     You can answer.

     25        A.     No, they didn't, but they didn't say it


    Golkow Litigation Services                                            Page 115
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 117 of 291 PageID
                               Raeann
                                   18911M. Bayless

       1    wasn't.

       2       Q.      Did you ask?

       3       A.      No, I didn't ask.   I didn't even know that

       4    Boston Science -- it was a Boston Scientific

       5    product.

       6       Q.      Has any medical professional told you that

       7    the bacterial vaginosis symptoms you've experienced

       8    in 2003 are related to the sling?

       9               MR. SILVERMAN:   Object to form; asked and

      10       answered.      If you know, you can answer.

      11       A.      No.   They didn't say it wasn't.

      12       Q.      The next item you've listed as an injury in

      13    this lawsuit is light to moderate bleeding.

      14    Describe to me when you experienced light to

      15    moderate bleeding.

      16       A.      After physical -- light physical activity;

      17    after bending to pick up something off the floor, or

      18    down to kiss my grandchild, who is small -- shorter

      19    than I am; after raking the yard for maybe five or

     20     10 minutes; after twisting my body a certain way; if

     21     I sit -- like if I'm sitting on a couch and I'm

     22     leaning over like this, if I do that for more than

     23     20 or 30 minutes, I have light bleeding; and

     24     sometimes driving for more than 20 or 30 minutes

     25     causes light bleeding; and sexual intercourse


    Golkow Litigation Services                                           Page 116
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 118 of 291 PageID
                               Raeann
                                   18912M. Bayless

       1    definitely, because of the perforation I'm sure, but

       2    I don't know for sure, causes bleeding and I don't

       3    have anything to bleed out of anymore.

       4       Q.    What -- I'm sorry.    I didn't mean to

       5    interrupt.

       6             When did you first experience bleeding after

       7    the surgery?

       8       A.    Sometime after the surgery, after the

       9    healing process, and I hadn't even had sex yet.

      10       Q.    How much -- when you experience bleeding,

      11    how much bleeding do you experience?

      12       A.    It's light to moderate.

      13             MR. SILVERMAN:   Form.

      14       A.    And then if I go past 10, 15, 20 minutes,

      15    it's very noticeable.     It covers pretty much the

      16    whole crotch of my underwear, but it's not like

      17    pouring -- gushing out, but it's very noticeable.

      18       Q.    Have you experienced any bleeding during the

      19    course of this deposition?

     20        A.    No.

     21        Q.    Have you sought medical attention with

     22     regard to the bleeding that you experience?

     23        A.    I did.   I went to the emergency room in

     24     Titusville twice.

     25        Q.    Did you receive any medical treatment?


    Golkow Litigation Services                                           Page 117
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 119 of 291 PageID
                               Raeann
                                   18913M. Bayless

       1       A.    There wasn't anything they could do.     One of

       2    those visits, though, he -- the doctor that I went

       3    to see confirmed that I had wires sticking through

       4    the top of my vagina and it was like an inch, maybe

       5    a little -- maybe a little bit less than an inch

       6    hanging out, and so it wouldn't cause any more

       7    problems or cause, you know, worse problems, he

       8    tried to snip most of it off, whatever was sticking

       9    down, and he put that in the records that he did it.

      10       Q.    When was that?

      11       A.    It was 2014 or 2015.     I went to see him

      12    or I went to the emergency room in 2014, 2015.         I

      13    don't remember how far apart that was.      It might

      14    have -- but one of those visits, and I'm not sure

      15    which one, is when he snipped it.

      16       Q.    What is that doctor's name?

      17       A.    Dr. Garcia.   He was the emergency

      18    attending emergency room doctor.

      19       Q.    When you say wires, is that your word or is

     20     that Dr. Garcia's word?

     21              MR. SILVERMAN:   Form.

     22        A.    I said wire when I told him I felt something

     23     like that, because at first I thought it was

     24     stitches hanging out, like, you know, they have more

     25     reinforced, I guess, for lack of a better word,


    Golkow Litigation Services                                           Page 118
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 120 of 291 PageID
                               Raeann
                                   18914M. Bayless

       1    stitches, you know, they are stronger than the other

       2    ones, that just dissolve on their own or whatever,

       3    and that's what I thought it was initially, and he

       4    confirmed that there was a wire hanging out and he

       5    shortened it so it wouldn't cause any more problems.

       6       Q.      Was that an outpatient procedure that you

       7    had done?

       8       A.      It was right in the emergency room, because

       9    I told him to examine me physically, and he did, and

      10    then he said, yes, he confirmed what I told him, and

      11    then he tried to make it where it wouldn't cause a

      12    problem and snipped it off.         I don't know what he

      13    snipped it off with or whatever.

      14       Q.      Were you under any anesthesia?

      15       A.      No, but it was painful and it bled, but

      16    not -- it didn't bleed because of something he

      17    snipped.     It bled because that is the area of my

      18    the source of my bleeding.

      19       Q.      Has any medical provider told you that the

     20     bleeding that you've experienced is related to the

     21     Boston Scientific mesh?

     22        A.      He did.

     23                MR. SILVERMAN:   Form.

     24        A.      No, not Boston Scientific.

     25        Q.      Has any medical provider


    Golkow Litigation Services                                           Page 119
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 121 of 291 PageID
                               Raeann
                                   18915M. Bayless

       1       A.    Or from the mesh.

       2       Q.          told you it's related to the sling?

       3             MR. SILVERMAN:     Object to form; asked and

       4       answered.     You can answer.

       5       A.    No.    They said it was related to the

       6    perforation in my vagina, because there's nowhere

       7    else for it to bleed from.

       8       Q.    And that's the next item on your list.      When

       9    did you first experience what you've described as

      10    perforation of wires?

      11       A.    I noticed it around the time I went to the

      12    emergency room.     That's why -- part of the reason

      13    why I went to the emergency room, and because of the

      14    bacterial -- the constant -- I couldn't get rid of

      15    the bacterial vaginosis.      I don't know when I went,

      16    because I hadn't had sex that long, so I was

      17    wondering why I still had bacterial vaginosis or

      18    that symptoms came back from bacterial vaginosis and

      19    that's when I        that's when he told -- he confirmed

     20     that there was a wire hanging out.      I don't remember

     21     exactly what the date was but it was a year or less

     22     after the surgery, after the healing process, but

     23     less than a year.

     24        Q.    Have you -- since your surgery in 2013, have

     25     you ever returned to see Dr. Jones again?


    Golkow Litigation Services                                           Page 120
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 122 of 291 PageID
                               Raeann
                                   18916M. Bayless

       1       A.    No, because I had moved over here.    I may

       2    have seen her one time after the surgery, but we

       3    moved shortly after I had the       and in fact, I was

       4    in the process of moving back to Titusville when I

       5    had the surgery.    So we continued to move after I

       6    healed some and made the complete move and moved

       7    back to Titusville.    So I, instead of traveling back

       8    and forth and I was still healing, I chose to see

       9    someone more local.

      10       Q.    And who was that person?

      11       A.    I think it was Brevard Health Alliance, the

      12    emergency room.    That's where my primary care

      13    physicians are.    I didn't go back to a health clinic

      14    or anything like that.

      15       Q.    And Dr. Jones is in Orlando; is that right?

      16       A.    She is.

      17       Q.    Why were you living in Orlando at the time

      18    of your surgery?

      19       A.    Why?   Because I moved over there with my

     20     boyfriend who had a job, a good job at the time, and

     21     it was out of Orlando, so instead of traveling back

     22     and forth, which we could have done, we chose to

     23     move there.

     24        Q.    How far apart are Orlando and Titusville?

     25        A.    40     45 miles, a little bit more depending


    Golkow Litigation Services                                           Page 121
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 123 of 291 PageID
                               Raeann
                                   18917M. Bayless

       1    on where you go into Orlando.

       2       Q.    Has any medical provider recommended that

       3    you have the Boston Scientific mesh sling removed?

       4             MR. SILVERMAN:    Form.

       5       A.    Yes.   They didn't specifically name the

       6    Boston Scientific but they said the mesh, and that

       7    was through Brevard Health Alliance, but I went to

       8    see a urogynecologist at the Melbourne -- their

       9    Melbourne office, because they didn't have one in

      10    Titusville, they didn't have a urogynecologist in

      11    Titusville.     So I had to go to the Melbourne office,

      12    where they had a -- they were trying to start a

      13    women's center and she was going to be head of it,

      14    but I just saw her at their office because it hadn't

      15    gone through yet.

      16       Q.    Which doctor was that?

      17       A.    I don't know her name.    It's in my medical

      18    records somewhere.

      19       Q.    And we haven't received your medical

     20     records, which is why I'm asking those questions.

     21              MR. SILVERMAN:    Form.

     22        A.    I don't know her name.    I forgot her name.

     23        Q.    And that doctor at the Melbourne office of

     24     the Brevard Health Center recommended removal of

     25     mesh?


    Golkow Litigation Services                                           Page 122
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 124 of 291 PageID
                               Raeann
                                   18918M. Bayless

       1       A.      She did.

       2       Q.      What specifically did she say?

       3       A.      She said it needed to be removed.     I don't

       4    remember specifically what she said.

       5       Q.      Did she say why?

       6       A.      Because it's eroding and it's perforating

       7    through the top of my vagina and it's causing

       8    infection and it could get progressively worse.

       9       Q.      When was that appointment?

      10       A.      That was       it was kind of fairly recent,

      11    but that was, like, within the last year or two.           I

      12    mean, you would have to get it from my attorneys

      13    because I turned the evaluation in to them.

      14       Q.      So you provided an evaluation from this

      15    physician to your attorneys?

      16       A.      Yes, I did.

      17               MS. ERIXSON:     Counsel, we would ask that you

      18       would provide those documents.        We don't have

      19       them.

     20                MR. SILVERMAN:     My understanding is that all

     21        medical records that we received have been

     22        produced to you.        I could always check back with

     23        my office but that is my understanding as I sit

     24        here today.

     25                MS. ERIXSON:     And just for the record, we


    Golkow Litigation Services                                             Page 123
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 125 of 291 PageID
                               Raeann
                                   18919M. Bayless

       1       have not -- and you can correct me if I'm wrong,

       2       but we have not received anything after 2015 and

       3       we have nothing indicating that this visit

       4       occurred.

       5       A.    It might be --

       6             MR. SILVERMAN:    Again -- wait one second.

       7       One second.    All medical records that we have you

       8       guys have.     That's crystal clear from my

       9       understanding, so if you want to follow up with

      10       my office, absolutely, but my understanding is

      11       that -- I think yesterday we sent out -- let's go

      12       off the record for a minute.

      13             THE VIDEOGRAPHER:     Off the record at 12:55.

      14            (Recess from 12:55 p.m. until 12:56 p.m.)

      15             THE VIDEOGRAPHER:     Back on the record at

      16       12:56.

      17             THE WITNESS:     That was -- may I say

      18       something?

      19             MR. SILVERMAN:    Wait for her to ask the

     20        question.

     21     BY MS. ERIXSON:

     22        Q.    Let me ask a question.

     23              MR. SILVERMAN:     Yeah, wait for her to ask a

     24        question.

     25     BY MS. ERIXSON:

    Golkow Litigation Services                                           Page 124
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 126 of 291 PageID
                               Raeann
                                   18920M. Bayless

       1       Q.    Ms. Bayless, have you -- have you had any

       2    procedure performed to remove the mesh since your

       3    meeting with the doctor at Brevard Health Alliance?

       4       A.    No, because I have no insurance, but I'm

       5    seeking means to do that.

       6       Q.    Other than the medical provider at the

       7    Melbourne office that we talked about before, has

       8    anyone else recommended that you have any part of

       9    the mesh products removed?

      10       A.    That was the last person that I spoke to

      11    about evaluating it and/or the removal of.       It was a

      12    woman.   I don't remember her name, the doctor's

      13    name, but I remember a woman.    I don't know.     I

      14    can't remember the name.

      15       Q.    And how did you come to see that doctor

      16    whose name you don't --

      17       A.    I was referred to the -- through the Brevard

      18    Health Alliance in Titusville, which is my primary

      19    care physician.

     20        Q.    You mentioned that you were trying to find

     21     means to pay for further health treatment.       What

     22     steps are you taking to do that?

     23        A.    Well, I got a job and inquired about their

     24     insurance, and it's just a process but it's going

     25     to -- they have open enrollment in November.       They

    Golkow Litigation Services                                           Page 125
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 127 of 291 PageID
                               Raeann
                                   18921M. Bayless

       1    don't have it before that.    Even -- I was thinking

       2    that right after my probation period I could start

       3    paying for it and get it, but you have to wait until

       4    open enrollment.    That's in November.

       5       Q.    Has anyone offered to pay for that

       6    procedure?

       7       A.    No.

       8       Q.    Is there anything else that we haven't

       9    discussed with regard to the perforation that you're

      10    claiming as an injury in this lawsuit?

      11             MR. SILVERMAN:   Form.

      12       A.    Say the question again.

      13       Q.    Is there anything that we haven't already

      14    discussed with regard to the perforation that you're

      15    claiming as an injury in this lawsuit?

      16             MR. SILVERMAN:   Form.

      17       A.    No.

      18       Q.    And no doctor has told you that the

      19    perforation is related to the Boston Scientific

     20     sling, correct?

     21              MR. SILVERMAN:   Object to form; misstates

     22        testimony, asked and answered.

     23        Q.    Is that correct, ma'am?

     24        A.    I don't     I don't know why you keep saying

     25     Boston Scientific      I mean whatever it is.   I don't


    Golkow Litigation Services                                           Page 126
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 128 of 291 PageID
                               Raeann
                                   18922M. Bayless

       1    know the manufacturer.    I just know that it's in me

       2    and it's causing a severe problem.

       3       Q.    But you understand that you have two

       4    different products?

       5             MR. SILVERMAN:   Form.

       6       A.    And I understand that both of them are

       7    causing problems.

       8       Q.    And who told you that?

       9             MR. SILVERMAN:   Form.

      10       A.    I'm experiencing it.     I'm telling myself

      11    that and I would go seek medical help for it or

      12    evaluations for it.

      13       Q.    But you don't know which product

      14       A.    I'm not a medical doctor.

      15             MR. SILVERMAN:   Let her ask -- let her

      16       ask

      17       Q.    You don't know which product, if any, are

      18    causing the problems?

      19             MR. SILVERMAN:   Object to form; misstates

     20        testimony, asked and answered countless times.

     21        Again, you can answer the question if you know.

     22        A.    All I know is that I have these things

     23     implanted in me and I'm not the same as I was

     24     before, and it's not the same medical issues.      They

     25     are different and they are worse, and I'm bleeding

    Golkow Litigation Services                                           Page 127
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 129 of 291 PageID
                               Raeann
                                   18923M. Bayless

       1    when I shouldn't be bleeding.     I'm pulling and

       2    tugging and having pressure when I shouldn't be

       3    having any, which I had a cystocele and I didn't

       4    even have pressure with that.     I know I'm nauseous

       5    all the time since the surgery.

       6       Q.    How often do you experience nausea?

       7       A.    Every time after sex it's worse.    It's like

       8    it stirs something up in my stomach, and after I

       9    eat, like if I eat a full meal, and that's -- that's

      10    not normal.   I could usually eat whatever I want

      11    when I want, before the surgery.

      12       Q.    Have you spoken with any -- have you sought

      13    any medical treatment for the nausea that you have

      14    described?

      15       A.    No, I just know it's related.

      16             MR. SILVERMAN:   Form.

      17       A.    Because that was more immediate after the --

      18    after -- shortly after I had the surgery.      And then

      19    I know -- I have a friend who has had the same kind

     20     of surgery and she mentioned to me, and this is the

     21     only discussion we've had about the surgeries, was

     22     that she was experiencing the same symptom.

     23        Q.    The symptom being nausea?

     24        A.    Uh-huh.

     25        Q.    What is your friend's name?


    Golkow Litigation Services                                           Page 128
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 130 of 291 PageID
                               Raeann
                                   18924M. Bayless

       1       A.    Her name is Sherry Jordan.

       2       Q.    What is her address?

       3       A.    I don't know the address right now.

       4             MR. SILVERMAN:    Form.

       5       Q.    Do you have her phone number?

       6       A.    No.

       7       Q.    If you could look those up and provide them

       8    to your counsel, and we'd ask that you provide those

       9    to us.

      10             MR. SILVERMAN:    You can request that after

      11       the deposition through proper grounds.

      12       A.    She's very guarded.       I don't know if she'll

      13    talk to you but I'll try to get them for you.

      14       Q.    Thank you.   Has any medical provider told

      15    you that the nausea that you have described is

      16    related to the Boston Scientific mesh sling?

      17             MR. SILVERMAN:    Object to form.     You can

      18       answer.

      19       Q.    You can answer?

     20              MR. SILVERMAN:    If you know.

     21        A.    No, I just know that it wasn't like that

     22     before I had the surgery, and

     23        Q.    Do you experience any abdominal pain?

     24              MR. SILVERMAN:    She's not finished her

     25        answer.


    Golkow Litigation Services                                           Page 129
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 131 of 291 PageID
                               Raeann
                                   18925M. Bayless

       1       Q.    I'm sorry.

       2       A.    That's okay.    Go ahead.   I don't know why

       3    I just know whatever       it's from the surgery.   I

       4    don't know what part of the surgery or whatever, but

       5    it is from, I believe, having the mesh, because I

       6    didn't have that before.

       7       Q.    Do you experiences any abdominal pain?

       8       A.    I do.

       9       Q.    Can you describe that to me?

      10       A.    It feels like period cramps, and I don't

      11    have a period anymore.

      12       Q.    How often do you experience that feeling?

      13       A.    It depends on my physical activity.     I can

      14    have light to moderate physical activity and I'm

      15    going to cramp in my abdomen, sometimes light pain

      16    and then sometimes moderate to severe pain,

      17    depending on what I did.

      18       Q.    Where exactly in your abdomen do you feel

      19    the pain that you --

     20        A.    At the bottom, like at -- right above my

     21     pelvic area but at the -- under my stomach.

     22        Q.    When was the first time you experienced that

     23     pain?

     24        A.    After the healing process, it was short --

     25     very shortly afterwards, but it was only -- I was


    Golkow Litigation Services                                           Page 130
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 132 of 291 PageID
                               Raeann
                                   18926M. Bayless

       1    thinking that it was still from healing, because

       2    she -- they said that -- Kathy Jones told me that

       3    or in the paperwork it said you should heal six

       4    weeks to three months after the surgery, but that

       5    the -- to be completely healed, it could take

       6    several months.

       7       Q.    So when you say the healing -- after the

       8    healing process, what timeline are we looking at

       9    after your surgery?

      10             MR. SILVERMAN:   Form.

      11       A.    I don't remember that part.     I just know it

      12    was, like, months, or a couple of months.

      13       Q.    More than three months?

      14       A.    No, that was the minimum.     I mean, that

      15    was the -- that was just from surgery and

      16    everything, it was two or three months, but to be

      17    completely healed, it could take more, is the way

      18    my understanding of what I read a long time ago.

      19       Q.    So when you say -- you said your abdominal

     20     pain started after the healing process.

     21     Approximately how many months after your surgery did

     22     you first experience --

     23        A.    When I did something physical or I had sex,

     24     I noticed it then, because I waited for the allotted

     25     time before I had sex or did anything, you know,

    Golkow Litigation Services                                           Page 131
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 133 of 291 PageID
                               Raeann
                                   18927M. Bayless

       1    light to moderately physical things.

       2       Q.    And what -- what time period?      How long did

       3    you wait?

       4       A.    About three -- two -- about three months,

       5    but right after the time that you're supposed to

       6    allow your body to heal, two or three months.

       7       Q.    Do you take any medication or do anything

       8    that provides you relief from the abdominal pain?

       9       A.    Over-the-counter pain relievers.

      10       Q.    Do those help?

      11       A.    Sometimes they do and sometimes they don't.

      12    It will lighten it up sometimes, but it -- I still

      13    have, like, cramping and --

      14       Q.    Has any medical provider told you that the

      15    abdominal pain you've described is related to the

      16    Boston Scientific mesh sling?

      17             MR. SILVERMAN:   Object to form.     You can

      18       answer if you know.

      19       A.    No, they haven't.

     20        Q.    I'm going through your list.    You mentioned

     21     pulling, like a pulled muscle, cramping and tugging.

     22     Is that different than the abdominal pain we just

     23     discussed?

     24        A.    Yes.

     25        Q.    Okay.   Can you describe that for me then?


    Golkow Litigation Services                                           Page 132
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 134 of 291 PageID
                               Raeann
                                   18928M. Bayless

       1       A.    It seemed like up in the -- like the sides

       2    of my abdominal area, not in the middle, where I

       3    experience the pain and the pressure after sex and

       4    after light to moderate physical activity.     I can

       5    turn my body or go to get up, depending on what kind

       6    of apparatus I'm sitting on or, you know, the bed or

       7    whatever, how it's shaped, and I can feel it in the

       8    corner, like on the side of my abdominal -- abdomen.

       9       Q.    So you feel the pulling and tugging

      10    sensation in --

      11       A.    I feel the pain and something pulling, like

      12    I'm about to, you know, tear something up in there

      13    or something.

      14       Q.    And when you're experiencing that, you're

      15    experiencing that on the side of your body, correct?

      16             MR. SILVERMAN:   Form.

      17       A.    Like about where my ovaries would be, but I

      18    don't have a problem with my ovaries, never have.

      19       Q.    Do you have both of your ovaries?

     20        A.    Uh-huh.

     21        Q.    When did that pulling, tugging sensation

     22     that you just described begin?

     23        A.    Shortly after I had the surgery, after the

     24     healing process, and it's occurred off and on till

     25     this day.


    Golkow Litigation Services                                           Page 133
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 135 of 291 PageID
                               Raeann
                                   18929M. Bayless

       1       Q.      How frequently does it happen?

       2       A.      It depends on what I do.

       3       Q.      It's related to particular activities that

       4    you do?

       5       A.      Yeah, physical -- like I can ride a bike and

       6    I'm going to feel some kind of problems.       I'm going

       7    to feel pressure, I'm going to feel abdominal pain,

       8    and I'm going to feel that pulling and tugging.

       9       Q.      Did you ever experience that pulling and

      10    tugging feeling prior to your surgery in 2013?

      11       A.      No.    I had very little problems physically,

      12    except for the -- you know, the incontinence got

      13    kind of bad at that -- before the surgery.       I wasn't

      14    limited.

      15       Q.      Have you sought any medical treatment

      16    regarding the pulling, tugging feeling that you've

      17    described?

      18       A.      I've

      19               MR. SILVERMAN:    Form.

     20        A.      I have told my primary care physician at

     21     Brevard Health Alliance, but I don't know if they

     22     put it in the records but they related it to the

     23     implants and the way that the implant is implanted.

     24        Q.      Which doctor is that?

     25                MR. SILVERMAN:    Form.

    Golkow Litigation Services                                           Page 134
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 136 of 291 PageID
                               Raeann
                                   18930M. Bayless

       1       A.      I don't know what -- I don't know right now.

       2    I forgot her       I don't know because they've

       3    changed, so -- it's in my records.        I don't know

       4    what her name is.       I've forgotten.

       5       Q.      How long have you been seeing the doctor

       6    that you've described?

       7       A.     Off and on for three or four years.

       8       Q.     And it's a woman?

       9       A.      Yes, but I      if I go in, I might not see

      10    her.     I might see one of the other physicians.        I'll

      11    have an appointment, she might be gone that day or

      12    -- and I'm not even sure she still works there now,

      13    because it's been a while since I've gone to see

      14    them.

      15       Q.     And has that doctor or any doctor told you

      16    that the pulling or tugging sensation that you've

      17    described is related to the Boston Scientific mesh

      18    sling?

      19              MR. SILVERMAN:     Form.

     20        A.     No.

     21        Q.      I'm going to jump around this list a little

     22     bit.     You mentioned that you still experience

     23     incontinence.

     24               MR. SILVERMAN:     Object to form.

     25        A.      It depends on my physical activity and it


    Golkow Litigation Services                                              Page 135
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 137 of 291 PageID
                               Raeann
                                   18931M. Bayless

       1    has to be, like, more than moderate, which is not

       2    very often because I can't stand to do -- moderate

       3    is pretty much pushing it since the surgery.

       4       Q.    When did you first experience incontinence

       5    symptoms after your surgery in 2013?

       6       A.    I couldn't tell you that.      I don't know.

       7       Q.    Was it more than a year after?

       8       A.    No.

       9       Q.    Within the first year?

      10       A.    Uh-huh.

      11       Q.    Is that a yes?

      12       A.    Yes.   I'm sorry.

      13             MR. SILVERMAN:      Form.

      14       Q.    How frequently would you say you experienced

      15    symptoms of incontinence?

      16       A.    It's not as frequently as it was before, but

      17    then I have other symptoms now with the sling.

      18       Q.    And how do you know your symptoms are

      19    related to the sling?

     20              MR. SILVERMAN:      Object to form.

     21        A.    Because it's not anything that I -- I know

     22     how my bladder used to react when I drank too much

     23     caffeine, and now I don't have to have -- I don't

     24     drink -- I mean if I don't drink caffeine, it feels

     25     like I drank a lot of caffeine, and I don't know


    Golkow Litigation Services                                           Page 136
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 138 of 291 PageID
                               Raeann
                                   18932M. Bayless

       1    that it's related to the sling, but I know that

       2    what else could it be?     It's not something I'm

       3    eating or drinking.

       4       Q.    When you say you have -- you're experiencing

       5    something similar to when you drank caffeine, what

       6    symptoms are you experiencing?

       7       A.    It's like burning and it's like a strong

       8    urge to urinate.

       9       Q.    How often do you experience the burning and

      10    the strong urge to urinate?

      11       A.    Almost daily.

      12       Q.    Have you sought medical attention for that?

      13             MR. SILVERMAN:    Form.

      14       A.    When I went to the emergency room recently,

      15    I had them check me for a urinary tract infection

      16    and I had none.     That was the first time I kind of

      17    addressed it, because I drink a lot of soda and I

      18    thought that's what it was.        So I laid off the soda

      19    and waited for a while and then I went and asked

     20     them to check me.

     21        Q.    How much soda do you drink in a day?

     22              MR. SILVERMAN:    Form.

     23        A.    It varies.    Sometimes I go without it for

     24     several days and then sometimes I drink, like, a

     25     liter a day or --

    Golkow Litigation Services                                           Page 137
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 139 of 291 PageID
                               Raeann
                                   18933M. Bayless

       1       Q.    Do you drink coffee?

       2       A.    No, just today I did, but I don't usually.

       3       Q.    And you had the urge to urinate, you had

       4    that before the surgery in 2013, correct?

       5             MR. SILVERMAN:   Form; asked and answered.

       6       A.    If I had the urge to urinate, I was pretty

       7    much urinating or I had to go right then or I

       8    wouldn't make it.

       9       Q.    Does that happen to you -- has that happened

      10    to you since your surgery in 2013?

      11             MR. SILVERMAN:   Form.

      12       A.    If I drink a lot of caffeine.

      13       Q.    So it's related to your caffeine intake?

      14             MR. SILVERMAN:   Object to form.

      15       A.    I have mixed incontinence.   I was diagnosed

      16    with mixed incontinence, so that's part of the --

      17    part of the other part of the incontinence, too much

      18    caffeine or any irritants that would irritate the

      19    bladder, and since she told me that, I know how to

     20     handle that part of it, but when I'm not drinking

     21     caffeine or bladder irritants, I'm experiencing

     22     other symptoms.

     23        Q.    What other symptoms are those?

     24        A.    Like the -- like the pressure and the strong

     25     urge to urinate when I don't have to urinate and I


    Golkow Litigation Services                                           Page 138
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 140 of 291 PageID
                               Raeann
                                   18934M. Bayless

       1    don't have a urinary tract infection.

       2       Q.    And you said that happens almost daily?

       3       A.    Yeah, it does.

       4       Q.    You described burning.    What burning

       5    symptoms do you --

       6       A.    Well, like a tickling, you know, it's right

       7    before a burning.    Sometimes it burns, like when you

       8    have a urinary tract infection and you have burning

       9    when you pee, it's like that but there is no urine

      10    and I'm not going to the restroom and I don't have a

      11    urinary tract infection.

      12       Q.    Do you currently have to wear any pads for

      13    the urinary leaking that you described?

      14       A.    I don't but sometimes I don't make it to the

      15    bathroom.

      16       Q.    Is that because of leaking or urgency to

      17    pee?

      18             MR. SILVERMAN:    Form.

      19       A.    The urgency, and that's without caffeine,

     20     but I have the constant burning and tickling and

     21     irritation even when I'm not drinking something that

     22     irritates me.

     23        Q.    Is it your understanding that the mesh sling

     24     was going to treat the urgency to urinate?

     25              MR. SILVERMAN:    Object to form.


    Golkow Litigation Services                                           Page 139
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 141 of 291 PageID
                               Raeann
                                   18935M. Bayless

       1       A.      That it would correct most of the problems,

       2    yes.    Not the -- not the irritants with the caffeine

       3    or certain juices or something, but that it would

       4    correct the other part of the incontinence.

       5       Q.      Have you ever taken any medication to treat

       6    urge incontinence?

       7       A.      No, because she made me aware of it and I

       8    pretty much do it by diet or habit.

       9               MR. SILVERMAN: Can we take a short break?

      10       When you finish your answer, I need to use the

      11       restroom.

      12               MS. ERIXSON:   Okay.     Sure.   Let's go off the

      13       record.

      14               THE VIDEOGRAPHER:      Off the record at 1:14.

      15            (Recess from 1:14 p.m. until 1:25 p.m.)

      16               THE VIDEOGRAPHER:      Back on the record at

      17       1:25.

      18    BY MS. ERIXSON:

      19       Q.      Ms. Bayless, before we took a break we were

     20     talking about the injuries that you are claiming in

     21     this lawsuit.     Do you remember that discussion?

     22        A.      Yes, I do.

     23        Q.      Before we get back to that topic, I just

     24     want to hand you --

     25                MS. ERIXSON:   I'm stepping on my microphone.


    Golkow Litigation Services                                             Page 140
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 142 of 291 PageID
                               Raeann
                                   18936M. Bayless

       1       Sorry.

       2       Q.         hand you what I've marked as Exhibit 4.

       3             (Bayless Exhibit 4 was marked for

       4    identification.)

       5    BY MS. ERIXSON:

       6       Q.    Do you recognize this document?

       7       A.    No, I don't.

       8       Q.    It says -- this is your Amended Plaintiff

       9    Fact Sheet.      Is that what it says on the front page?

      10       A.    Oh, I remember some of this.

      11       Q.    And if you will turn to the front page, is

      12    this your Amended Plaintiff Fact Sheet, is that what

      13    it says at the top?

      14       A.    Yeah.

      15             MR. SILVERMAN:     Form.

      16       A.    It says that in the middle.

      17       Q.    Okay.    Thank you.   And if you will turn to

      18    the very last page of that document, at the top it

      19    says "Verification."      Do you see where I am?

     20        A.    Yes.

     21        Q.    And it says:     "Raeann Bayless declares under

     22     penalty of perjury subject to all applicable laws

     23     that I have carefully reviewed the final copy of

     24     this Plaintiff Fact Sheet dated April 3rd, 2018, and

     25     verified that all of the information provided is


    Golkow Litigation Services                                           Page 141
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 143 of 291 PageID
                               Raeann
                                   18937M. Bayless

       1    true and correct to the best of my knowledge,

       2    information and belief."

       3             Do you see that?

       4       A.    I do.

       5             MR. SILVERMAN:     Form.

       6       Q.    Is that your signature on this page?

       7       A.    It is.

       8       Q.    So you understood that you were to fill this

       9    form out to the best of your ability?

      10       A.    Correct.

      11       Q.    And you have sworn to do that by your

      12    signature on the verification page, correct?

      13       A.    Yes.

      14             MR. SILVERMAN:     Form.

      15       Q.    If you could, look at page number 7,

      16    Paragraph 6, it says:     "Do you claim that you

      17    suffered bodily injuries as a result of the

      18    implantation of any Boston Scientific Corp., pelvic

      19    mesh products?"

     20              Do you see where I am?

     21        A.    Yes.

     22        Q.    And you've checked yes?

     23        A.    Yes, I did.

     24        Q.    And Paragraph (a) asks you to describe those

     25     injuries.   Do you see where I am?

    Golkow Litigation Services                                           Page 142
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 144 of 291 PageID
                               Raeann
                                   18938M. Bayless

       1       A.    Yes, I do.

       2       Q.    Now, we -- when I made my list before, I

       3    listed 17 items that you claim are injuries in this

       4    lawsuit, but this paragraph only lists perforation

       5    of mesh, bleeding around perforation, infections,

       6    nausea off and on, constipation and stomach pains

       7    after eating.      Do you see that?

       8       A.    Uh-huh.

       9             MR. SILVERMAN:     Object to form.

      10       Q.    Do you see that?

      11       A.    I do.

      12       Q.    Why weren't any of the other things you've

      13    mentioned today included in this list?

      14       A.    Because I --

      15             MR. SILVERMAN:     Form.

      16       A.       I was not working at that time.     I didn't

      17    have had a job at that time and I've noticed some

      18    more since I've started working.

      19       Q.    You noticed some more symptoms since you've

     20     started working?

     21              MR. SILVERMAN:     Form.

     22        A.    I noticed whatever I added after these, that

     23     you don't        that's not on here, and some of them I

     24     noticed more after I've started working at

     25     McDonald's or doing --


    Golkow Litigation Services                                           Page 143
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 145 of 291 PageID
                               Raeann
                                   18939M. Bayless

       1       Q.    And you started working at -- excuse me.

       2    You started working at McDonald's

       3             MR. SILVERMAN:   Hold on a second.    Don't cut

       4       her off.   She's in the middle of talking.     She is

       5       still giving an answer.

       6             Are you finished with your answer?

       7       A.    Or when I was cleaning, doing the cleaning

       8    also.

       9       Q.    When were you doing the cleaning?

      10       A.    Before I had this job, before I came to

      11    Douglas, but when I was not working, these still

      12    whether I was working or not, these were the major

      13    symptoms that I've always had since I've had the

      14    implants.

      15       Q.    So you mentioned -- we talked about

      16    incontinence a few minutes ago.     So you're telling

      17    me that you didn't start experiencing incontinence

      18    until you started working at McDonald's in 2018?

      19             MR. SILVERMAN:   One second.   Object to form;

     20        misstates testimony.

     21              Counsel, pursuant to the role of

     22        completeness, you can read the entire paragraph

     23        in.   It explicitly says that she has a right to

     24        amend her response if she recalls anything

     25        differently, and she doesn't intend to limit her

    Golkow Litigation Services                                           Page 144
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 146 of 291 PageID
                               Raeann
                                   18940M. Bayless

       1       response at this time, so it's simply -- that's

       2       why we're here today and she's giving you full

       3       testimony to whatever -- anything you've asked

       4       her.

       5               MS. ERIXSON:     I understand your objection

       6       and it's noted.        We've asked for a complete copy

       7       of this and it's not been amended further to

       8       this, so I'm just trying to create a timeline as

       9       to when these additional injuries were first

      10       made.

      11               MR. SILVERMAN:     And I think she testified as

      12       to everything you've asked her.

      13               MS. ERIXSON:     I agree, and I'm just going to

      14       create a timeline now, if you will let me.

      15               MR. SILVERMAN:     Do what you'd like.     It's

      16       your depo.

      17    BY MS. ERIXSON:

      18       Q.      Ma'am, you testified that you experience

      19    incontinence, correct, since your surgery in 2013

     20     just a few moments ago?        Do you remember that

     21     discussion?

     22        A.      Uh-huh.   I did.

     23        Q.      And that's not listed on this list in

     24     Paragraph 6, correct?

     25                MR. SILVERMAN:     Object to form.


    Golkow Litigation Services                                           Page 145
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 147 of 291 PageID
                               Raeann
                                   18941M. Bayless

       1       A.    No, it's not.

       2       Q.    And so is incontinence something that you

       3    have only experienced since you started working at

       4    McDonald's?

       5             MR. SILVERMAN:   Object to form; misstates

       6       testimony.

       7       A.    I've noticed it more because I'm more

       8    physically active at a regular job.     I'm not -- you

       9    know, I don't have that -- I have less downtime now,

      10    so some other things have become more prevalent to

      11    me, more -- more clarified, or however you want to

      12    say it, more apparent.    Since I have started

      13    working, I've noticed, you know, things are more

      14    things are more obvious to me.

      15       Q.    And did you --

      16       A.    But I've had some of them the whole time.

      17    I've had most of this the whole time.

      18       Q.    If you've had them for the whole time, why

      19    didn't you include them here in your answer?

     20              MR. SILVERMAN:   Object to the form; asked

     21        and answered.

     22        A.    Because I can't -- I have my -- you know, I

     23     can't remember every little small detail.     These are

     24     the ones that I experience that are most -- most

     25     that I experience most of the time and most


    Golkow Litigation Services                                           Page 146
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 148 of 291 PageID
                               Raeann
                                   18942M. Bayless

       1    frequently, so that's what I put.

       2       Q.    What symptoms, of the ones that you listed

       3    when we first made our list, what have you started

       4    to experience for the first time since you started

       5    working at McDonald's?

       6             MR. SILVERMAN:    Object to form; misstates

       7       testimony again.

       8       A.    None of them, no more new that I can

       9    remember, just more -- more obvious and more

      10    painful, just more frequently, pains more prevalent

      11    almost every day.     It's worse.   Like before I had

      12    down -- some downtime, I didn't -- I didn't have

      13    physical -- that much physical activity, but I still

      14    had symptoms and pain and tugging and pulling and

      15    pressure and nausea, but since I started working,

      16    some of it has -- like I can't -- it -- the

      17    physical -- more physical movement has caused it to

      18    be worse and limited.     I can't do it for very long.

      19       Q.    One of the items that you listed when we

     20     made our list was pain during intercourse.      Do you

     21     remember that?

     22        A.    Uh-huh.

     23        Q.    Can you describe the pain during intercourse

     24     that you experience?

     25        A.    I just know it's painful.     I don't know what


    Golkow Litigation Services                                           Page 147
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 149 of 291 PageID
                               Raeann
                                   18943M. Bayless

       1    you mean.    It's more painful afterwards than it is

       2    during, and it feels sore, like not from, you know,

       3    just regular intercourse.     It's sore like -- kind of

       4    like after I had the surgery, like -- or after you

       5    have a baby.

       6       Q.     What kind of pain do you experience?

       7              MR. SILVERMAN:   Form.

       8       A.     I don't -- I don't know how to describe it.

       9       Q.     Is it an aching pain?

      10       A.     Yeah, a constant aching, and then when I

      11    have the tugging and stuff, sometimes it's a

      12    stabbing pain, but --

      13       Q.     I'm just limiting this to the pain that you

      14    experience during or after intercourse.

      15       A.     Okay.   That is more like an aching, constant

      16    ache.

      17       Q.     Do you experience that ache during the act

      18    of intercourse?

      19       A.     Not most of the time, no.    It's afterwards,

     20     and I didn't have that before.

     21        Q.     Where do you experience that pain?

     22        A.     I don't know exactly.    It seems to be not

     23     just where the perforation is, but, like, the whole

     24     inside.

     25        Q.     When did you first experience that aching


    Golkow Litigation Services                                           Page 148
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 150 of 291 PageID
                               Raeann
                                   18944M. Bayless

       1    pain?

       2       A.    I couldn't tell you that.      I don't know.   It

       3    was after the healing process and when I knew I

       4    could first have sex and it's been the same ever

       5    since.

       6       Q.    Do you experience the aching after

       7    intercourse every time you have intercourse?

       8       A.    Uh-huh.

       9       Q.    Is that a yes?

      10       A.    Yes.   I'm sorry.     Yes.

      11       Q.    How often do you have sexual intercourse?

      12       A.    I haven't had any for a very long time.

      13       Q.    When was the last time you had sexual

      14    intercourse?

      15       A.    Sometime in March, the beginning of March,

      16    end of February, something like that.

      17       Q.    Of 2018?

      18       A.    Yes.

      19       Q.    Why was that the last time?

     20        A.    Because I left the area and I don't know

     21     anybody here and I'm not really looking to do that.

     22        Q.    Has the aching sensation that you described

     23     prevented you from having intercourse?

     24              MR. SILVERMAN:      Object to form.

     25        A.    It's caused me to avoid it, yes, a few


    Golkow Litigation Services                                           Page 149
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 151 of 291 PageID
                               Raeann
                                   18945M. Bayless

       1    times.

       2       Q.    Why is that?

       3       A.    Because of the anticipation of having the

       4    pain, painful vagina afterwards, and stomach, the

       5    abdomen area.

       6       Q.    Do you intend to continue having sexual

       7    intercourse?

       8             MR. SILVERMAN:   Object to form.

       9       A.    I want to in the future, but it's not --

      10    it's not a priority right now.

      11       Q.    Have you told any medical professional that

      12    you're having this aching sensation after

      13    intercourse?

      14       A.    I -- whatever -- I've told them all the

      15    symptoms at Brevard Health Alliance, about the

      16    problems that I've experienced since the surgery.

      17       Q.    And does that include the aching sensation

      18    after intercourse?

      19       A.    Yes, painful -- well, I just said painful

     20     intercourse.    I didn't go into detail, pain after

     21     intercourse mostly.

     22        Q.    Do you experience -- do you ever experience

     23     pain during the act of sexual intercourse?

     24        A.    Just from that perforation site.

     25        Q.    What kind of


    Golkow Litigation Services                                           Page 150
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 152 of 291 PageID
                               Raeann
                                   18946M. Bayless

       1       A.      If they hit it the wrong way.       I have that

       2    sensation of the urgency and the tickling and the

       3    burning from the bladder, and I've asked was it the

       4    bladder, did I have a urinary tract infection?          It

       5    wasn't the urinary tract, so I assume it's from the

       6    implant.

       7       Q.      When you say you experience the burning and

       8    tickling sensation, is that during intercourse?

       9       A.      Yes, or after, immediately afterwards, and I

      10    haven't had intercourse but I still have those

      11    symptoms, and I don't have a urinary tract

      12    infection, and it's not something I'm drinking,

      13    because I eliminate all of that.

      14       Q.      Do you leak urine -- since 2013 have you

      15    leaked urine during intercourse?

      16               MR. SILVERMAN:    Object to form.

      17       Q.      You can answer.

      18       A.      Sometimes.

      19       Q.      How frequently has that happened?

     20        A.      It's not as frequently as before, but I have

     21     different symptoms than the incontinence.

     22        Q.      And I'm just -- I'm just talking about the

     23     leaking urine.

     24        A.      Sometimes.

     25        Q.      How many times has it happened?


    Golkow Litigation Services                                           Page 151
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 153 of 291 PageID
                               Raeann
                                   18947M. Bayless

       1       A.    I don't know.     It's been five years.   I

       2    don't know.

       3       Q.    More than five?

       4             MR. SILVERMAN:     Form.

       5       A.    Yes.

       6       Q.    More than 10?

       7             MR. SILVERMAN:     Object to form.

       8       A.    I don't know.     Yeah, I believe so.

       9       Q.    Does it happen every time you have

      10    intercourse?

      11             MR. SILVERMAN:     Object to form.

      12       A.    No.

      13       Q.    Other than the pain that you've described

      14    after intercourse and during intercourse, and the

      15    abdominal cramping that you described and the

      16    tugging sensation that you described, and the

      17    burning sensation that you described when you

      18    urinate, are you experiencing any other symptoms of

      19    pain?

     20              MR. SILVERMAN:     Form.

     21        A.    It is a constant dull pain all the time, but

     22     depending on what I'm doing or how often I bend over

     23     or how long I -- if I sit for long periods of time,

     24     the pain could get worse and the cramping gets

     25     worse.   It depends on what I'm doing.


    Golkow Litigation Services                                           Page 152
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 154 of 291 PageID
                               Raeann
                                   18948M. Bayless

       1       Q.      And just talking about -- not the cramping,

       2    not the burning, not the pain during intercourse,

       3    what is this other constant dull pain that you

       4    experience?

       5       A.      I don't know what it is.

       6       Q.      Where is it?

       7               MR. SILVERMAN:   Form.

       8       A.      Around the perforation site and somewhere in

       9    there.     I don't know.    I don't have a uterus or a

      10    cervix, so it's not that.       It's not up in my

      11    ovaries, because I don't -- except for the pulling

      12    and stuff near my ovary, I don't have anywhere I

      13    could be having pain from.

      14       Q.      Do you experience that pain every day?

      15       A.      A slight pain is always constantly there, a

      16    slight ache is always there.

      17       Q.      Are you experiencing it now?

      18       A.      Yeah.   It's not intolerable but it has days

      19    where I can't sit up, I've got to lay down and rest

     20     and stuff.

     21        Q.      Are there any activities that you did prior

     22     to your surgery in 2013 that you feel you can't do

     23     anymore?

     24                MR. SILVERMAN:   Object to form; asked and

     25        answered.


    Golkow Litigation Services                                           Page 153
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 155 of 291 PageID
                               Raeann
                                   18949M. Bayless

       1             THE WITNESS:     Pardon me?

       2             MR. SILVERMAN:     You can answer.

       3             THE WITNESS:     Oh.

       4    BY MS. ERIXSON:

       5       Q.    You can answer.

       6       A.    My physical activity is severely limited.           I

       7    can't stoop, bend, turn my body, definitely can't

       8    lift anything without experiencing problems for

       9    several days afterwards, or pain, and pulling and

      10    pressure, and so I avoid that.         I can have -- I'm

      11    very limited on what I can do physically, and that's

      12    including even sitting in a certain position, in

      13    certain positions.

      14       Q.    Do you exercise?

      15       A.    No, other than walking, and I can't do that

      16    for -- you know, that's limited.         I used to be able

      17    to walk a couple miles or, you know, wherever I

      18    wanted to go.

      19       Q.    How far can you walk now?

     20        A.    I don't push it, so I don't know.        I can

     21     walk maybe short distances, like from here to the

     22     parking lot next door, that's          but I'm still

     23     going to -- I'm going to have some kind of

     24     discomfort, the pulling, the pressure, the tugging.

     25     I always have a little slight pain, but sometimes I


    Golkow Litigation Services                                               Page 154
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 156 of 291 PageID
                               Raeann
                                   18950M. Bayless

       1    get -- like there is an incline right there, a

       2    slight incline.    Depending on, you know, what's

       3    going on, that's going to cause -- that will cause

       4    slight problems around my abdominal area.

       5       Q.    When you say slight problems, are you

       6    referring to the abdominal cramping?

       7       A.    And pain and stuff, yes.

       8       Q.    Ms. Bayless, is there anyone else, other

       9    than your attorney, that's financially interested in

      10    the outcome of this litigation?

      11             MR. SILVERMAN:    Object to the form.

      12       A.    No.

      13       Q.    You mentioned that you -- one of the

      14    injuries you're claiming in this lawsuit is a fear

      15    of developing cancer.     Do you remember telling me

      16    that?

      17       A.    Yes.

      18       Q.    Why do you have that fear?

      19       A.    Partly because the implants and its

     20     problems, and partly because of the infection.      I

     21     don't want -- you know, I'm scared that might turn

     22     into cancer or that it will go septic, so

     23        Q.    Has any medical provider told you that you

     24     are at risk of developing cancer in relation to your

     25     surgery of 2013?


    Golkow Litigation Services                                           Page 155
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 157 of 291 PageID
                               Raeann
                                   18951M. Bayless

       1       A.    No.

       2       Q.    Why is it that you hold that fear?

       3             MR. SILVERMAN:    Form.

       4       A.    Because of constant infection going septic,

       5    because of foreign -- foreign equipment or devices

       6    that are in there that don't -- aren't part of your

       7    body, just the implants.     One concern was the robot,

       8    when they put it in robotically.

       9       Q.    What was your concern about the robotic

      10    implantation?

      11       A.    That that -- that's -- you know.     I don't

      12    know.   It's an electronic device and being exposed

      13    to it could cause, you know -- I don't know if it's

      14    radiation or what it could do.

      15       Q.    Are you concerned about the development of

      16    cancer when you are exposed to any electronics?

      17             MR. SILVERMAN:    Object to form.

      18       A.    Not any, no.

      19       Q.    What electronics cause you that fear?

     20        A.    Well, the robotics are

     21              MR. SILVERMAN:    Form.

     22        A.    -- electronic and a foreign object in my

     23     body, and the pain and stuff that I'm experiencing

     24     now, I'm just thinking that, you know -- it's in the

     25     back of my mind, that I could develop cancer.


    Golkow Litigation Services                                           Page 156
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 158 of 291 PageID
                               Raeann
                                   18952M. Bayless

       1       Q.      Has anyone -- excluding medical

       2    professionals, has anyone told you that you are at

       3    risk for developing cancer in relation to the

       4    procedure that was performed on August 9, 2013?

       5       A.      No.     No.

       6               MR. SILVERMAN:     Object to form.       How much

       7       time do we have left?

       8       Q.      Is there any - -

       9               MR. SILVERMAN:     One second.

      10               THE COURT REPORTER:        One minute.

      11    BY MS. ERIXSON:

      12       Q.      Is there anything that you are claiming as

      13    an injury in this lawsuit that we have not talked

      14    about today?

      15               MR. SILVERMAN:     Form.

      16       A.      Form.

      17               MS. ERIXSON:     That's all the questions I

      18       have.

      19               MR. SILVERMAN:     Thank you.

     20                THE VIDEOGRAPHER:     Off the record?

     21                MR. SILVERMAN:     Do you want to start or do

     22        you want to take a break?

     23                MS. HOWARD:    I think it would make sense if

     24        we took a break.

     25                MR. SILVERMAN:     Okay.


    Golkow Litigation Services                                             Page 157
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 159 of 291 PageID
                               Raeann
                                   18953M. Bayless

       1              THE VIDEOGRAPHER:     Off the record at 1:44.

       2            (Recess from 1:44 p.m. until is 2:15 p.m.)

       3              THE VIDEOGRAPHER:    We are back on the record

       4       at 2:15.

       5                           CROSS-EXAMINATION

       6    BY MS. HOWARD:

       7       Q.     Good afternoon, Ms. Bayless.     Are you ready

       8    to continue your deposition?

       9       A.     I am.

      10       Q.     I introduced myself before we got started

      11    this morning but my name is Heather Howard and I

      12    represent Coloplast, which is the other defendant in

      13    your lawsuit.     You and I have never met before

      14    today, correct?

      15       A.     No, we haven't.

      16       Q.     And likewise, you've never met my colleague,

      17    Ms. Harris, who is here with me today?

      18       A.     No, I haven't.

      19       Q.     And you understand that you are still under

     20     oath today?

     21        A.     Yes, I do.

     22        Q.     Now, by virtue of going second, I'm going to

     23     be jumping around some today, so I ask you to just

     24     bear with me.

     25        A.     No problem.


    Golkow Litigation Services                                           Page 158
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 160 of 291 PageID
                               Raeann
                                   18954M. Bayless

       1       Q.    Did you get an opportunity to eat lunch?

       2       A.    I didn't want to.

       3       Q.    Okay.   Well, did you have an opportunity to

       4    use the facilities or do whatever you needed to

       5    during our break?

       6       A.    Yes, I did.

       7       Q.    Did you speak with your attorney during the

       8    break?

       9             MR. SILVERMAN:    Form.

      10       A.    Briefly.

      11       Q.    Did you speak with your attorney about your

      12    case during the break?

      13             MR. SILVERMAN:    I'm going to instruct you

      14       not to answer.

      15             MS. HOWARD:    I'm not ask -- it is not a

      16       substantive --

      17             MR. SILVERMAN:   Again, I am going to

      18       instruct you not to answer about any

      19       communication she had with her lawyer at any

     20        period of time.     That is attorney-client

     21        privilege.    That is something that you are not

     22        even supposed to be asking about, and like she

     23        said before -- like she asked before, and I

     24        mentioned my objection, I'm saying the same thing

     25        to you.   That's not something you should be


    Golkow Litigation Services                                           Page 159
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 161 of 291 PageID
                               Raeann
                                   18955M. Bayless

       1       asking about.      That is strictly attorney-client

       2       privilege.      I'm going to instruct her not to

       3       answer.      You can move on.    Please don't ask that

       4       again.

       5             MS. HOWARD:     Are you instructing her not to

       6       answer a yes-or-no question?

       7             MR. SILVERMAN:     That is -- you are asking

       8       her what did you talk about with your lawyers.

       9             MS. HOWARD:     I am asking her --

      10             MR. SILVERMAN:     That's something that is so

      11       attorney-client privilege, you should not be

      12       asking that question.

      13             MS. HOWARD:     Whether, not what.

      14             MR. SILVERMAN:     Okay.    I'm going to instruct

      15       you not to answer the question.

      16    BY MS. HOWARD:

      17       Q.    Will you follow your attorney's

      18    instructions?

      19       A.    Yes.

     20        Q.    Ms. Bayless, what's your position at

     21     McDonald's?

     22        A.    A crew member.

     23        Q.    And so what tasks do you do in that role?

     24        A.    It varies.     Fry line, cook, sometimes lobby

     25     person, cashier, I give out food at the window, but


    Golkow Litigation Services                                           Page 160
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 162 of 291 PageID
                               Raeann
                                   18956M. Bayless

       1    it's mainly the fry person.

       2       Q.    And are you limited at all in what you are

       3    able to do in your work at McDonald's?

       4             MR. SILVERMAN:    Form.

       5       A.    In what way?

       6             MR. SILVERMAN:    Form.

       7       Q.    Well, is there, for example, any task

       8    they've ever asked you to do that you couldn't do

       9    for any -- because of any physical injuries or

      10             MR. SILVERMAN:    Form.

      11       A.    I cannot lift -- I work at the fry station

      12    mostly and they have cases of fries and I cannot

      13    lift those.     They are very heavy.

      14       Q.    And is it that you can't lift them or you

      15    choose -- you don't think it's a good idea for you

      16    to lift them?

      17             MR. SILVERMAN:    Form.

      18       A.    I -- I did in the beginning and I started

      19    experiencing the abdominal pain and pulling and

     20     pressure and tugging, so I choose not to now.      I get

     21     someone else to do it.

     22        Q.    Has any doctor imposed any weight limit

     23     lifting restriction on you long-term?

     24        A.    They just said not to lift heavy, but they

     25     didn't give me a poundage to avoid.


    Golkow Litigation Services                                           Page 161
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 163 of 291 PageID
                               Raeann
                                   18957M. Bayless

       1       Q.    Do you mean shortly after the surgery, or

       2    long-term?

       3             MR. SILVERMAN:     Form.

       4       A.    Long, long-term.

       5       Q.    And what doctor imposed that restriction on

       6    you?

       7       A.    I don't -- I think it was my primary care

       8    person and initially it was Kathy Jones.

       9       Q.    Who is your primary care person?

      10       A.    I don't know her name.

      11       Q.    Where does she practice?

      12       A.    It's changed -- at Brevard Health Alliance,

      13    because I see different ones when I go there

      14    sometimes.      It depends on who is available.

      15       Q.    Have you ever used any other names?

      16       A.    No.

      17       Q.    Do you know a person named Tracy Logan?

      18       A.    Yes.

      19       Q.    Who is Tracy Logan?

     20        A.    She's my cousin.

     21        Q.    I'm going to hand you what we'll mark as

     22     Exhibit 5 to your deposition, which is my client's

     23     cross-notice of your deposition.

     24              (Bayless Exhibit 5 was marked for

     25     identification.)


    Golkow Litigation Services                                           Page 162
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 164 of 291 PageID
                               Raeann
                                   18958M. Bayless

       1              MR. SILVERMAN:   Thank you.

       2    BY MS. HOWARD:

       3       Q.     Have you seen this document before?

       4       A.     It does not look familiar but I can't say

       5    that I haven't seen it.

       6       Q.     Well, I'll represent to you that it

       7    incorporates the notice that Boston Scientific's

       8    counsel marked, but then it also has an additional

       9    request for documents at the very end, and so if you

      10    could just look to the very last page of this

      11    notice.

      12              MR. SILVERMAN:   I'll just state the same

      13       objection for the record as I mentioned before.

      14       All these requests mirror the plaintiff's fact

      15       sheet, they've all been provided prior to the

      16       deposition to you, and any document that she has

      17       pursuant to these requests have already been

      18       provided to us and to you.

      19              So you can answer the question if --

     20        whatever question she asks regarding it.

     21     BY MS. HOWARD:

     22        Q.     Are you on that last page of the document

     23     that says Exhibit B?

     24        A.     Yes, I am.

     25        Q.     And have you seen this before today?

    Golkow Litigation Services                                           Page 163
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 165 of 291 PageID
                               Raeann
                                   18959M. Bayless

       1       A.      It doesn't look familiar but that doesn't

       2    mean I haven't seen it.       There were several

       3    several papers that I've been sent from the lawyer

       4    and sent back.

       5       Q.      Just looking through this, just to be clear,

       6    do you have any articles, websites, blogs, films or

       7    any other documents or recordings that contain any

       8    statements or allegations about my company's pelvic

       9    mesh devices?

      10       A.      No.

      11       Q.      Or any photographs related to them?

      12               MR. SILVERMAN:    Form.

      13       A.      Definitely not.

      14       Q.      And you have given your attorney all of your

      15    medical records, correct?

      16       A.      I have.

      17       Q.      You can set that aside.

      18               MR. SILVERMAN:    You can put that to the

      19       side.

     20                Are you continuing from where she left off,

     21        or are you marking your own exhibits?

     22                MS. HOWARD:   I was continuing, so that was

     23        Exhibit 5.

     24                MR. SILVERMAN:    Okay.

     25                (Bayless Exhibit 6 was marked for


    Golkow Litigation Services                                           Page 164
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 166 of 291 PageID
                               Raeann
                                   18960M. Bayless

       1    identification.)

       2    BY MS. HOWARD:

       3       Q.     And, Ms. Bayless, I'm going to hand you what

       4    we'll mark as Exhibit 6 to your deposition, which is

       5    a copy of the plaintiff fact sheet that you

       6    completed for my client.

       7              Have you seen this document before?

       8       A.     It looks familiar.

       9       Q.     Independent of looking at a similar document

      10    from Ms. Erixson, do you remember completing

      11    different forms on behalf of the two defendants?

      12              MR. SILVERMAN:   Form.

      13       A.     Yes.

      14       Q.     If you would, please turn to the last page

      15    of this document.    It says "Verification" at the

      16    top.    Are you there?

      17       A.     Yes.

      18       Q.     And you will recall that Ms. Erixson had you

      19    walk through       look at a similar verification from

     20     her clients.

     21        A.     Yes.

     22        Q.     So you understood that when you signed this

     23     verification, that you were under oath indicating

     24     that everything in your fact sheet was true and

     25     complete?

    Golkow Litigation Services                                           Page 165
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 167 of 291 PageID
                               Raeann
                                   18961M. Bayless

       1       A.    That's correct.

       2             MR. SILVERMAN:    Form.

       3       A.    Yes.

       4       Q.    Did anyone else complete or assist you with

       5    completing this form?

       6             MR. SILVERMAN:    Form.

       7       A.    They did not.

       8       Q.    Did you review this fact sheet in

       9    preparation for your deposition?

      10       A.    Not recently.

      11       Q.    When did you review it?

      12       A.    Probably at the time I filled it out and

      13    signed it.

      14       Q.    Were you aware that we had requested -- we

      15    had sent a follow-up letter with questions based on

      16    it and had asked you to provide additional responses

      17    and additional information?

      18             MR. SILVERMAN:    Form.

      19       A.    I remember something to that effect, that it

     20     was too vague or something, that I needed more --

     21     you needed more detail.

     22        Q.    And is there a reason why you or your

     23     counsel haven't provided us with an updated version?

     24              MR. SILVERMAN:    I'm going to object.   I'm

     25        going to object and instruct you not to answer


    Golkow Litigation Services                                           Page 166
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 168 of 291 PageID
                               Raeann
                                   18962M. Bayless

       1       the question pursuant to the attorney-client

       2       privilege.

       3       A.    I'm going to agree with him.

       4       Q.    Is it your understanding that you have not

       5    provided us with an updated version responding to

       6    our questions?

       7             MR. SILVERMAN:   Same objection; asked and

       8       answered.     I'm going to instruct you not to

       9       answer pursuant to attorney-client privilege.

      10       Q.    You're going to follow his instruction?

      11       A.    Yes.

      12       Q.    I'm going to follow up on a number of

      13    different topics --

      14             MR. SILVERMAN:   Are you done with this now,

      15       put it to the side?

      16             MS. HOWARD:   She can put that to the side.

      17             MR. SILVERMAN:   Okay.

      18       Q.    -- that Ms. Erixson had inquired about.      We

      19    talked about your four children.    And what was each

     20     of your children's birth weights, approximately, if

     21     you know?

     22              MR. SILVERMAN:   Form.

     23        A.    Both boys were six pounds, a little over six

     24     pounds, and the girls were seven something, but I

     25     don't remember which one -- you know, which one was


    Golkow Litigation Services                                           Page 167
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 169 of 291 PageID
                               Raeann
                                   18963M. Bayless

       1    7-6 and which one was 7-9.

       2       Q.    But they were all six pounds and some ounces

       3    or seven pounds and some ounces?

       4       A.    Exactly.

       5       Q.    Did you make it to full-term on each of your

       6    pregnancies?

       7             MR. SILVERMAN:     Form.

       8       A.    I believe both boys were maybe       they

       9    didn't go all the way to full-term but it was just

      10    in a matter of a week or two.

      11       Q.    And what about the girls?

      12       A.    They were full-term.

      13       Q.    Were any of your four deliveries a difficult

      14    delivery?

      15             MR. SILVERMAN:     Object to the form; vague.

      16       A.    All of them.     No, not -- there were no

      17    complications or anything.

      18       Q.    Do you know if your doctor used forceps for

      19    any of your deliveries?

     20        A.    No, they did not.

     21        Q.    To your knowledge did you have any tearing

     22     with any of your deliveries?

     23        A.    With the second child.

     24              MR. SILVERMAN:     Form.

     25        Q.    What do you recall about that?


    Golkow Litigation Services                                           Page 168
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 170 of 291 PageID
                               Raeann
                                   18964M. Bayless

       1       A.     That he came pretty much faster than the

       2    doctor had anticipated and he wasn't present until

       3    right -- you know, he was presenting while I was in

       4    labor, checking back and forth, but when it came

       5    right down to actually delivering, the baby was

       6    coming and he wasn't present but he came right

       7    right before, like maybe seconds before my son was

       8    born, so he almost missed it, basically.

       9       Q.     Do you know if your doctor referred to that

      10    as a precipitous delivery?

      11       A.     A what?

      12              MR. SILVERMAN:     Form.

      13       Q.     Precipitous.     Have you ever heard that word?

      14       A.     I've never heard that word.

      15       Q.     And so basically what happened was that you

      16    had been kind of going through the stages of labor

      17    more slowly, your doctor was checking up on you, and

      18    then all of the sudden he was coming, your son was

      19    coming?

     20        A.     He came quicker than he anticipated, yes, a

     21     lot quicker.

     22        Q.     Did your doctor need to do an episiotomy for

     23     any of your deliveries?

     24               MR. SILVERMAN:     Form.

     25        A.     Yes, my first child.       He probably needed to

    Golkow Litigation Services                                           Page 169
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 171 of 291 PageID
                               Raeann
                                   18965M. Bayless

       1    for the second child but he figured that his birth

       2    weight, you know, I could compensate with it, I

       3    didn't need one, or that he came quicker than I

       4    needed -- than he could give it to me, so that's

       5    where a lot of the -- like the cystocele and the

       6    bladder falling down, that's where the problems

       7    first occurred.

       8       Q.    After the -- after your second child?

       9       A.    Yes.

      10             MR. SILVERMAN:    Object to form.

      11       Q.    And what doctor or doctors told you that?

      12       A.    Dr. Bhalani was the doctor.

      13             MR. SILVERMAN:    Form.

      14       A.    My delivery      my OB-GYN at the time.

      15       Q.    And so what did Dr. Bhalani tell you after

      16    delivering your second child in terms of those

      17    potent -- those consequences?

      18       A.    That I should have tried to prolong the

      19    pushing or, you know, the delivery, and that was

     20     about it.   He -- he didn't comment.

     21        Q.    My question is a little bit different.    What

     22     did he tell you in terms of the longer-term effects

     23     that you were going to have

     24        A.    He never did.

     25        Q.       as a result of that?


    Golkow Litigation Services                                           Page 170
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 172 of 291 PageID
                               Raeann
                                   18966M. Bayless

       1             MR. SILVERMAN:     Form.

       2       Q.    So I'm -- how did you determine that the

       3    cystocele and other prolapse or falling issues --

       4       A.    I could see my bladder --

       5             MR. SILVERMAN:    Let her finish the question.

       6             THE WITNESS:     I'm sorry.

       7       Q.    How did you determine that that was when

       8    they started?

       9             MR. SILVERMAN:    Object to form.

      10       A.    By physically examining myself, and also, I

      11    could see the bladder at the opening of the vagina

      12    and that wasn't like that before.

      13       Q.    And that started after your second child?

      14             MR. SILVERMAN:    Object to form.

      15       A.    That started after the delivery, after I had

      16    him, yes.

      17       Q.    And in terms of Dr. Bhalani, that was the

      18    doctor in Titusville; is that right?

      19       A.    That's correct.

     20        Q.    Was it a man?

     21        A.    It was.

     22        Q.    Was he an OB-GYN?

     23        A.    He was the on-call doctor at the time,

     24     OB-GYN at the hospital, but I did my prenatal care

     25     at the county clinic.


    Golkow Litigation Services                                           Page 171
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 173 of 291 PageID
                               Raeann
                                   18967M. Bayless

       1       Q.      Which county?

       2       A.      Brevard County.

       3       Q.      And what hospital was it that you --

       4       A.      Jess Parrish Hospital.

       5       Q.      And I -- do you happen to know if it was

       6    Dr. Kantilal Bhalani?

       7       A.      Who?

       8       Q.      My pronunciation is not great.

       9       A.      I'm not -- I don't remember what his first

      10    name is.

      11       Q.      You can't recall, so it wouldn't matter what

      12    I told you, you wouldn't know if it was him, right?

      13       A.      Right.

      14       Q.      It's been too long?

      15       A.      There wasn't that many Bhalanis in

      16    Titusville that were OB-GYNs.       Excuse me.

      17       Q.      Do you need to get some water?

      18       A.      No.

      19       Q.      So did Dr. Bhalani deliver your other

     20     children as well?

     21        A.      He delivered the first one, my daughter.     I

     22     believe he was on call for the last two, but because

     23     of the -- because of maybe him not being there

     24     almost when the baby was delivered, I didn't want

     25     to -- I didn't want him to deliver the other two.


    Golkow Litigation Services                                           Page 172
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 174 of 291 PageID
                               Raeann
                                   18968M. Bayless

       1       Q.     So you elected to have someone else deliver

       2    your other children because he

       3       A.     They were midwives, I believe, that did it.

       4       Q.     Do you remember the names of those midwives?

       5       A.     No.

       6       Q.     Were they affiliated with a different

       7    OB-GYN?

       8              MR. SILVERMAN:    Form.

       9       A.     I don't -- I think they were just the ones

      10    on call at the hospital at the time.

      11       Q.     And did you deliver all four children at the

      12    same hospital?

      13       A.     I did.

      14       Q.     Ms. Erixson also spoke with you about your

      15    two miscarriages that you had.      How far along were

      16    you for the first miscarriage?

      17       A.     Early, very early on in the pregnancies,

      18    like within a month or two.

      19       Q.     So it was within the first trimester?

     20        A.     Right, exactly.

     21        Q.     And how had you known that you were pregnant

     22     then?

     23        A.     Because my periods were very regular, maybe

     24     varied, you know, a couple of days but they were

     25     usually right on time, 28 days apart, and I missed


    Golkow Litigation Services                                           Page 173
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 175 of 291 PageID
                               Raeann
                                   18969M. Bayless

       1    my menstrual cycles.

       2       Q.      And what about the second miscarriage, how

       3    far along were you in that one?

       4       A.      It was early on too.

       5       Q.      So still within the first trimester?

       6       A.      Yeah.

       7       Q.      And then Ms. Erixson also spoke with you

       8    that you terminated three pregnancies; is that

       9    correct?

      10       A.      That's correct.

      11               MR. SILVERMAN:    Form.

      12       Q.      I'll ask you for each of the terminations.

      13    For the first one, how far along were you in that

      14    pregnancy at the time that you terminated it?

      15               MR. SILVERMAN:    Object to form.

      16       A.      It was within the first trimester.     I think

      17    you have to be a certain -- you have to be over a

      18    certain but under a certain time, so it was probably

      19    after eight weeks but before 12, but I don't

     20     remember exactly.

     21        Q.      And I wasn't quite clear in terms of how

     22     your doctor went about terminating the pregnancy.

     23     Was a procedure performed?

     24        A.      Yes.    I went to an abortion clinic and I --

     25     I don't know the name of the procedure but it was,


    Golkow Litigation Services                                           Page 174
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 176 of 291 PageID
                               Raeann
                                   18970M. Bayless

       1    like -- I guess they vacuum them out or suck them

       2    out or something.

       3       Q.    And would the same be true for all three

       4    procedures?

       5       A.    Yes, all three.

       6       Q.    They were all done that same way?

       7       A.    Yes.

       8             MR. SILVERMAN:    Object to form.

       9       Q.    And so you weren't far enough along that you

      10    had to deliver, it was a --

      11       A.    No, never, no.

      12       Q.    -- it was a vacuum procedure?

      13             MR. SILVERMAN:    Form.

      14       Q.    And then so the second -- the second

      15    termination, how far along were you?

      16       A.    It was within the first trimester.     It was

      17    probably -- it was probably after nine weeks and

      18    before the 12 weeks.      It was a little further.

      19       Q.    I'm sorry.    Go ahead.

     20        A.    I said it was a little further than the

     21     other one.

     22        Q.    And then the third termination, what timing

     23     was that?

     24              MR. SILVERMAN:    Form.

     25        A.    First trimester, probably about 10 or 11


    Golkow Litigation Services                                           Page 175
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 177 of 291 PageID
                               Raeann
                                   18971M. Bayless

       1    weeks as well, between nine and 11, something like

       2    that.

       3       Q.      Ms. Erixson spoke with you about your

       4    smoking history.     Has any doctor ever recommended

       5    that you quit smoking?

       6       A.      Of course, all doctors try to recommend that

       7    you quit.

       8       Q.      And why is that?

       9       A.      Because it has long-term health effects, bad

      10    health effects.

      11       Q.      And what are some of those health effects

      12    that you're aware of?

      13               MR. SILVERMAN:     Object to form.

      14       A.      Heart problems, and lung cancer, cancer,

      15    throat cancer, which is in my family, so they --

      16    when they got the family history, they would suggest

      17    it, urge it.

      18       Q.      And over the course of the 30 or so years

      19    that you've been smoking, have your doctors

     20     consistently been telling you that you should quit

     21     smoking?

     22        A.      No.

     23                MR. SILVERMAN:     Object to form.

     24        A.      Because I -- it was pretty -- I was pretty

     25     healthy, for the most part.


    Golkow Litigation Services                                           Page 176
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 178 of 291 PageID
                               Raeann
                                   18972M. Bayless

       1               MR. SILVERMAN:   Are you able to get her?

       2               THE COURT REPORTER:      (Nodding head.)

       3    BY MS. HOWARD:

       4       Q.      So some of your doctors but not all of your

       5    doctors have told you that you should quit smoking;

       6    is that fair?

       7               MR. SILVERMAN:   Object to form; asked and

       8       answered.

       9       A.      They would make the suggestion.      They didn't

      10    say that I'm experiencing problems and that I need

      11    to quit.     They all just have that notion to tell you

      12    because smoking is bad for you.

      13       Q.      Do you have any information about smoking

      14    impairing healing?

      15               MR. SILVERMAN:   Object to form.

      16       A.      Dr. Jones said that I should not do it after

      17    the surgery because it does impair the healing

      18    process, or it takes longer for you to heal.

      19       Q.      And so she told you that before your

     20     surgery?

     21        A.      She did.

     22                MR. SILVERMAN:   Object to form.

     23        Q.      And you continued to smoke, though, right?

     24                MR. SILVERMAN:   Form.

     25        A.      No, I followed the       I followed her


    Golkow Litigation Services                                            Page 177
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 179 of 291 PageID
                               Raeann
                                   18973M. Bayless

       1    instructions.

       2       Q.    For how long did you quit smoking?

       3       A.    Between two and -- two and three months.

       4       Q.    So it's your testimony that for two to three

       5    months after the surgery you quit smoking?

       6       A.    Uh-huh.

       7             MR. SILVERMAN:   Form; asked and answered.

       8       Q.    Is that a yes?

       9       A.    Yes.

      10       Q.    And then you resumed smoking?

      11             MR. SILVERMAN:   Form.

      12       A.    Almost immediately, yes.

      13       Q.    And Would you defer to whatever your medical

      14    records say in terms of your smoking history that

      15    you report whenever you go to your doctor?

      16             MR. SILVERMAN:   One second.    Object to form;

      17       vague, calls for speculation, overly broad.      If

      18       you know the answer to that, you could, but I

      19       don't know what medical record she's referring

     20        to.

     21        A.    I don't know that answer.

     22              MR. SILVERMAN:   If you would like to show

     23        her medical records, feel free to.

     24        Q.    Just as a matter of course, if a doctor asks

     25     if you've been smoking, you would give them -- you


    Golkow Litigation Services                                           Page 178
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 180 of 291 PageID
                               Raeann
                                   18974M. Bayless

       1    would give them an honest answer as to whether or

       2    not you were smoking?

       3       A.      I would.

       4               MR. SILVERMAN:   Object to form.

       5       Q.      When Ms. Erixson asked you about marijuana

       6    use, you said "it didn't agree with me."      What did

       7    you mean by that?

       8               MR. SILVERMAN:   Object to form; asked and

       9       answered.

      10       A.      I mean that I already had a healthy appetite

      11    and that I have a low metabolism.      I did -- I wasn't

      12    really -- I was physically active, I could pretty

      13    much do what I wanted, but my metabolism did not

      14    give me the -- I didn't        I wasn't very motivated

      15    to do physical        like, athlete -- athletics or, you

      16    know, go that far with it, so -- and when I smoke

      17    marijuana, it made those symptoms even worse.      I was

      18    just, like, lazy.

      19       Q.      And Ms. Erixson also asked you some

     20     questions about your crack cocaine use.

     21        A.      Yes.

     22        Q.      Did -- had any doctors talked to you about

     23     any health risks associated with using crack

     24     cocaine?

     25                MR. SILVERMAN:   Object to form; asked and


    Golkow Litigation Services                                           Page 179
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 181 of 291 PageID
                               Raeann
                                   18975M. Bayless

       1       answered.     Counsel, this entire subject has been

       2       covered in depth for close to 15 to 20 minutes.

       3       I'd just direct all of her answers with regards

       4       to her cocaine use to that portion, but if you

       5       know the answer, you can answer the question.

       6       I'll allow her to answer.

       7             MS. HOWARD:   You can object to form.   That

       8       question has not been asked before.

       9       A.    Can you repeat the question?

      10       Q.    Sure.

      11             MS. HOWARD:    Can you just read it back for

      12       me please.

      13             THE COURT REPORTER:    "Had any doctors talked

      14       to you about any health risks associated with

      15       using crack cocaine?"

      16       A.    No.

      17       Q.    You don't recall any of your doctors telling

      18    you, for example, that crack cocaine could cause you

      19    to have a vasospasm, a heart attack, and die?

     20              MR. SILVERMAN:    Object to form; asked and

     21        answered.

     22        A.    I don't remember doctors telling me that but

     23     that seemed to be common knowledge among cocaine

     24     users.

     25        Q.    What was common knowledge among cocaine


    Golkow Litigation Services                                           Page 180
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 182 of 291 PageID
                               Raeann
                                   18976M. Bayless

       1    users?

       2       A.     That it could cause sudden heart attack or

       3    stroke.

       4              MR. SILVERMAN:    Form.

       5       Q.     How did you obtain that common knowledge?

       6              MR. SILVERMAN:    Object to form; misstates

       7       testimony, calls for speculation.      You can answer

       8       if you know.

       9       A.     Say that again.

      10       Q.     How did you -- you said that it was common

      11    knowledge, but how did you learn --

      12       A.     Just from talking among people, just talking

      13    among people that used.

      14       Q.     And you understood that, those risks at the

      15    time -- throughout the time you were using --

      16       A.     Not at first, no.

      17              MR. SILVERMAN:    Form.

      18       Q.     When did you obtain that knowledge?

      19       A.     I can't -- I don't recall that specifically.

     20     I don't know.

     21        Q.     And so you do not recall any doctor telling

     22     you to stop using cocaine post your surgery in 2013?

     23        A.     No.

     24               MR. SILVERMAN:    Object to form.

     25        Q.     If there is references in your medical


    Golkow Litigation Services                                           Page 181
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 183 of 291 PageID
                               Raeann
                                   18977M. Bayless

       1    records to doctors -- to your doctor telling you to

       2    stop using cocaine following your surgery, would you

       3    have any reason to doubt that the record said that

       4    or that your doctor said that?

       5               MR. SILVERMAN:   Object to form; calls for

       6       speculation, vague, overly broad.        Again, if you

       7       have any medical records, please show them to

       8       both I and the witness.      I don't know what

       9       which medical records you're referring to,

      10       Counsel.     You're talking sort of --

      11               MS. HOWARD:   Can you just object to form?

      12               MR. SILVERMAN:   I am going to object the way

      13       I feel is appropriate.      I stick to form

      14       sometimes, and I don't.      It really depends.

      15               MS. HOWARD:   I'm trying to move this along,

      16       Counselor, so I would ask that you object to

      17       form.

      18               MR. SILVERMAN:   It doesn't mean I -- I'm not

      19       going to withhold my objections, Counsel.         It's

     20        an objectionable question.

     21                You can answer it if you understand her

     22        question and know the answer to it.

     23     BY MS. HOWARD:

     24        Q.      Do you recall any of your doctors

     25     recommending that you stop using crack cocaine?

    Golkow Litigation Services                                           Page 182
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 184 of 291 PageID
                               Raeann
                                   18978M. Bayless

       1       A.     No.

       2              MR. SILVERMAN:   Form.

       3       Q.     And if there are records that reference you

       4    using crack cocaine and your doctor encouraging you

       5    to stop doing so, do you have any reason to dispute

       6    those records?

       7              MR. SILVERMAN:   Same objection; form.

       8       A.     No, but I don't remember seeing     I don't

       9    remember any of that in my records, not to say that

      10    it's not there, but I don't remember anything like

      11    that.

      12       Q.     Well, as you noted earlier on in your

      13    deposition, your memory is not the same about some

      14    things.    Is that not correct?

      15              MR. SILVERMAN:   Object to form.

      16       A.     Pertaining to medical records, but some

      17    things stick out and stay with me.

      18       Q.     Would you agree that your medical records

      19    are the best and most accurate source of your

     20     medical history?

     21               MR. SILVERMAN:   Object to form.

     22        A.     I do.

     23        Q.     And a better source than your memory?

     24               MR. SILVERMAN:   Object to form.

     25        A.     When it pertains to certain things, but not


    Golkow Litigation Services                                           Page 183
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 185 of 291 PageID
                               Raeann
                                   18979M. Bayless

       1    to what I'm        not what I'm here for.

       2             MR. SILVERMAN:        Do you need a drink?

       3             THE WITNESS:        No.   I have allergies, I have

       4       developed allergies since coming to Douglas.

       5             (Bayless Exhibit 7 was marked for

       6    identification.)

       7    BY MS. ERIXSON:

       8       Q.    Ms. Bayless, I'm going to go ahead and hand

       9    you what we'll mark as Exhibit 7 to your deposition,

      10    which is a medical record from Brevard Health

      11    Alliance.

      12       A.    Uh-huh.     Yeah.

      13       Q.    Do you have it in front of you?

      14       A.    I do.

      15       Q.    And this is a medical record from a visit in

      16    July of 2014 to a Corinne West.

      17       A.    Hm-mm.

      18       Q.    Is that a provider that you've seen?

      19       A.    I see it.

     20        Q.    If you would, please turn to the next to the

     21     last page of this document, where it lists out some

     22     problems, and do you see Problem Number 6?

     23        A.    I do.

     24        Q.    And I'll read that.        It states:   Cocaine

     25     abuse episodic, smokes crack daily, discussed with


    Golkow Litigation Services                                            Page 184
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 186 of 291 PageID
                               Raeann
                                   18980M. Bayless

       1    patient that she could smoke crack and have a

       2    vasospasm, heart attack and die.      Discussed

       3    treatment options.   Patient is agreeable to meeting

       4    with case management.

       5             Do you see that?

       6             MR. SILVERMAN:     Object to form.

       7       A.    I do, but I did not        I don't remember      I

       8    did not remember that right now.       I don't remember

       9    that.

      10       Q.    But you don't dispute this record, do you?

      11             MR. SILVERMAN:     Object to form; misstates

      12       testimony.

      13       A.    I don't really know what to say about that.

      14    I don't even remember that, so --

      15       Q.    But you don't dispute the record, do you?

      16       A.    I can't dispute or deny -- I mean or agree.

      17             MR. SILVERMAN:     Object to form.

      18       Q.    And do you recall in 2014 a doctor proposing

      19    that you meet with case management?

     20              MR. SILVERMAN:     Form.

     21        A.    No.

     22        Q.    Have you sought treatment for cocaine use

     23     since July 2014?

     24              MR. SILVERMAN:     Form.

     25        A.    No.


    Golkow Litigation Services                                            Page 185
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 187 of 291 PageID
                               Raeann
                                   18981M. Bayless

       1       Q.    Are you sure you don't need some water?

       2       A.    Yes, I'm sure.   It's just allergies.

       3       Q.    You can set that aside.   To your knowledge

       4    have you ever been diagnosed with or treated for

       5    diverticulitis or diverticular disease?

       6       A.    No.

       7       Q.    Have you ever been diagnosed with or treated

       8    for diabetes?

       9       A.    No.

      10             MR. SILVERMAN:   Form.

      11       Q.    Have you ever been told that you were at

      12    risk of developing diabetes?

      13       A.    Well, because of family history, they

      14    periodically test me for that.

      15       Q.    Are you aware if you have been found to have

      16    high glucose?

      17             MR. SILVERMAN:   Form.

      18       A.    Never been diagnosed, never -- I'm not even

      19    sure if they tested me for that.    There's just the

     20     diabetes.

     21        Q.    To your knowledge have you ever been --

     22     developed pelvic scarring or adhesions?

     23              MR. SILVERMAN:   Form.

     24        A.    No one has ever told me that I had any

     25     scarring or adhesions.


    Golkow Litigation Services                                           Page 186
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 188 of 291 PageID
                               Raeann
                                   18982M. Bayless

       1       Q.    Now, prior to your surgery with Dr. Jones,

       2    you had other surgeries on your pelvic or abdominal

       3    areas, right?

       4       A.    Not that I know of.

       5       Q.    Well, you had spoken about the tubal

       6    ligation and your gallbladder surgery, correct?

       7             MR. SILVERMAN:    Form.

       8       A.    Yes, but I don't know about any inside

       9    scarring.

      10       Q.    Well, I'm just moving on.

      11       A.    Okay.

      12       Q.    So my question is to your knowledge, at the

      13    time that you had your tubal ligation, do you know

      14    if your doctor performed a bladder tack or any other

      15    procedure at that same time?

      16       A.    No, he did not.

      17             MR. SILVERMAN:    Object to form.

      18       Q.    To your knowledge did you ever have a

      19    bladder tack at any time before going to Dr. Jones?

     20        A.    No.

     21              MR. SILVERMAN:    Object to form.

     22        Q.    And other than what we've discussed today,

     23     to your knowledge have you ever had any other pelvic

     24     or abdominal surgeries?

     25              MR. SILVERMAN:    Form.


    Golkow Litigation Services                                           Page 187
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 189 of 291 PageID
                               Raeann
                                   18983M. Bayless

       1       A.    Except for the abortions, no.

       2       Q.    Any that we haven't talk about today?

       3       A.    No.

       4       Q.    And you testified earlier that your scarring

       5    from any surgery that you had had was minimal after

       6    you healed.    What was the basis of that testimony?

       7       A.    Well, I was talking about the outside,

       8    because they     when they did the gallbladder, they

       9    went through my belly button and they put a camera

      10    like -- there's like three scars where they -- I

      11    don't know what -- I think they put the camera

      12    through one of them and -- I don't know what else

      13    they did, but I had three scars.     I still have them

      14    but they are minimum now.     They healed very well.

      15    That's what I was talking about.

      16       Q.    To your knowledge have you ever been

      17    diagnosed with or treated for cervicitis?

      18             MR. SILVERMAN:    Object to form.

      19       A.    No, I have not.

     20        Q.    You testified earlier about a -- you were in

     21     a relationship with someone where he was the

     22     provider and so you didn't work for a number of

     23     years.

     24        A.    I worked when I wanted to work.     I did -- I

     25     was not -- I didn't have to work to pay bills or


    Golkow Litigation Services                                           Page 188
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 190 of 291 PageID
                               Raeann
                                   18984M. Bayless

       1    anything.

       2       Q.    Who was that individual?

       3       A.    Willie Dixon.

       4       Q.    And during what time frame were you involved

       5    with Mr. Dixon?

       6       A.    2000 to 2015.

       7       Q.    And where does Mr. Dixon reside now?

       8       A.    In Titusville.

       9       Q.    How do you spell Dixon?

      10       A.    D-i-x-o-n.

      11       Q.    You testified earlier that you spent four

      12    months of a six-month sentence in the county jail.

      13       A.    I did.

      14       Q.    Which county jail was that?

      15       A.    Brevard County Jail.

      16       Q.    You testified earlier about three different

      17    residential programs that you attended in addition

      18    to The Bridge.    One of them was called Robin's Nest;

      19    is that right?

     20        A.    That's correct.

     21        Q.    At what time frame did you go to Robin's

     22     Nest?

     23        A.    I don't remember the year exactly but I went

     24     for 30 days voluntarily.

     25        Q.    Was it -- just are you able to reference it


    Golkow Litigation Services                                           Page 189
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 191 of 291 PageID
                               Raeann
                                   18985M. Bayless

       1    in terms of, you know, where you were living

       2       A.      I was living in Titusville.

       3       Q.      -- or how many -- you know, if you had all

       4    four children, et cetera.         I'm just trying to get a

       5    sense of the timing.

       6       A.      Okay.   I took my --

       7               MR. SILVERMAN:   Form.

       8       A.      -- my two younger children, I took them with

       9    me to the Robin's Nest.

      10       Q.      Does that help you remember what time frame?

      11       A.      So they were about two and three maybe.

      12       Q.      So that would be in the 1990s still then?

      13    Or wait

      14       A.      Yeah.

      15       Q.      And why did you go to the Robin's Nest

      16    program?

      17       A.      Because I would have -- okay.      Initially, I

      18    did crack cocaine in around -- right after my son

      19    was born in '97 -- '87, and every now and then I

     20     would -- I would do it, but I didn't stay constantly

     21     on it.     I didn't foresee a problem, like it wasn't a

     22     constant problem, but when I did do it, then I -- it

     23     became a problem and I would go seek help.

     24        Q.      What about the     I believe you said you

     25     also went to Christ Aid.      Is that what it was


    Golkow Litigation Services                                           Page 190
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 192 of 291 PageID
                               Raeann
                                   18986M. Bayless

       1    called?

       2       A.     Yes.

       3       Q.     Was that before or after Robin's Nest?

       4       A.     Not too long after.

       5       Q.     So in the late 1990s or early -- well,

       6    strike that.       Was it before or after you went to The

       7    Bridge?

       8       A.     After.     No, before, before.   It was before.

       9       Q.     And was that for crack cocaine?

      10       A.     It was just for

      11              MR. SILVERMAN:     Form.

      12       A.     It was more for -- I was -- my two young

      13    kids, his -- their father was also abusive and he

      14    was using drugs, and it was more also to just

      15    distance myself from him and not be around that

      16    environment and get my kids out of the environment

      17    and not have to move back home with my mother and

      18    father.

      19       Q.     Until recently you did live with your

     20     mother; is that correct?

     21        A.     I've lived with my mother and father off and

     22     on for years, but I had my own places to live when I

     23     lived with my significant other.

     24        Q.     Your mother is elderly at this point in

     25     time, correct?

    Golkow Litigation Services                                           Page 191
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 193 of 291 PageID
                               Raeann
                                   18987M. Bayless

       1       A.    She's 78.

       2             MR. SILVERMAN:   Form.

       3       Q.    Do you provide your mother with care when

       4    you stay with her?

       5       A.    Yes.

       6       Q.    What kind of care?

       7             MR. SILVERMAN:   Form.

       8       A.    I clean for her, you know, her soiled

       9    laundry, I clean up her house, I cook meals for her.

      10    Sometimes I have to help her with walking.     She's

      11    ambulatory but she needs assistance a lot.

      12       Q.    Do you ever have to help lift her?

      13       A.    Yeah, she's falling on the floor and I do

      14    I can get her up most of the time, but usually I

      15    have to call one of my sons or someone to help me,

      16    because she's heavy.

      17       Q.    Ms. Bayless, to your knowledge have any

      18    other women in your family experienced prolapse

      19    where their organs -- like where they have a

     20     cystocele, for example?

     21              MR. SILVERMAN:   Object to form.

     22        A.    I'm not sure if that's why she sought the

     23     surgeries herself, my mother, but that's the only

     24     person that might.

     25        Q.    It's not something you've talked about; is


    Golkow Litigation Services                                           Page 192
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 194 of 291 PageID
                               Raeann
                                   18988M. Bayless

       1    that fair?

       2       A.    I know that she has had the tack -- the

       3    bladder tack and all that, but I don't know about

       4    the -- if she had any kind of sagging or anything.

       5       Q.    And you told me earlier that you first

       6    noticed the prolapse symptoms after you had your

       7    second child.    And so it was starting at that time

       8    that you could actually physically see your organs?

       9       A.    At least the bladder part, yes.

      10             MR. SILVERMAN:   Form.

      11       A.    It was right there.      It was prevalent.   It

      12    was right in the opening.

      13       Q.    And did you experience any symptoms from

      14    that?

      15             MR. SILVERMAN:   Object to form.

      16       A.    Mostly only during intercourse.

      17             THE VIDEOGRAPHER:     End of disk in two

      18       minutes.

      19    BY MS. HOWARD:

     20        Q.    Can you be a little more specific what

     21     symptoms you experienced?

     22              MR. SILVERMAN:   Form.

     23        A.    Well, irritation because of the -- my

     24     partner hitting -- you know, having contact with the

     25     bladder with his organ.


    Golkow Litigation Services                                           Page 193
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 195 of 291 PageID
                               Raeann
                                   18989M. Bayless

       1       Q.    And is that something that got worse over

       2    time as the prolapse got worse over time?

       3       A.    It was just pretty bad from the beginning.

       4             MR. SILVERMAN:    Object to form.

       5       Q.    What was pretty bad from the beginning?

       6       A.    The sagging and the -- especially the

       7    bladder hanging down.

       8       Q.    Did those symptoms also affect your ability

       9    to be active, if you, you know, if you stood for too

      10    long, for example?

      11             MR. SILVERMAN:    Object to form.

      12       A.    There would be some -- not for standing, no,

      13    there wasn't.

      14       Q.    Moving?

      15       A.    Moving?

      16             MR. SILVERMAN:    Form.

      17       A.    No, not really either.

      18       Q.    Did the sagging cause you embarrassment?

      19             MR. SILVERMAN:    Object to form.

     20        A.    With my partner, yeah, it did.

     21              MS. HOWARD:    Let's go ahead and take a

     22        break.   He needs to change the tape.

     23              THE VIDEOGRAPHER:    This is the end of Disk

     24        Number 2 in the deposition of Raeann Bayless.        We

     25        are off the record at 2:53.


    Golkow Litigation Services                                           Page 194
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 196 of 291 PageID
                               Raeann
                                   18990M. Bayless

       1             (Recess from 2:53 p.m. until 3:01 p.m.)

       2             THE VIDEOGRAPHER:     This is the beginning of

       3       Disk Number 3 in the deposition of Raeann

       4       Bayless.      We are on the record at 3:01.

       5    BY MS. HOWARD:

       6       Q.    Ms. Bayless, are you ready to continue?

       7       A.    I am.

       8       Q.    Did you speak with your counsel during the

       9    break?

      10       A.    I did.

      11             MR. SILVERMAN:     Object to Form.

      12       Q.    Before we went off the record, I was asking

      13    you about the symptoms of prolapse or cystocele that

      14    you were experiencing.      Did you -- did it feel like

      15    something was actually falling out?

      16       A.    No.     I didn't have any discomfort or pain or

      17    irritation even when I had sex, except for every now

      18    and then I guess hit, you know, the hitting of the

      19    bladder, and that didn't happen -- it didn't occur

     20     every time.      It didn't cause me a lot of problems.

     21        Q.    But you were aware that it was --

     22        A.    Yeah, the sight of it, you know, the fact

     23     that I could see it.

     24        Q.    Over time did it get further out?

     25        A.    No.


    Golkow Litigation Services                                           Page 195
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 197 of 291 PageID
                               Raeann
                                   18991M. Bayless

       1             MR. SILVERMAN:     Form.

       2       A.    It was pretty much --

       3       Q.    Not that you know --

       4       A.    It wasn't inside out but -- or it didn't

       5    fall all the way out but it was right there.

       6       Q.    Did you have difficulty having bowel

       7    movements or constipation because of the cystocele?

       8             MR. SILVERMAN:     Object to form.

       9             THE WITNESS:     What did you say?

      10             MR. SILVERMAN:     I said object the form.   You

      11       can answer the question if you know.

      12       A.    No.

      13       Q.    To your recollection did you have lower back

      14    pain as a result of it or in that time period?

      15             MR. SILVERMAN:     Objection; calls for a

      16       medical conclusion.

      17       A.    No.

      18       Q.    Was there anything that you noticed that

      19    made the bulge better or worse?

     20        A.    No.

     21        Q.    Who was the first doctor that you went to to

     22     seek treatment regarding the prolapse?

     23        A.    Dr. -- Dr. Beason at the Brevard County

     24     Health Department.

     25        Q.    I'm sorry.     Dr. Who?


    Golkow Litigation Services                                           Page 196
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 198 of 291 PageID
                               Raeann
                                   18992M. Bayless

       1       A.    Beason, B-e-a-s-o-n.    It is a woman doctor.

       2       Q.    And approximately what time frame do you

       3    believe that you went to see Dr. Beason?

       4       A.    I had seen her off and on for years, but

       5    when I just inquired about my options, it was

       6    probably at the birth of my last child, so -- I

       7    might have mentioned it to her before but it wasn't

       8    causing -- it was mostly cosmetic, is the reason why

       9    I sought her attention, I mean her -- why I inquired

      10    about the --

      11       Q.    So was this in the 1990s, the 2000s?

      12       A.    '92.

      13       Q.    And I gather -- or strike that.

      14             What options did she offer -- tell you were

      15    available to you at that time?

      16       A.    I don't remember exactly, but all she -- all

      17    I remember saying     remember what I got out of it

      18    was that it could be repaired and she -- we didn't

      19    go into specifics about how.     The other -- I was on

     20     Medicaid at the time, but since it wasn't causing me

     21     any problems, it wasn't a -- it wasn't pressing on

     22     getting it done.    It was more cosmetic or something

     23     then.

     24        Q.    And what was Dr. Beason's first name?

     25        A.    I want to say Lillian, but I'm not sure.


    Golkow Litigation Services                                           Page 197
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 199 of 291 PageID
                               Raeann
                                   18993M. Bayless

       1    It's been a very, very long time.       She's not --

       2       Q.     Where did she practice?

       3       A.     Brevard County Health Department.

       4       Q.     And after your visit with Dr. Beason, who

       5    was the next doctor you went to see regarding your

       6    prolapse issues?

       7       A.     That was pretty much it.

       8       Q.     So up until shortly before you had your

       9    surgery, did you seek treatment from any doctors

      10    regarding prolapse-related issues?

      11              MR. SILVERMAN:     Form.

      12       A.     I really did not.

      13              MR. SILVERMAN:     You can answer.

      14              THE WITNESS:     Oh.

      15       A.     I did not because it wasn't causing me any

      16    problems.    It was, like I said, more cosmetic, you

      17    know, the embarrassment of the way it looked and

      18       Q.     Do you recall seeking treatment from a

      19    Dr. Bukkapatnam at the Orlando Health facility?

     20        A.     What was the name?     Spell it.

     21        Q.     I will call him Dr.Band hand you the

     22     record.

     23        A.     Was that the Orange Blossom Family Health,

     24     or something like that?

     25        Q.     It says Orlando Health, so I'll hand you


    Golkow Litigation Services                                           Page 198
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 200 of 291 PageID
                               Raeann
                                   18994M. Bayless

       1    what we'll mark as Exhibit 8 to your deposition,

       2    which is a record from May 7 of 2012.

       3             (Bayless Exhibit 8 was marked for

       4    identification.)

       5       A.    Okay.

       6       Q.    And this is a visit to a, I believe, Jayasri

       7    Bukkapatnam.

       8       A.    Where is that?   If I --

       9       Q.    It says it on the very last page who this

      10    doctor was.

      11       A.    Okay.

      12       Q.    So do you see that this is a record for a

      13    visit that you had on May 7th of 2012?

      14       A.    I don't remember this, but I -- the only

      15    inquiries or requests or anything, besides Kathy

      16    Jones in Orlando, was through the Orange Blossom --

      17    I don't remember the doctor, though.

      18       Q.    Okay.   If you would, go back to the first

      19    page of that document, please, and near the top of

     20     the first page it says "Current Medical History,"

     21     and "Reason for visit?"    And then it says "What is

     22     the problem that has brought you here today?"

     23              And do you see it says "vaginal and rectal

     24     prolapse"?

     25              MR. SILVERMAN:   Form.

    Golkow Litigation Services                                           Page 199
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 201 of 291 PageID
                               Raeann
                                   18995M. Bayless

       1       A.    I do.

       2       Q.    Do you see that?

       3       A.    Uh-huh.

       4       Q.    And is that consistent with you

       5    understanding of which of your organs were

       6    prolapsing?

       7             MR. SILVERMAN:     Form.

       8       A.    I knew the bladder was.    I knew that there

       9    was sagging in my vagina, but I       I really did not

      10    know to what extent because I don't know them, you

      11    know     I don't know how good or bad it was,

      12    depending on       but I know it    the bladder

      13    mostly -- it was mostly I knew it needed to be put

      14    back in place for a long time.

      15       Q.    But you hadn't dealt with it because of

      16    insurance issues; is that right?

      17             MR. SILVERMAN:     Form.

      18       A.    Because of insurance issues and because it

      19    wasn't causing me any problems.

     20        Q.    And so if you would look at the "History of

     21     Present Illness" section, do you see that there is a

     22     discussion there?     But before we look at that

     23     actually, at times prior to going to see Dr. Jones,

     24     so, in other words, in connection with this same

     25     time frame, May of 2012, you had sought treatment


    Golkow Litigation Services                                           Page 200
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 202 of 291 PageID
                               Raeann
                                   18996M. Bayless

       1    for pain during sexual intercourse; is that correct?

       2             MR. SILVERMAN:   Object to form.

       3       A.    I don't remember that.

       4       Q.    Well, let me ask you differently.    Do you

       5    recall when you first experienced pain while having

       6    intercourse?

       7             MR. SILVERMAN:   Object to form; asked and

       8       answered.

       9       A.    I don't know what you want me to say.     I

      10    don't know.    I don't remember that.

      11       Q.    You don't recall whether you had experienced

      12    pain during intercourse by around this time frame of

      13    May of 2012?

      14             MR. SILVERMAN:   Form.

      15       A.    Well, not like I do now.   I don't remember

      16    saying that or as that being a problem before.

      17       Q.    Well, if you look at the very last line

      18    under "History of Present Illness," it references

      19    that patient "does state some dyspareunia lately."

     20              I presume you don't know what that term

     21     means?

     22        A.    No, I don't.

     23        Q.    It basically means painful intercourse.       Do

     24     you have any recollection of the type of pain during

     25     intercourse that you were experiencing at this point


    Golkow Litigation Services                                           Page 201
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 203 of 291 PageID
                               Raeann
                                   18997M. Bayless

       1    in time in 2012?

       2              MR. SILVERMAN:   Object to form; asked and

       3       answered, misstates testimony.     If you are able

       4       to answer it, you can answer.

       5       A.     The reason, if I remember correctly, why

       6    that even might have been mentioned is because I

       7    still had my bladder and my cervix -- I mean not my

       8    bladder, my uterus and my cervix, which was sagging

       9    down, and I was trying to create a basis for why I

      10    need this surgery, besides the cosmetic part of it

      11    now, and the incontinence at this time, and that's

      12    because when I would have sex, it would hit my

      13    cervix.    It didn't do that too much before I sought

      14    help.

      15       Q.     But as of this time in 2012, it was causing

      16    you pain during intercourse?

      17              MR. SILVERMAN:   Form.

      18       A.     It would.   Sometimes it would hit, like, the

      19    wrong spot, so to speak, when I had my cervix still,

     20     and my uterus, but it wasn't every time.

     21        Q.     Did you ever seek treatment for pain during

     22     sexual intercourse?

     23        A.     I went here.

     24               MR. SILVERMAN:   Form.

     25        A.     I went here to get evaluated to see what --


    Golkow Litigation Services                                           Page 202
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 204 of 291 PageID
                               Raeann
                                   18998M. Bayless

       1       Q.      Did the symptoms that you were experiencing

       2    when you had intercourse, as of this time in 2012,

       3    was that impacting the frequency or satisfaction in

       4    your sex life?

       5       A.      Pardon me?

       6               MR. SILVERMAN:    Form.

       7       Q.      The pain that you were experiencing as of

       8    2012, did that impact the            how often you would

       9    want to have sex or how much you would enjoy it when

      10    you did?

      11               MR. SILVERMAN:    Object to form; misstates

      12       testimony.

      13       A.      I would stop it if it hit that spot, if it

      14    hit my cervix or something, I wouldn't continue, but

      15    that -- but it didn't stop me from having sex

      16    completely.     It wasn't, you know, it wasn't a

      17    constant thing.

      18       Q.      But it would prompt you to stop mid act if

      19    it was causing

     20        A.      Sometimes, yes.

     21                MR. SILVERMAN:    Object to form.

     22        A.      Because it would hit it the wrong way.

     23        Q.      If you would look further down on this

     24     record, do you see towards the bottom there is a

     25     section under "Sexual Activity"?


    Golkow Litigation Services                                           Page 203
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 205 of 291 PageID
                               Raeann
                                   18999M. Bayless

       1       A.      Yes.

       2       Q.      And you reported that you were sexually

       3    active; is that right?

       4       A.      I was.

       5       Q.      And on the next line it notes that you had

       6    had over 100 partners on your --

       7      (Unidentified female opened conference room door.)

       8               UNIDENTIFIED FEMALE:     I'm sorry.   That's my

       9       mom.

      10       A.      I don't remember that.

      11               MR. SILVERMAN:   Let's go -- I'm sorry.

      12       Let's go off the record.

      13               THE VIDEOGRAPHER:   Off the record at 3:11.

      14            (Recess from 3:11 p.m. until 3:14 p.m.)

      15               THE VIDEOGRAPHER:   Back on the record at

      16       3:14.

      17    BY MS. HOWARD:

      18       Q.      Ms. Bayless, are you ready to continue?

      19       A.      I am.

     20        Q.      Before that interruption we were looking at

     21     this May 7, 2012 medical record and under the

     22     section where it says "Sexual Activity."         It then

     23     states that you had reported having over 100 sexual

     24     partners during your lifetime.       Do you see that?

     25        A.      Yeah.


    Golkow Litigation Services                                           Page 204
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 206 of 291 PageID
                               Raeann
                                   19000M. Bayless

       1                 MR. SILVERMAN:    Object to form.

       2          Q.      Do you have any reason to dispute that?

       3                 MR. SILVERMAN:    Object to form.

       4          A.      I don't know what I was thinking at that

       5    time, but I don't recall saying that.            I don't think

       6    that's accurate but -- I was going through a lot at

       7    that time.         I might have said that.

       8          Q.     And so sitting here today, you can't say

       9    whether it's accurate or not?

      10                 MR. SILVERMAN:    Object to form; misstates

      11          testimony.     You can answer.

      12          A.      I don't believe it is, but I can't dispute

      13    it.        That's a lot but not -- I don't know if it's

      14    that many or -- I don't know.          I don't think it is

      15    even close to that.

      16          Q.      Have any of your sexual encounters ever been

      17    violent?

      18                 MR. SILVERMAN:    Object to form.

      19          A.     Violent?

     20                  MR. SILVERMAN:    Form.

     21           A.      I can only think of one or two episodes, and

     22     those were with my significant others.

     23           Q.     Well, have you ever needed to seek medical

     24     treatment after a sexual encounter?

     25           A.     No.


    Golkow Litigation Services                                               Page 205
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 207 of 291 PageID
                               Raeann
                                   19001M. Bayless

       1             MR. SILVERMAN:     Form.

       2       Q.    And the next line references STD history and

       3    references gonorrhea.     Ms. Erixson talked about this

       4    earlier, but one question I wanted to cover is what

       5    symptoms did you experience when you had gonorrhea?

       6       A.    I never had discharge before that.        I

       7    started experiencing discharge and it had, like,

       8    green coloring in it.      I never had that before, so I

       9    knew it was different than maybe from trichomonas or

      10    something like that, so --

      11       Q.    And were there any other symptoms that --

      12       A.    There was no pain, there was no          I can't

      13    even remember if there was a foul smell to it, but I

      14    can just -- the color of the discharge was very odd.

      15       Q.    You just mentioned trichomonas.       What

      16    symptoms had you noted with that condition?

      17             MR. SILVERMAN:    Object to form.

      18             THE WITNESS:     Pardon?

      19             MR. SILVERMAN:     You can answer.

     20        A.    The -- it was, I don't know, pasty, it was

     21     pasty, and maybe thick or something.      It was a

     22     yellowish color.   It wasn't the same.        It wasn't the

     23     same consistency or color.

     24        Q.    And you also testified earlier about

     25     hepatitis C.   Were there any symptoms associated


    Golkow Litigation Services                                            Page 206
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 208 of 291 PageID
                               Raeann
                                   19002M. Bayless

       1    with that?

       2             MR. SILVERMAN:   Object to form.

       3       A.    At the time that I asked them to test me for

       4    that or see if I had that, I never even heard of it

       5    before, and that was at the health department, and I

       6    was not experiencing      if I remember correctly, I

       7    was not experiencing any symptoms when I first got

       8    it done, when I first got tested for it.     I believe

       9    it came back that I did have it or that it came up

      10    positive, and I didn't -- nobody elaborated on it,

      11    so I went back again, like every few months I would

      12    go back to, you know, get tested for STDs or

      13    whatever, and it came up positive, like, maybe one

      14    or two more times in the blood work.    And so then I

      15    started asking about it, like what is that, where

      16    did it come from, is it through sex.

      17             And then when it came up that it was maybe

      18    from inter -- you know, using drugs intervenously, I

      19    never did that, so I -- and they said at that time

     20     you couldn't -- you didn't get it from sex, it was

     21     blood to blood.    And I was like, well, then how did

     22     I get it.    And anyway, I started following up on it,

     23     I was going to get treatment for it.

     24        Q.    So to go back to my question, you didn't

     25     experience any symptoms from it?

    Golkow Litigation Services                                           Page 207
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 209 of 291 PageID
                               Raeann
                                   19003M. Bayless

       1             MR. SILVERMAN:    Form.

       2       A.    At the second or third time that I had them

       3    retest me, I experienced symptoms at that time.

       4       Q.    What symptoms?

       5       A.    Like

       6             MR. SILVERMAN:    Form.

       7       A.    -- real sensitive to heat, night, you know,

       8    like sweating.     I forget what all it is.   There

       9    might have been -- I don't even remember, but I

      10    remember having those -- the real -- being real

      11    sensitive to heat and sweating.

      12       Q.    Did you get treatment that resolved those

      13    symptoms?

      14       A.    No.    I followed up on the -- got a referral

      15    from the health department to go see, I guess it was

      16    an internist, he was an internist.     His name was

      17    Dr. Rylander, and because I told them that I

      18    wanted -- asked him what -- what if there was any

      19    treatment for it, and I told him that I wanted the

     20     treatment, so they referred me to Dr. Rylander and

     21     he did a battery of tests before he was going to

     22     give me the treatment, because the treatment was

     23     really harsh, he said, and they had to rule out

     24     other health problems, and I didn't have any other

     25     health problems, and that my body -- he told me that

    Golkow Litigation Services                                           Page 208
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 210 of 291 PageID
                               Raeann
                                   19004M. Bayless

       1    I was in the 15 percentile that whatever my exposure

       2    was, my body fought it off.

       3          Q.   And Dr. Rylander, what's his first name, if

       4    you know?

       5          A.    I don't know.   He's a Titusville doctor.

       6          Q.   Where in Titusville, where does he practice?

       7          A.    I don't know the exact address.

       8          Q.   Well, was it at a private internal medicine

       9    practice with him and a couple other doctors?

      10          A.    I think it was just him alone.

      11          Q.   And approximately what time frame was that?

      12          A.    I don't know.   I can't remember that.   It

      13    was around 2000 -- I don't know, between 2003 to

      14    somewhere in between there and 2005.

      15          Q.   Okay.   Turning back to your prolapse issues,

      16    did you ever try any self-treatments for your

      17    prolapse?

      18          A.   No.

      19          Q.    For example, Kegel exercises or trying to,

     20     you know, do anything else yourself?

     21                MR. SILVERMAN:    Form.

     22           A.    I did try that but they didn't do any good,

     23     because the bladder was so down -- fell down so far

     24     in there that the pelvic floor would be strong but

     25     the        it was kind of gapped open.


    Golkow Litigation Services                                           Page 209
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 211 of 291 PageID
                               Raeann
                                   19005M. Bayless

       1         Q.    Did Dr. Jones recommend any nonsurgical

       2    approaches or did she

       3         A.    She did say the Kegel exercise for the

       4    urinary incontinence, and           but other than that

       5    but she told me my pelvic floor was strong so that

       6    that wasn't a problem, you know, those were already

       7    pretty much good still, and that muscle was still

       8    good.      It was mostly the sides were stretched out

       9    from the baby and from the bladder being down in the

      10    canal for so long.

      11         Q.    So for your prolapse, Dr. Jones didn't

      12    recommend any nonsurgical treatment, she indicated

      13    that surgery was the right approach?

      14               MR. SILVERMAN:   Form.

      15         A.    Yes, something to that effect, yes.

      16         Q.    Had you done any research?      I know you

      17    mentioned earlier that you talked to a nurse

      18    practitioner years ago, but other than that, did you

      19    do any research or, you know, looking on your own

     20     about treatment options for your prolapse?

     21          A.    Not for the prolapse --

     22                MR. SILVERMAN:   Form; asked and answered.

     23          A.     -- but for the -- the dilation, I guess

     24     is        for lack of a better word, of like the -- how

     25     opened, you know, my vagina was, and that's about


    Golkow Litigation Services                                           Page 210
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 212 of 291 PageID
                               Raeann
                                   19006M. Bayless

       1    it.

       2          Q.   And what did you look into there?

       3          A.   What surgeries might, like, tighten it up or

       4    put everything back in place and then tighten it up.

       5          Q.   And where did you do that research?

       6               MR. SILVERMAN:    Form.

       7          A.   I think I had a computer and I looked it up

       8    on the computer.

       9          Q.   And so you were looking to see what could

      10    fix --

      11          A.   And I --

      12               MR. SILVERMAN:    Wait.

      13          Q.   -- what could fix those issues?

      14          A.   Yeah.

      15               MR. SILVERMAN:    Object to form; asked and

      16          answered.

      17          Q.   And what did you learn from your research?

      18               MR. SILVERMAN:    Form.

      19          A.   That there is a -- that it's mostly

     20     cosmetic, that since it wasn't causing any medical

     21     issues at the time, and that, you know, you had to

     22     have insurance.       And it was mostly cosmetic, though.

     23     If it wasn't -- mostly that it wasn't causing any

     24     medical issues to keep me from living day-to-day

     25     life, so it was cosmetic and most insurance wasn't


    Golkow Litigation Services                                           Page 211
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 213 of 291 PageID
                               Raeann
                                   19007M. Bayless

       1    going to cover that.

       2       Q.      Where -- how -- where did you do this

       3    research?        Did you go to, for example, a Google

       4    search?

       5               MR. SILVERMAN:     Object to form.

       6       A.      They didn't have -- I didn't use Google back

       7    then but it was on the Internet.

       8       Q.      So you did an Internet search?

       9       A.      Yeah.

      10               MR. SILVERMAN:     Form.

      11       Q.      How long -- how many years was that before

      12    you went to Dr. Jones?

      13       A.      I only had the computer for a short time

      14    before I went to Dr. Jones.

      15       Q.      Did Dr. Jones tell you that your prolapse

      16    symptoms could get worse over time if you don't get

      17    treated?

      18               MR. SILVERMAN:     Form; asked and answered.

      19       A.      No.

     20        Q.      Was that something you had determined from

     21     your own research?

     22                MR. SILVERMAN:     Form.

     23        A.      No.     It was from the medical issues I was

     24     experiencing right before I went to Dr. Jones that

     25     led me to that.


    Golkow Litigation Services                                           Page 212
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 214 of 291 PageID
                               Raeann
                                   19008M. Bayless

       1       Q.      You mean the prolapse and incontinence

       2    symptoms?

       3       A.      The incontinence mostly.

       4       Q.      And what surgical options did you discuss

       5    with Dr. Jones?

       6       A.      I   don't remember how many.   I   don't remember

       7    what the ones were, but it wasn't a lot.          There was

       8    only two or three maybe tops, but I don't remember

       9    exactly.

      10       Q.      Did she talk to you about any nonmesh

      11    surgical options?

      12               MR. SILVERMAN:    Form; asked and answered.

      13       A.      No, not to my recollection, no.

      14       Q.      Do you recall discussing with her whether

      15    you were going to do a surgery with mesh or without

      16    mesh to treat your prolapse?

      17       A.      I don't remember that.

      18       Q.      Did you discuss different mesh devices with

      19    Dr. Jones?

     20        A.      No.

     21                MR. SILVERMAN:    Form.

     22        Q.      How did you end up choosing the procedure

     23     that you ended up having with regard to treating

     24     your prolapse?

     25                MR. SILVERMAN:    Object to form; asked and


    Golkow Litigation Services                                             Page 213
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 215 of 291 PageID
                               Raeann
                                   19009M. Bayless

       1       answered.

       2       A.      I don't remember that either.

       3       Q.      Did you talk to anybody other than Dr. Jones

       4    about the procedure before you decided to go forward

       5    with it?

       6               MR. SILVERMAN:    Form; asked and answered.

       7       A.      No.

       8       Q.      Did you rely on Dr. Jones' advice and

       9    recommendation when deciding whether to have the

      10    surgery?

      11               MR. SILVERMAN:    Form; asked and answered.

      12       A.      Yes.   Say that again now.   Wait a minute.

      13       Q.      Did you rely on Dr. Jones' advice

      14       A.      Yes.

      15       Q.      - - and recommendations?


      16       A.      Yes, I put my full trust in her to - -

      17       Q.      And do you recall talking to Dr. Jones about

      18    risks of surgery?

      19               MR. SILVERMAN:    Object to form.

     20        A.      Just general --

     21                MR. SILVERMAN:    Asked and answered.

     22        A.      Just general risks, not any specifics, just

     23     general risks that associate with surgery.

     24        Q.      Do you recall how many times in total you

     25     visited with Dr. Jones?


    Golkow Litigation Services                                           Page 214
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 216 of 291 PageID
                               Raeann
                                   19010M. Bayless

       1       A.      No, I don't, but I know it was a few times

       2    before the surgery.     I just -- it wasn't just like

       3    once or twice and then I had the surgery.

       4       Q.      So in your best guess, you saw her on a

       5    couple       two occasions, five occasions before

       6    surgery?

       7       A.      Well, it was a process.   If she had -- first

       8    she did an evaluation but I don't -- it wasn't the

       9    initial visit.     We just had a discussion on the

      10    initial visit.     I know she -- she had to     it was

      11    a -- she had to measure the severity of my

      12    incontinence, so it was some kind of like

      13    instructions about bladder training and measuring

      14    something to that effect, I don't know how we came

      15    to the conclusion, but it was -- she wanted to

      16    evaluate that through certain things that I had to

      17    do, measuring or something, and I don't know.

      18               And then for the cystocele she had to take

      19    physical measurements, and so I don't know how many

     20     times exactly.     We had to discuss them, so we'd

     21     do -- what she instructed me to do and then I'd go

     22     back and discuss the results.

     23        Q.      Approximately over what period of time do

     24     you recall seeing Dr. Jones before she did the

     25     surgery?

    Golkow Litigation Services                                           Page 215
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 217 of 291 PageID
                               Raeann
                                   19011M. Bayless

       1              MR. SILVERMAN:     Form; asked and answered.

       2       A.     I don't --

       3              THE WITNESS:     What?

       4              MR. SILVERMAN:     You can answer.

       5       A.     I don't -- I don't recall.       It wasn't -- it

       6    was a relatively short period of time, maybe a

       7    matter of months, and then I had -- and then she

       8    gave me a day for the surgery.         I don't remember if

       9    it was a year or less.

      10       Q.     I'm going to go ahead and hand you what

      11    we've marked as Exhibit 9 to your deposition, which

      12    contains a few visits to Dr. Jones, including the

      13    last visit that we have before your implant surgery.

      14              (Bayless Exhibit 9 was marked for

      15    identification.)

      16              MR. SILVERMAN:     Thanks.

      17    BY MS. HOWARD:

      18       Q.     That visit was on May 28th of 2013.       So if

      19    you would, turn to the third page of this document,

     20     please.

     21        A.     To the third page?

     22        Q.     Third page.

     23        A.     Okay.

     24        Q.     I think they are double-sided, so the top of

     25     the second piece of paper.         It's double-sided.


    Golkow Litigation Services                                           Page 216
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 218 of 291 PageID
                               Raeann
                                   19012M. Bayless

       1       A.    Okay.

       2       Q.    Do you see about a third of the way down

       3    there is an encounter date of 5/28/13?

       4       A.    Okay.

       5       Q.    Do you see that?

       6       A.    Yes.

       7       Q.    And so then that visit goes on for a couple

       8    of pages.     Okay?

       9       A.    Okay.

      10       Q.    So if you would, please go to the fifth page

      11    of the document, so the top of the next piece of

      12    paper, and it says "Assessment/Plan" at the top.           Do

      13    you see that?

      14       A.    I'm looking.       Just a moment.    Where did you

      15    say it was?

      16       Q.    So it's the page --

      17       A.    Oh, yes, I see it.

      18       Q.    Okay.    And if you go a little bit down from

      19    that, it's got "Discussion Notes."           Do you see that?

     20        A.    Okay.    Uh-huh.

     21        Q.    And then it has a Number 1 and then a Number

     22     2, and the Number 2 states:        "Gold standard for

     23     vaginal vault prolapse and uterine prolapse includes

     24     abdominal sacral colpopexy with mesh."

     25              Do you see that?


    Golkow Litigation Services                                              Page 217
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 219 of 291 PageID
                               Raeann
                                   19013M. Bayless

       1              MR. SILVERMAN:     Object to form.

       2       A.     I do.

       3       Q.     And then it states:     "Patient given

       4    explanation on the use of graft augmentation

       5    materials and advanced prolapse repairs; possible

       6    complication with hematoma, delayed healing and

       7    graft exposure and/or extrusion."

       8              Do you see that?

       9              MR. SILVERMAN:     Object to form.

      10       A.     I do.

      11       Q.     Do you recall this discussion with

      12    Dr. Jones?

      13       A.     No, I don't.

      14              MR. SILVERMAN:     Object to form.

      15       A.     I mean, I'm not denying it, but I don't

      16    remember back that far this -- these specific

      17    things.

      18       Q.     And if you look further down the same page,

      19    there is a section that starts -- I'm sorry.

     20               If you go to the very bottom of the page,

     21     there is a paragraph that starts "patient was

     22     informed."    Do you see that?

     23        A.     On the same page?

     24        Q.     Yeah.   The very last paragraph states:

     25     "Patient was informed of the risks and benefits of


    Golkow Litigation Services                                           Page 218
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 220 of 291 PageID
                               Raeann
                                   19014M. Bayless

       1    the surgical procedure noted above.      These risks are

       2    noted as but not limited to infection, bleeding,

       3    damage to surrounding organs, such as bowel, bladder

       4    and urethra, prolonged need for urinary

       5    catheterization, incomplete bladder emptying, pain

       6    with intercourse, poor wound healing, worsening or

       7    no change in urinary incontinence and/or recurrence

       8    of prolapse."

       9             Do you see that?

      10             MR. SILVERMAN:     Object to form.

      11       A.    I do.

      12       Q.    And it states:     "Patient voiced

      13    understanding and would like to proceed with the

      14    procedure."

      15       A.    Yes.

      16       Q.    Do you see that?

      17             MR. SILVERMAN:     Object to form.

      18       A.    I understand that there was risks with this.

      19    I don't remember this but I trusted her to -- that

     20     she had knowledge and she was professional and she

     21     had, you know, the skills.

     22        Q.    And you relied on her

     23              MR. SILVERMAN:     Let her finish.

     24        A.    But she didn't say anything about defective

     25     products or -- you know, there is always a risk, but


    Golkow Litigation Services                                           Page 219
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 221 of 291 PageID
                               Raeann
                                   19015M. Bayless

       1    she didn't say anything that, you know, that -- when

       2    I went to have it in, that I would have a defective

       3    product.     If I had known that it was under

       4    guidelines of being recalled, or whatever, I

       5    wouldn't have had it done.

       6       Q.      And on what basis do you say that something

       7    is under guidelines of being recalled?

       8               MR. SILVERMAN:   Object to form.

       9       A.      Because that's why we're here, and shortly

      10    after I had the surgery I started seeing those

      11    commercials on TV, but I didn't feel like -- and I

      12    didn't think that -- that I would be implanted with

      13    something that was still -- that they had recalled.

      14       Q.      Ma'am, on what basis are you stating that my

      15    client's product has been recalled?

      16               MR. SILVERMAN:   Object to form.

      17       A.      Because I have a basis for a lawsuit against

      18    your client and, to my knowledge, I have defective

      19    products in me and they fell under the defective --

     20     whatever it is.     I don't know how to explain it to

     21     you, but if I knew that there was a recall on the

     22     products that were implanted in me, I wouldn't have

     23     allowed that to happen.

     24        Q.      And I'm trying to find out who told you or

     25     who led you to believe

    Golkow Litigation Services                                           Page 220
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 222 of 291 PageID
                               Raeann
                                   19016M. Bayless

       1       A.    Well, the fact that I have --

       2             MR. SILVERMAN:    Object to form.

       3             THE WITNESS:     Pardon?

       4             MR. SILVERMAN:     You can answer the question

       5       if you're able to, outside of any conversations

       6       you've had with your attorneys.

       7       A.    Okay.   I don't -- I can't tell you that.       I

       8    was -- I was at -- I inquired about if -- I don't

       9    know how to explain it to you, but I just -- I don't

      10    have an answer for that right now.

      11       Q.    Has anyone other than your counsel led you

      12    to believe that my client's product has been

      13    recalled?

      14             MR. SILVERMAN:    Object to form; asked and

      15       answered.

      16             THE WITNESS:     Pardon?

      17             MR. SILVERMAN:     You can answer if you know

      18       the answer to it.

      19       A.    I don't know of anybody else that informed

     20     me of it, no, or that even -- no, I don't.

     21        Q.    I'm just trying to understand on what basis

     22     you are taking the position that my client's

     23     products --

     24        A.    The fact that they accepted my case --

     25              MR. SILVERMAN:    One second.   One second.


    Golkow Litigation Services                                           Page 221
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 223 of 291 PageID
                               Raeann
                                   19017M. Bayless

       1       First off, wait for her to answer the question,

       2       and any conversation you had with any attorneys

       3       are strictly privileged.           You can only answer the

       4       question outside of any conversations you've ever

       5       had with any lawyers.

       6             THE WITNESS:         Okay.   Okay.

       7             MR. SILVERMAN:         If you are able to.

       8    BY MS. HOWARD:

       9       Q.    If you would please, look to Exhibit 2 which

      10    counsel gave you this morning.

      11             MR. SILVERMAN:         Which one was it?

      12       Q.    It says "Informed Consent" on the first

      13    page.

      14       A.    I'm sorry.       This is still under Exhibit 9?

      15       Q.    No, Exhibit 2.

      16       A.    Oh, 2.       Now, which page?

      17       Q.    If you would flip back to the fourth page, I

      18    believe it is, which states "Procedure:             Anterior

      19    and/or Posterior Colporrhaphy."

     20        A.    Procedure -- yeah, I got it.

     21        Q.    Okay.       Great.    Could you look at the second

     22     paragraph, please?

     23        A.    Okay.

     24        Q.    And it states:         "Like any other surgical

     25     procedure, A     &   P repair may be complicated by


    Golkow Litigation Services                                              Page 222
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 224 of 291 PageID
                               Raeann
                                   19018M. Bayless

       1    bleeding and infection.       Because A & P repair

       2    involve the urinary system and the intestinal tract,

       3    damage to these structures is possible from the

       4    surgery and abnormal connections between the vagina

       5    and intestinal tract and urinary system may form

       6    after this type of surgery.          Difficulty controlling

       7    urination and pain during intercourse are possible

       8    complications of colporrhaphy."

       9              Do you see that?     Did I read it correctly?

      10              MR. SILVERMAN:     Object to form.

      11       A.     Yeah, I see it.

      12       Q.     And you signed this form, correct?

      13       A.     I did.

      14              MR. SILVERMAN:     Form.

      15       Q.     And if you look to the first -- the last

      16    paragraph before it says "cystocele repair" in

      17    handwriting, so the fourth paragraph, it then

      18    states:    "Some of the complications of this

      19    operation may require further major surgery; some

     20     may cause prolonged illness, permanent deformity,

     21     poor healing wounds and scars; and very rarely some

     22     can be fatal."

     23               Do you see that?

     24               MR. SILVERMAN:     Object to the form; asked

     25        and answered.


    Golkow Litigation Services                                            Page 223
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 225 of 291 PageID
                               Raeann
                                   19019M. Bayless

       1       A.     No, I don't.     Where is that?

       2       Q.     The fourth paragraph?

       3       A.     Okay.     Now, will you repeat the question?    I

       4    mean, what you're -- what you're trying to get me to

       5    answer.

       6       Q.     It states:     "Some of the complications of

       7    this operation may require further major surgery;

       8    some may cause prolonged illness, permanent

       9    deformity, poor healing wounds and scarring; and

      10    very rarely some can be fatal."

      11              Do you see that?

      12       A.     I do.

      13              MR. SILVERMAN:     Object to the form.

      14       Q.     And again, you signed this document?

      15       A.     I did.

      16       Q.     After having an opportunity to discuss it

      17    with Dr. Jones?

      18              MR. SILVERMAN:     Object to form; asked and

      19       answered.

     20        Q.     You can answer.

     21        A.     Ask me the question again.

     22               MS. HOWARD:     Can you read it back, please?

     23               THE COURT REPORTER:      "And again, you signed

     24        this document?

     25               "I did.


    Golkow Litigation Services                                            Page 224
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 226 of 291 PageID
                               Raeann
                                   19020M. Bayless

       1             "After having an opportunity to discuss it

       2       with Dr. Jones?"

       3       A.    I think that she just went over, like,

       4    mentioned it --

       5             MR. SILVERMAN:    Form.

       6       A.    -- and I was aware of the risks and I    just

       7    trusted her and I signed the paper.     I was just

       8    under the impression that it was, you know, general

       9    surgery risks, it didn't have anything to do with

      10    the mesh.

      11       Q.    Can you flip forward or flip back two pages

      12    to the one that states "Augmentation Graft Consent

      13    Form," please?

      14       A.    What is it?

      15       Q.    Two pages back it states "Augmentation Graft

      16    Consent Form."

      17       A.    Yes, I have it.

      18       Q.    And if you look down to the fourth

      19    paragraph, do you see the star next to it?

     20        A.    I do.

     21        Q.    And do you see that it states there:     "When

     22     mesh is used in gynecological surgery, there is a

     23     five to 10 percent chance that this mesh can cause

     24     delayed healing and eventually erode into the vagina

     25     requiring a second surgery to remove it."


    Golkow Litigation Services                                           Page 225
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 227 of 291 PageID
                               Raeann
                                   19021M. Bayless

       1               Do you see that?

       2               MR. SILVERMAN:     Object to form.

       3               THE WITNESS:     Answer it?

       4               MR. SILVERMAN:     You can answer it if you

       5       know.

       6       A.      I don't know what you want me to say.     Yes,

       7    I see it.

       8       Q.      And this is an issue you discussed with

       9    Dr. Jones?

      10               MR. SILVERMAN:     Object to form; asked and

      11       answered.

      12       A.      Not specifically, no.

      13       Q.      Well, you had an opportunity to ask if you

      14    had any questions about this form based on the last

      15    line before your signature, correct?

      16               MR. SILVERMAN:     Object to form; asked and

      17       answered.

      18       A.      I did, but I didn't foresee any problems as

      19    I'm experiencing right now.

     20        Q.      You trusted your doctor?

     21        A.      I did.

     22                MR. SILVERMAN:     Form.

     23        A.      I saw her as competent, so I didn't have any

     24     problems with how she guided me.

     25        Q.      Did you do any research on the procedure


    Golkow Litigation Services                                           Page 226
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 228 of 291 PageID
                               Raeann
                                   19022M. Bayless

       1    before it was performed?

       2             MR. SILVERMAN:     Object to form; asked and

       3       answered.

       4             THE WITNESS:     Answer it?

       5       Q.    After you talked to Dr. Jones

       6             MR. SILVERMAN:     You can answer it.

       7       Q.    -- did you do any research about the surgery

       8    that you were going to be having?

       9             MR. SILVERMAN:     Object to form; asked and

      10       answered.

      11       A.    No.   She gave me -- she gave me information

      12    on it and I reviewed what she gave me.

      13       Q.    What kind of information did she give you?

      14             MR. SILVERMAN:     Form.

      15       A.    I don't remember exactly that.

      16             MR. SILVERMAN:     Asked and answered.

      17       A.    How the procedure was going to be performed,

      18    which one I'm having, which procedure I'm having,

      19    some symptoms I could have, not from the implant,

     20     but just physically afterwards.

     21        Q.    So the documentation that she gave you, what

     22        was it a handout from her office?

     23        A.    It was a --

     24              MR. SILVERMAN:     Form; asked and answered.

     25        A.    -- pamphlet, I guess, they have on hand.       It


    Golkow Litigation Services                                           Page 227
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 229 of 291 PageID
                               Raeann
                                   19023M. Bayless

       1    wasn't a printout.

       2          Q.     Whose pamphlet was it?

       3          A.      I don't know.

       4          Q.     Do you still have that pamphlet?

       5          A.     No.

       6          Q.     Do you remember what it said?

       7                 MR. SILVERMAN:    Object to form; asked and

       8          answered.

       9          A.     Not specifically, no.

      10          Q.     And so the pamphlet was about the surgery,

      11    not about the mesh that was being used in the

      12    surgery, correct?

      13                 MR. SILVERMAN:    Form; asked and answered.

      14          A.      It showed -- no, not -- not specifically,

      15    no.        It just showed a diagram of      you know, it

      16    explained the procedure and what kind of cystocele

      17    repair I was going to have.          She specified that.   I

      18    think she circled it.         And then it showed me how the

      19    mesh and the sling -- and the sling was going --

     20     where -- what happens inside the vagina or the

     21     pelvic area and stuff, what the diagram looked like

     22     when the sling and the mesh was intact.

     23           Q.     And so that was not a brochure specific to

     24     the mesh that was being used for your

     25           A.     Not a specific mesh


    Golkow Litigation Services                                             Page 228
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 230 of 291 PageID
                               Raeann
                                   19024M. Bayless

       1             MR. SILVERMAN:    Object to form; asked and

       2       answered.

       3       A.    -- what the mesh was going to do.

       4       Q.    And do you still have that brochure?

       5             MR. SILVERMAN:    Asked and answered; object

       6       to form.

       7       A.    I don't believe so.    This was five years

       8    ago, so I kept it -- kept up with it for a little

       9    while but I've moved.

      10       Q.    Did Dr. Jones tell you if there were any FDA

      11    notices or guidances for patients regarding surgical

      12    mesh?

      13             MR. SILVERMAN:    Object to the form.

      14       A.    No.

      15       Q.    Were you aware that FDA had issued safety

      16    communications about mesh procedures before you

      17    first went to Dr. Jones?

      18             MR. SILVERMAN:    Object to form.

      19       A.    I don't remember that, no.

     20        Q.    So you don't recall Dr. Jones telling you

     21     about any FDA communications about mesh procedures?

     22              MR. SILVERMAN:    Form; asked and answered.

     23        A.    No.

     24        Q.    Other than the brochure that you've

     25     described, did Dr. Jones give you any other


    Golkow Litigation Services                                           Page 229
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 231 of 291 PageID
                               Raeann
                                   19025M. Bayless

       1    paperwork on mesh surgery?

       2       A.      I don't remember.

       3       Q.      Do you recall if she showed you any sample

       4    mesh?

       5       A.      No, she didn't.

       6               MR. SILVERMAN:     Object to form.

       7       Q.      Or pictures of mesh?

       8               MR. SILVERMAN:     Form.

       9       A.      I don't recall that but I don't believe so.

      10       Q.      And if I understand you correctly, the

      11    brochure that you're referencing is not one that was

      12    put out by my client specific to its product,

      13    correct?

      14               MR. SILVERMAN:     Object to form.

      15               THE WITNESS:     Do I answer it?

      16       Q.      Yes.

      17               MR. SILVERMAN:     You can answer it.

      18       A.      No, I don't remember any specific

      19    manufacturer brochure, no.

     20        Q.      Do you recall signing any consent forms the

     21     day of your surgery in August of 2013?

     22                MR. SILVERMAN:     Form; asked and answered.

     23        Counsel, this has been discussed for a very long

     24        time.     I mean, this has been asked and answered

     25        countless times.       I continue to let her answer


    Golkow Litigation Services                                           Page 230
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 232 of 291 PageID
                               Raeann
                                   19026M. Bayless

       1       the same questions over and over about -- both of

       2       you guys have reviewed the exhibits containing

       3       the consent forms over and over and have been

       4       asking the questions about consent forms over and

       5       over.     And that's the same question.

       6               MS. HOWARD:   Counsel, you can object to the

       7       form.

       8               MR. SILVERMAN:   I'm just stating my

       9       objection so you understand that this has been

      10       repeated over and over again.

      11    BY MS. HOWARD:

      12       Q.      Ms. Bayless

      13               MR. SILVERMAN:   You can answer the question

      14       again.

      15       A.      I don't remember if I signed it --

      16               MR. SILVERMAN:   I am not going to continue

      17       to let her answer the same questions over and

      18       over.

      19       A.      I am sure there was a form I signed right

     20     before but I don't remember what it was.

     21        Q.      If you would, please look at Exhibit 3.

     22                MR. SILVERMAN:   Which one is that, the

     23        surgery procedure consent form?

     24        A.      Yes.

     25        Q.      And this is a document that you signed the


    Golkow Litigation Services                                           Page 231
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 233 of 291 PageID
                               Raeann
                                   19027M. Bayless

       1    day of your surgery, correct?

       2       A.    It vaguely looks familiar, but I don't

       3    remember it.      Yeah.

       4       Q.    And if you would, look down at Number 3,

       5    which starts:      "In discussion with the above-named

       6    physician," which refers to Kathy Jones, "and/or

       7    associate, I have been informed of and understand."

       8             And then it has A, B, C, D, E.    Do you see

       9    that?

      10       A.    Yeah, I do.

      11       Q.    And it states under A:     "The benefits, risks

      12    and complications of this specific

      13    surgery/procedures."

      14             Right?

      15       A.    Yes.

      16             MR. SILVERMAN:     Form.

      17       Q.    And then under Bit states that you were

      18    informed of and understood that there were

      19    significant risks, such as severe loss of blood,

     20     damage to surrounding organs, and so on and so

     21     forth.   Do you see that?

     22        A.    Yeah, I do.

     23              MR. SILVERMAN:     Form.

     24        Q.    And then in D it says that:     "Medically

     25     acceptable alternatives/therapies and the benefits,

    Golkow Litigation Services                                           Page 232
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 234 of 291 PageID
                               Raeann
                                   19028M. Bayless

       1    risks, and complications of those alternatives or

       2    therapies."

       3             Do you see that?

       4       A.    I do.

       5             MR. SILVERMAN:     Form.

       6       Q.    And if you turn to the second page of this,

       7    right before your signature, do you see there is a

       8    box?

       9       A.    I do.

      10       Q.    And it states:     "I have had sufficient

      11    opportunities to discuss the medical condition and

      12    the planned surgery/procedure," and that all of your

      13    questions have been answered to your satisfaction.

      14       A.    Uh-huh.

      15       Q.    Do you see that?

      16       A.    I do.

      17             MR. SILVERMAN:     Form.

      18       Q.    And then you signed that form, correct?

      19       A.    I did.

     20        Q.    What is your understanding of the portion of

     21     your procedure that Dr. Jones did that used mesh to

     22     fix your prolapse?

     23              MR. SILVERMAN:     Object to form.

     24        A.    I'm not sure exactly what you're talking

     25     about.


    Golkow Litigation Services                                           Page 233
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 235 of 291 PageID
                               Raeann
                                   19029M. Bayless

       1       Q.    What is your understanding of how

       2    Dr. Jones

       3       A.    I knew that there was going to be a mesh

       4    implant and a bladder sling.      Other than that, I

       5    don't know about the extent of what you're talking

       6    about.

       7       Q.    So do you know the name of my client's

       8    product or device?

       9       A.    I did not, no.

      10       Q.    Did Dr. Jones explain to you that the

      11    procedure was going to be done abdominally as

      12    opposed to transvaginally?

      13       A.    With a robotic -- yes.

      14       Q.    And did -- do you recall the discussion with

      15    Dr. Jones about why she was choosing to use mesh for

      16    your prolapse repair?

      17             MR. SILVERMAN:   Form.

      18       A.    No, I don't remember discussing that with

      19    her at all.

     20        Q.    Did you ask Dr. Jones about her experience

     21     in performing the procedure using that mesh?

     22        A.    I believe we did, yes.

     23        Q.    What do you recall about that?

     24        A.    That she had had some former experience.

     25        Q.    That she had done the procedure with that


    Golkow Litigation Services                                           Page 234
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 236 of 291 PageID
                               Raeann
                                   19030M. Bayless

       1       A.    Previous experience.

       2       Q.    -- with that mesh before?

       3             MR. SILVERMAN:   Form.

       4       A.    Not specifically with that mesh or the name

       5    brand mesh, but that she had performed surgeries

       6    with mesh before.

       7       Q.    Now, Dr. Jones also performed a hysterectomy

       8    on that same date, correct?

       9       A.    A partial hysterectomy, yes.

      10       Q.    And what do you mean when you say partial

      11    hysterectomy?

      12             MR. SILVERMAN:   Form.

      13       A.    Because it's my understanding -- I'm not a

      14    medical person but that a total or a full

      15    hysterectomy is with the ovaries taken out as well.

      16       Q.    And your ovaries weren't taken out?

      17       A.    No, they were not.

      18       Q.    And was that a discussion that you had with

      19    Dr. Jones?

     20        A.    No.    I elected to have the uterus and the

     21     cervix taken out.

     22        Q.    And why did you elect to have your uterus

     23     and cervix taken out?

     24        A.    Because it was

     25              MR. SILVERMAN:   Form.


    Golkow Litigation Services                                           Page 235
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 237 of 291 PageID
                               Raeann
                                   19031M. Bayless

       1       A.    Because, like I said before, when I was

       2    having sex, my partner's penis would hit the cervix

       3    or the uterus and sometimes cause pain.

       4       Q.    And is that why you elected to have a

       5    hysterectomy at all or why you wanted to have your

       6    cervix removed?

       7             MR. SILVERMAN:    Object to form.

       8       A.    That is -- I elected to do that because

       9    of -- part of for that reason and part I thought it

      10    would improve the things all the way around.

      11       Q.    What do you mean that they would improve

      12    things all the way around?

      13       A.    As far as the gaping open of my vagina.

      14       Q.    And did Dr. Jones tell you that that was

      15    correct, that it would improve things all around, as

      16    you put it?

      17             MR. SILVERMAN:    Object to form.

      18       A.    She said that -- she didn't really say

      19    anything about it cosmetically, no.     She just -- I

     20     just asked her would that help tight -- you know,

     21     with the closing the gap, so to speak, and she said

     22     it would help some, she didn't know how much.

     23        Q.    Well, whose idea was it for you to have a

     24     hysterectomy?     Was it something that Dr. Jones

     25     suggested or you asked about?


    Golkow Litigation Services                                           Page 236
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 238 of 291 PageID
                               Raeann
                                   19032M. Bayless

       1       A.     I elected to do that.      I asked her to do it,

       2    because I didn't want to have a period anymore.

       3       Q.     What other reasons did you have for

       4    wanting

       5       A.     Because of the

       6              MR. SILVERMAN:     Form.

       7       A.     Because of it sagging down into the vagina

       8    and when it hit      the penis hit my cervix,

       9    sometimes it would cause pain.

      10       Q.     Did Dr. Jones talk to you about the risks of

      11    having a hysterectomy?

      12              MR. SILVERMAN:     Object to form; asked and

      13       answered.

      14              THE WITNESS:     What did you say?

      15              MR. SILVERMAN:     You can answer.

      16       A.     Oh, it was just general surgical risks.        She

      17    didn't say anything one way -- except the only thing

      18    that she added was that it could send me right into

      19    menopause, although she said that the cervix and the

     20     uterus, it didn't -- it didn't produce any hormones

     21     that would make major changes in my body.

     22        Q.     Do you recall Dr. Jones talking to you about

     23     the risks of doing the hysterectomy at the same time

     24     as doing the mesh procedures for the treatment of

     25     your prolapse


    Golkow Litigation Services                                             Page 237
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 239 of 291 PageID
                               Raeann
                                   19033M. Bayless

       1       A.      No.

       2               MR. SILVERMAN:   Form.

       3       Q.      You do not?

       4       A.      No.   It seemed like it was all -- had a

       5    certain amount of risk to it anyway.

       6       Q.      Did you understand whether there were

       7    increased healing risks or other risks from doing

       8    the hysterectomy at the same time?

       9       A.      No, I don't remember that.

      10       Q.      Why did you decide to have the procedures at

      11    the same time?

      12               MR. SILVERMAN:   Object to form.

      13       A.      Because I didn't want to go back and have

      14    to -- excuse me -- and have to go through another

      15    surgery.

      16       Q.      Was it your idea or Dr. Jones' to have them

      17    at the same time?

      18               MR. SILVERMAN:   Form.

      19       A.      I think when I requested it, it was a mutual

     20     agreement.

     21        Q.      Do you recall any discussion with Dr. Jones

     22     about removing       the effect that removing your

     23     cervix would have on shortening the length of your

     24     vagina?

     25        A.      No, I don't remember.


    Golkow Litigation Services                                           Page 238
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 240 of 291 PageID
                               Raeann
                                   19034M. Bayless

       1       Q.      Did you have an understanding that having

       2    your cervix removed would shorten the length of your

       3    vagina?

       4               MR. SILVERMAN:     Form.

       5       A.      No, I don't remember those things

       6    specifically, no.

       7       Q.      If you would, look back at Exhibit 2,

       8    please.

       9       A.      Okay.

      10       Q.      The third page of it,      "Hysterectomy Surgical

      11    Consent Form."

      12               MR. SILVERMAN:     I don't have mine numbered.

      13       Tell me which one that was.

      14               MS. HOWARD:    Exhibit 2, page 3.

      15               MR. SILVERMAN:     No, the -- I don't have it

      16       marked.

      17               MS. HOWARD:    Hysterectomy Surgical Consent

      18       Form.

      19               THE WITNESS:     It looks like this.

     20     BY MS. HOWARD:

     21        Q.      Did you find it?

     22        A.      And what are we looking at on page 3?

     23        Q.      First of all, you signed that at the bottom,

     24     right?

     25        A.      I did.


    Golkow Litigation Services                                             Page 239
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 241 of 291 PageID
                               Raeann
                                   19035M. Bayless

       1             MR. SILVERMAN:     Form.

       2       Q.    And if you look at that first paragraph,

       3    about five lines down, it states:        "It is possible

       4    that this operation will not help you.        It is even

       5    possible that you will be worse after the operation

       6    than you are now.    Because of these facts, your

       7    doctor can make no guarantees to the results that

       8    may be obtained from this operation."

       9             Do you see that?

      10             MR. SILVERMAN:     Object to form.

      11       A.    No, I don't.     About five lines down in the

      12    third paragraph?

      13       Q.    The first paragraph.

      14       A.    Okay.   Yeah, I see it.

      15       Q.    And then it references that you're having

      16    robotic assisted laparoscopic hysterectomy.

      17       A.    Yes, I see that.

      18       Q.    And then the paragraph after all the blanks

      19    that starts "most patients." Do you see that?

     20        A.    Yes.

     21        Q.    It then states:     "Problems can happen

     22     ranging from minor to fatal.        These may include

     23     nausea, vomiting, pain, bleeding, infections, poor

     24     healing, formation of adhesion, damage to

     25     surrounding areas, nerve damage causing weakness,


    Golkow Litigation Services                                           Page 240
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 242 of 291 PageID
                               Raeann
                                   19036M. Bayless

       1    numbness and pain in thighs, legs, and feet, blood

       2    clots in legs and lungs, shortening of the vagina,

       3    depression, or even loss of libido."

       4             Do you see that?

       5             MR. SILVERMAN:     Form.

       6       A.    I do.

       7       Q.    And then a few sentences down it states

       8    that:    "Physical and sexual activity will be

       9    restricted in varying degrees for an immediate

      10    period of time depending on the type of surgery

      11    done."

      12             Do you see that?

      13             MR. SILVERMAN:     Form.

      14       A.    That have a what?     I can't hear you.

      15       Q.    Well, it says that physical and sexual

      16    activity will be restricted in varying degrees for

      17    an immediate period of time depending on --

      18       A.    After the surgery, yes, you can't have sex

      19    right after the surgery.      I understood that.

     20        Q.    And then it states that some women may show

     21     signs of menopause, such as mood swings and hot

     22     flashes after the hysterectomy, which is what you

     23     mentioned a moment ago, correct?

     24        A.    Exactly.

     25              MR. SILVERMAN:     Form.

    Golkow Litigation Services                                           Page 241
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 243 of 291 PageID
                               Raeann
                                   19037M. Bayless

       1       Q.      And again, after signing this consent form,

       2    you agreed to the surgery?

       3       A.      I did.

       4               MR. SILVERMAN:    Form.

       5       Q.      And you trusted your doctor?

       6       A.      I did.

       7       Q.      Following the surgery that you had done on

       8    August 9th of 2013, your prolapse went away,

       9    correct?

      10               MR. SILVERMAN:    Form.

      11       A.      It was better than before, yes.

      12       Q.      And that was the repair that Dr. Jones

      13    indicated she would be able to do for you, correct?

      14       A.      That's correct.

      15               MR. SILVERMAN:    Form.

      16       Q.      And you went home from the hospital the next

      17    day; is that right?

      18       A.      Yes, I did.   It might have been the same

      19    day.

     20        Q.      Okay.

     21        A.      Because it was outpatient surgery.

     22        Q.      And do you recall that after the surgery you

     23     were to follow up with Dr. Jones in one or two

     24     weeks, does that sound right?

     25        A.      I do understood -- I understood that, yes.


    Golkow Litigation Services                                           Page 242
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 244 of 291 PageID
                               Raeann
                                   19038M. Bayless

       1       Q.      And to the best of your recollection, did

       2    you return to Dr. Jones in one or two weeks?

       3       A.      No, I don't think I did.   I'm not sure if I

       4    went back one more time after that or if I did not,

       5    because we had moved to Titusville.      We were in the

       6    process and we were actually already in Titusville,

       7    but the surgery was set up in Orlando and I wanted

       8    to follow through with the surgery.      So then

       9    afterwards, we definitely did not live in Orlando

      10    anymore.

      11       Q.      Now, well, elsewhere in your records there

      12    is references that you've missed several doctors'

      13    appointments because of providing care to your

      14    mother and to your grandchildren, and also that

      15    you've been sidetracked by your drug use.

      16               Would that be an accurate explanation

      17       A.      No, not about the drug use.

      18               MR. SILVERMAN:   Object to form.

      19       A.      It was more of the distance, because I was

     20     residing in Titusville and I couldn't afford to go

     21     back and forth.     I had a car at the time that broke

     22     down and I just couldn't travel the distance.      I was

     23     still healing, so I didn't travel the distance to go

     24     back to see Kathy Jones.

     25        Q.      What discharge instructions did Dr. Jones

    Golkow Litigation Services                                           Page 243
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 245 of 291 PageID
                               Raeann
                                   19039M. Bayless

       1    give you before you went to see her again?

       2       A.     I don't remember.

       3       Q.     Well, for example, avoiding heavy lifting?

       4              MR. SILVERMAN:   Object to form.

       5       A.     Well, that was a given, I knew not to do

       6    that, but I don't remember any of the specifics

       7    except for the healing -- about, you know, a vague

       8    healing      I remember vaguely the healing time

       9    frame.    I don't remember -- I knew I wasn't supposed

      10    to lift anything heavy because it could tear down

      11    whatever repairs she had done.     Other than that, I

      12    don't remember exactly the instructions.

      13       Q.     Well, do you recall Dr. Jones instructing

      14    you to avoid sexual intercourse for a period of

      15    time?

      16       A.     Oh, yes, I definitely remember that.

      17       Q.     And what was her instruction as to how long

      18    you should wait on that?

      19       A.     If my recollection is correct, I think it

     20     was like three months or something like that, and

     21     that's what I did.

     22        Q.     And did she explain why you were not to have

     23     intercourse for that amount of time?

     24        A.     So I could heal properly.

     25               MR. SILVERMAN:   Form.

    Golkow Litigation Services                                           Page 244
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 246 of 291 PageID
                               Raeann
                                   19040M. Bayless

       1       A.    It takes that long for me to heal.

       2       Q.    Do you recall going to the emergency room a

       3    couple days after the surgery?

       4       A.    I did, but it was unrelated to the surgery.

       5    It was from the anesthesia.    Apparently I ate too

       6    soon after having the surgery and the gas from the

       7    anesthesia was still inside me and I ate too soon

       8    and it kind of like inflated my stomach to the point

       9    of it was painful and uncomfortable.

      10       Q.    And so you were constipated?

      11       A.    No, I wasn't constipated.   I was just

      12    bloated, really bloated with gas.

      13       Q.    Well, were you able to defecate after the

      14    surgery or were you --

      15       A.    I don't remember how it got alleviated but I

      16    know it wasn't -- I know they told me not to eat

      17    anymore until I did have a bowel movement, and that

      18    there was still gas from the anesthesia still inside

      19    my body and that it contributed to whatever, the

     20     bloating.

     21        Q.    Ms. Bayless, the records that we have

     22     indicate that you went back to see Dr. Jones about

     23     six-and-a-half weeks after your surgery.      Does that

     24     sound about right?

     25        A.    I don't even remember really going back to


    Golkow Litigation Services                                           Page 245
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 247 of 291 PageID
                               Raeann
                                   19041M. Bayless

       1    her.

       2       Q.    Well, if you would, look at Exhibit 9 in

       3    front of you.

       4             MR. SILVERMAN:    Which one is that called?

       5       Is that the last one?

       6             MS. HOWARD:   I believe so, yeah.

       7       A.    Okay.

       8       Q.    And do you see on the very first page there

       9    is an encounter date of 9/24/2013?

      10       A.    On the first page?

      11       Q.    Yeah.

      12       A.    Okay.   I see it, yes.

      13       Q.    And then it says HP!, which is history of

      14    present illness, and it says you are six weeks,

      15    three days postop.

      16       A.    Okay.

      17       Q.    And it says that you've been unable to

      18    return to the office since the surgery due to

      19    transportation problems.

     20        A.    Okay.

     21        Q.    Is that consistent?

     22              MR. SILVERMAN:    Form.

     23        A.    That's what I just said a few minutes ago.

     24        Q.    And if you would go to the second page of

     25     this document, about halfway down there is a place


    Golkow Litigation Services                                           Page 246
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 248 of 291 PageID
                               Raeann
                                   19042M. Bayless

       1    that says ROF, which stands for review of systems.

       2       A.      Yes.

       3       Q.      Do you see that?     And if you go about seven

       4    or so lines from the bottom, it references that you

       5    report dry vaginal mucosa.

       6       A.      I don't even know what that is.        I know,

       7    obviously, your vagina is dry.

       8       Q.      Do you recall experiencing that symptom at

       9    that point in time?

      10               MR. SILVERMAN:     Form.

      11       A.      No, I don't.

      12       Q.      Well, just generally speaking, had you been

      13    experiencing dryness before the surgery?

      14               MR. SILVERMAN:     Form.

      15       A.      I don't think so.

      16       Q.      So after the surgery were you experiencing

      17    dryness?

      18       A.      Apparently.     I don't recall.     That's five

      19    years ago.        I don't remember all that.

     20        Q.      So you are unable to recall at what point

     21     after the surgery you first noticed the dryness?

     22                MR. SILVERMAN:     Object to form.

     23        A.      Yeah, I don't remember specifically when.

     24        Q.      And then it states, toward the end of that

     25     same line:        "She reports decreased libido and


    Golkow Litigation Services                                           Page 247
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 249 of 291 PageID
                               Raeann
                                   19043M. Bayless

       1    orgasmic dysfunction."

       2             Do you see that?

       3       A.    What is that?

       4       Q.    It says:   "She reports decreased libido and

       5    orgasmic dysfunction."

       6             Decreased libido

       7       A.    I know what that is.

       8       Q.    Okay.   Do you recall experiencing decreased

       9    libido at this point in time?

      10             MR. SILVERMAN:     Form.

      11       A.    No, but I am thinking that it was because of

      12    I've had surgery and I didn't feel like having sex,

      13    and that, you know, my sex drive from -- because I'm

      14    still healing and have pain, I probably didn't feel

      15    like having sex, and cause more pain.

      16       Q.    Do you recall at what point after the

      17    surgery you first felt that way?

      18       A.    No.

      19       Q.    Do you recall at what point after the

     20     surgery that went away?

     21        A.    No.

     22        Q.    Ant it also reports orgasmic dysfunction, in

     23     other words, difficulty reaching orgasm.     Do you see

     24     that?

     25        A.    I understand what that means.


    Golkow Litigation Services                                           Page 248
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 250 of 291 PageID
                               Raeann
                                   19044M. Bayless

       1       Q.      When did you first experience that?

       2       A.      I don't even remember.

       3       Q.      Would you agree that you reported

       4    experiencing it as of this visit?

       5               MR. SILVERMAN:     Form.

       6       A.      I don't actually remember that.

       7       Q.      Had you been experiencing orgasmic

       8    dysfunction before your surgery?

       9       A.      No.

      10       Q.      And you don't recall at what point after the

      11    surgery

      12       A.      No, I don't.

      13       Q.      -- you started noticing orgasmic

      14    dysfunction?

      15               MR. SILVERMAN:     Form.

      16       Q.      If you would look to the next page, there is

      17    a discussion at the top.

      18       A.      Wait.     Where is that?

      19       Q.      The next page of the document that has

     20     "Aftercare Following Surgery of the Genitourinary

     21     System."

     22        A.      Aftercare?     Discussion on the last page?

     23        Q.      On the third page.

     24        A.      The front or the       let me see.   One, two

     25     okay.     Hold on.     ROS, is that where you're at?


    Golkow Litigation Services                                           Page 249
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 251 of 291 PageID
                               Raeann
                                   19045M. Bayless

       1       Q.     It's the third page of the document.      It has

       2    got the little numbers at the bottom in the middle

       3    that says 205.

       4              MR. SILVERMAN:    Where on the page are you?

       5              MS. HOWARD:    It's on page 205.

       6              MR. SILVERMAN:    No, where on the page are

       7       you?

       8              MS. HOWARD:    At the top.

       9              MR. SILVERMAN:    Okay.

      10       A.     Oh, "Aftercare Following Surgery."

      11       Q.     Yes.

      12       A.     Yes, I see it.    I'm sorry.

      13       Q.     And then it says:    "Discussed post op

      14    activity and restrictions, encouraged adherence."

      15       A.     I see it.

      16       Q.     Do you recall that discussion with

      17    Dr. Jones?

      18       A.     No, I don't.

      19              MR. SILVERMAN:    Form.

     20        Q.     And it's your testimony that as of this

     21     point in time you were adhering to activity

     22     restrictions?

     23        A.     I did, yes.

     24        Q.     The next line after that says to continue

     25     stool softeners.      Did Dr. Jones explain why you were


    Golkow Litigation Services                                           Page 250
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 252 of 291 PageID
                               Raeann
                                   19046M. Bayless

       1    to do that?

       2       A.      I -- I remember her saying that that was

       3    necessary but I don't remember why.        I think it had

       4    something to do with the way they connected the

       5    cystocele          tacked it back up or something, and it

       6    has something to do with the pelvic muscle that they

       7    connected it to and that it would cause

       8    incontinence         or constipation.

       9               MR. SILVERMAN:    Let's take a short break,

      10       because we're going over an hour already.        I need

      11       to step out.

      12               THE VIDEOGRAPHER:     Off the record at 4:03.

      13             (Recess from 4:03 p.m. until 4:21 p.m.)

      14               THE VIDEOGRAPHER:     Back on the record at

      15       4:21.

      16    BY MS. HOWARD:

      17       Q.      Are you ready to continue, Ms. Bayless?

      18       A.      I am.

      19       Q.      Did you talk to your attorney during the

     20     break?

     21        A.      I did.

     22                MR. SILVERMAN:    Object to form.

     23        Q.      How many cigarettes have you smoked during

     24     your deposition today?

     25                MR. SILVERMAN:     Can you speak up a little


    Golkow Litigation Services                                           Page 251
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 253 of 291 PageID
                               Raeann
                                   19047M. Bayless

       1       bit because I can't hear you now.

       2             MS. HOWARD:    Sorry.

       3    BY MS. HOWARD:

       4       Q.    How many cigarettes have you smoked during

       5    your deposition today?

       6             MR. SILVERMAN:     Object to form.

       7       A.    Three.

       8       Q.    Before we went off the record we were

       9    looking at a medical record that I believe you have

      10    in front of you, which had a discussion from the

      11    visit on September 24th, 2013.      Do you still have

      12    that in front of you?

      13       A.    When was the date again?

      14       Q.    Well, it was from the visit to Dr. Jones on

      15    September 24th, 2013, and we were looking at that

      16    discussion section, correct, At the top of the page?

      17       A.    Okay.    The aftercare?

      18       Q.    Right.

      19       A.    All right.

     20        Q.    And then underneath what we have just talked

     21     about it states:      "Patient interested in LVR,

     22     discussed briefly."

     23              Do you see that?

     24              MR. SILVERMAN:     Form.

     25        Q.    It is the third line under discussion.


    Golkow Litigation Services                                           Page 252
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 254 of 291 PageID
                               Raeann
                                   19048M. Bayless

       1             MR. SILVERMAN:   What page are you on?

       2             MS. HOWARD:    Same page we were on, the one

       3       that is marked 205.

       4       A.    I see where it says aftercare follow-up and

       5    then discussion.

       6       Q.    And then the third line says:    "Patient

       7    interested in LVR, discussed briefly."

       8       A.    Yes, I do see that.

       9       Q.    Do you recall what LVR stands for?

      10             MR. SILVERMAN:    Form.

      11       A.    I think it's the name of the surgery, the

      12    type of surgery, but I'm not sure.

      13       Q.    Do you recall talking to Dr. Jones about

      14    laser vaginal rejuvenation?

      15       A.    No, I don't.

      16       Q.    Well, this states "patient interested in

      17    LVR." Which stands for laser vaginal rejuvenation.

      18       A.    Okay.

      19       Q.    And it states "patient interested in LVR."

     20     So do you recall whether in this note or not,

     21     talking to Dr. Jones and being interested in laser

     22     vaginal rejuvenation?

     23              MR. SILVERMAN:    Form; asked and answered.

     24        You can answer.

     25        A.    I don't remember, but I know that was part


    Golkow Litigation Services                                           Page 253
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 255 of 291 PageID
                               Raeann
                                   19049M. Bayless

       1    of the reason why I went.

       2       Q.    Part of the reason why you went where?

       3       A.    To seek medical help or her medical skills.

       4       Q.    Is it part of the reason why you went to

       5    Dr. Jones, you mean?

       6       A.    Exactly, yes.

       7       Q.    And when you say that was part of the

       8    reason, what was part of the reason you went to

       9    Dr. Jones?

      10             MR. SILVERMAN:    Form.

      11       A.    The vaginal rejuvenation.

      12       Q.    And what kind of vaginal rejuvenation were

      13    you hoping to experience?

      14       A.    The tightening.

      15             MR. SILVERMAN:    Object to form.

      16       Q.    And that was -- so that was based on your

      17    preoperative condition?

      18       A.    Exactly -- yes.

      19             MR. SILVERMAN:    Form.

     20        Q.    And so as of this visit in September of

     21     2013, did you think you needed the LVR?

     22        A.    I did think that, yes.

     23              MR. SILVERMAN:    Object to form.

     24        Q.    And why?

     25        A.    Because it was


    Golkow Litigation Services                                           Page 254
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 256 of 291 PageID
                               Raeann
                                   19050M. Bayless

       1              MR. SILVERMAN:    Form.

       2       A.     -- with the bladder falling down into the

       3    vaginal canal, like I said before, the pelvis

       4    muscle, which is strengthened by the Kegel

       5    exercises, was very strong and intact, but the

       6    open -- the gapping, the opening, however you want

       7    to put it, the gapping open of the vagina didn't

       8    have anything to do with that and I felt like I

       9    needed some more, something else.

      10       Q.     And so this was post surgically that you

      11    needed this additional --

      12       A.     I still asked her about it.     I'm not sure

      13    afterwards if I asked her about it, but I know I did

      14    before.    I wanted that to be part of the surgery,

      15    but she informed me that it was more cosmetic, not

      16    medically necessary, that the funding wouldn't cover

      17    it because it wasn't medically necessary.

      18       Q.     And when did she tell you that?

      19       A.     I'm not sure.     I think afterwards, maybe

     20     right before, I'm not         I'm not sure exactly when.

     21        Q.     So you, prior to coming to Dr. Jones, you

     22     had been experiencing dissatisfaction with how

     23     things were performing and therefore you wanted this

     24     rejuvenation?

     25        A.     I always wanted


    Golkow Litigation Services                                           Page 255
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 257 of 291 PageID
                               Raeann
                                   19051M. Bayless

       1               MR. SILVERMAN:   Object to form.   You can

       2       answer.

       3       A.      I don't know if I asked anybody else about

       4    it, except maybe Dr. Beason and I don't even

       5    remember what she said, except that there is some

       6    kind of procedure to rejuvenate, although I don't

       7    think it was called that at the time, but

       8       Q.      Well, was it your understanding that your

       9    vagina was tightened during the surgery?

      10               MR. SILVERMAN:   Object to form; scope.

      11       A.      I had asked -- I had asked -- requested

      12    that, but because it wasn't medically necessary, she

      13    told me that that wasn't going to be part of the

      14    surgery.

      15       Q.      Well, just as a result of the surgery, did

      16    your vagina feel tighter?

      17               MR. SILVERMAN:   Object to form.

      18       A.      It was not as gapped open but it wasn't how

      19    I wanted it to be.

     20        Q.      As a result of the surgery -- or following

     21     the surgery, I should say, did your vagina feel

     22     shorter?

     23                MR. SILVERMAN:   Object to form.

     24        A.      Shorter?

     25                MR. SILVERMAN:   Outside the witness's


    Golkow Litigation Services                                           Page 256
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 258 of 291 PageID
                               Raeann
                                   19052M. Bayless

       1       expertise.     You can answer if you know.

       2       A.    There wasn't organs in the way, so I -- but

       3    I don't know about shorter.

       4       Q.    Did you ultimately have LVR done at any

       5    point in time?

       6       A.    No.

       7       Q.    Earlier Ms. Erixson walked you through all

       8    of the post surgical complaints that you have

       9    experienced.     Do you remember going through that

      10    list with her?

      11       A.    Not specifically.

      12       Q.    But you recall she asked you to go through

      13    and list all of the injuries or symptoms that you've

      14    claimed from your mesh devices, correct?

      15       A.    Yes.

      16       Q.    And you gave her a complete list of your

      17    symptoms or your injuries or your complaints?

      18       A.    Yes.

      19             MR. SILVERMAN:    Object to form.

     20        Q.    And so there weren't any other specific

     21     injuries that you allege against my client, correct,

     22     you gave her the complete list?

     23              MR. SILVERMAN:    Object to form.

     24        A.    I gave her the complete list.

     25        Q.    And has any doctor told you that any of your


    Golkow Litigation Services                                           Page 257
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 259 of 291 PageID
                               Raeann
                                   19053M. Bayless

       1    claimed symptoms or injuries were related to the

       2    pelvic mesh devices that you had implanted?

       3               MR. SILVERMAN:   Form.

       4       A.      They did.

       5       Q.      Who?

       6       A.      Dr. Garcia at the emergency room, and the

       7    doctor       the woman doctor, which I do not remember

       8    her name, at Brevard Health Alliance in Melbourne,

       9    the urogynecologist.

      10       Q.      So what is it that Dr. Garcia said?

      11       A.      Just that there was mesh erosion,

      12    perforation, and that was a cause of most of my

      13    problems.

      14       Q.      And on how many occasions did you see

      15    Dr. Garcia?

      16       A.      At least once, I think it was twice.

      17       Q.      And that would have been in the emergency

      18    room on

      19               MR. SILVERMAN:   Form.

     20        A.      Both times in the emergency room.     He was an

     21     emergency room doctor.

     22        Q.      And Dr. Garcia didn't specify what mesh that

     23     he claimed was the cause of your problems; is that

     24     correct?

     25        A.      Just that it was the mesh.

    Golkow Litigation Services                                           Page 258
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 260 of 291 PageID
                               Raeann
                                   19054M. Bayless

       1               MR. SILVERMAN:     Object to form.

       2       Q.      And Dr. Garcia wouldn't have had access to

       3    your medical records or your surgery records,

       4    correct?

       5       A.      He did a physical --

       6               MR. SILVERMAN:     Object to form.

       7       A.      -- examination.     That's what he based it on,

       8    and from what I -- symptoms that I conveyed to him.

       9       Q.      But he didn't have access to your full

      10    medical history?

      11       A.      He could have --

      12               MR. SILVERMAN:     One second.   Object to form;

      13       calls for speculation.        You can answer if you

      14       know.

      15       A.      That didn't come up.

      16       Q.      So that's a no?

      17               MR. SILVERMAN:     Object to form; misstates

      18       testimony.

      19       A.      He didn't even ask -- he didn't request

     20     them.

     21        Q.      And you mentioned the doctor at Brevard.

     22     That's the doctor who you told Dr. -- I'm sorry, who

     23     you told Ms. Erixson had told you that you should

     24     have something removed?

     25        A.      I should have       have everything removed,


    Golkow Litigation Services                                            Page 259
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 261 of 291 PageID
                               Raeann
                                   19055M. Bayless

       1    yes.

       2       Q.      And again, that wasn't specific to any mesh

       3    product?

       4       A.      No, just --

       5               MR. SILVERMAN:   Object to form.

       6       A.      -- that it attributed to the mesh implant

       7    and the bladder sling that I had.

       8       Q.      And again, she didn't have access to your

       9    medical records, did she --

      10               MR. SILVERMAN:   Object to form; speculation.

      11       Q.      -- from your surgery?

      12               MR. SILVERMAN:   You can answer if you know.

      13       A.      Only whatever records were already at my

      14    primary care physician and in their records.

      15       Q.      And you don't recall her reviewing those

      16    records while she was sitting there with you,

      17    correct?

      18               MR. SILVERMAN:   Object to form; calls for

      19       speculation.     If you know the answer to it, you

     20        can answer.

     21        A.      I don't know the answer.

     22        Q.      And those are the two doctors who you claim

     23     told you that some of your complaints were related

     24     to your mesh devices, correct?

     25                MR. SILVERMAN:   Form.


    Golkow Litigation Services                                           Page 260
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 262 of 291 PageID
                               Raeann
                                   19056M. Bayless

       1       Q.    There is no other doctor who has ever made

       2    any sort of

       3       A.    No.

       4       Q.    Allegations?

       5             MR. SILVERMAN:   Form.

       6       Q.    And Dr. Jones has never said that any

       7    complaints that you had were related to your mesh

       8    devices, correct?

       9             MR. SILVERMAN:   Form.

      10       A.    Because I never followed up with her, with

      11    all the appointments that I should have.       I had

      12    moved.

      13       Q.    You haven't experienced recurrence of your

      14    prolapse symptoms, correct?

      15             MR. SILVERMAN:   Form.

      16       A.    I have not had anything but a physical --

      17    like a     what do they call that, not a Pap smear,

      18    but actually a physical -- something that's related

      19    to it, just a look, observation with their eyes and

     20     their hands, or their hand.       I have not had any like

     21     pet scan or MRI or anything that could tell me more.

     22        Q.    Well, but you're not aware of having any

     23     recurrence of the cystocele, that you used to be

     24     able to see, for example, correct?

     25              MR. SILVERMAN:   Form.


    Golkow Litigation Services                                           Page 261
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 263 of 291 PageID
                               Raeann
                                   19057M. Bayless

       1       A.      I don't know if it's -- it's not like it was

       2    but -- I'm not sure to what extent it is still

       3    repaired or whatever.       I don't know.    I don't

       4    have -- I don't know about that.

       5       Q.      You haven't experienced any fistulas,

       6    correct?

       7       A.      What is that?

       8       Q.      You're not familiar with that term?

       9               MR. SILVERMAN:   Form.

      10       Q.      Correct?

      11               MR. SILVERMAN:   Form.

      12       A.      I've heard it before, but I don't know -- I

      13    can't recall exactly what it is.

      14       Q.      You don't recall being told you ever had

      15    one, correct?

      16               MR. SILVERMAN:   Object to form.

      17       A.      If they did, they didn't use that word.

      18       Q.      So you're not aware of ever being told you

      19    had a fistula following the surgery, correct?

     20                MR. SILVERMAN:   Object to form.

     21        A.      I don't know what that is.

     22                MR. SILVERMAN:   One second.     Object to form;

     23        misstates testimony.

     24     BY MS. HOWARD:

     25        Q.      I'm just confirming that you are not


    Golkow Litigation Services                                            Page 262
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 264 of 291 PageID
                               Raeann
                                   19058M. Bayless

       1    alleging that?

       2               MR. SILVERMAN:     Same objection.

       3          A.   I don't know, because I don't know what it

       4    means.     It might have been put in layman's terms.

       5          Q.   You're not alleging any neuromuscular

       6    problems, correct?

       7               MR. SILVERMAN:     Object to the form.   If you

       8          know, you can answer.

       9          A.   I don't know.

      10          Q.   You spoke with Ms. Erixson earlier about

      11    perforation.      Is it your testimony that you feel

      12    what you believe to be exposed mesh?

      13               MR. SILVERMAN:     Form.

      14          A.   Yes.

      15          Q.   Where do you feel it?

      16          A.   At the top -- like I -- for lack of a better

      17    term, the roof of my vagina is poking through.

      18          Q.   So up in -- at the apex or in the area where

      19    the uterus or cervix would have been?

     20           A.   No.    If I'm laying on the table, I'm the

     21     doctor, and I'm, you know, I'm examining the vagina,

     22     it's inside, on the top, but not all the way to the

     23     back, it's coming through the top of the vagina.

     24           Q.   And what -- have you ever physically seen

     25     it?


    Golkow Litigation Services                                           Page 263
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 265 of 291 PageID
                               Raeann
                                   19059M. Bayless

       1          A.     No.     I can't -- you can't physically see it

       2    from my point of view.

       3          Q.     And in what circumstances can you feel it?

       4                 MR. SILVERMAN:      Form.

       5          A.     When I examine myself with my fingers.

       6          Q.     And what is it that you feel?

       7          A.      Like wire protruding down from the top.

       8          Q.      Is it one piece?

       9                 MR. SILVERMAN:      Object to form.

      10          A.      Yes.   It's one long piece.    I don't know.

      11    I've -- around the perforation, around the hole

      12    itself, there's like -- I don't know how to describe

      13    it.        Shorter pieces maybe, some other wiry parts,

      14    but it's -- there's one wire that poked down.

      15          Q.      Has any sexual partner noticed this?

      16                 MR. SILVERMAN:      Object to form; calls for

      17          speculation.

      18          A.      If they did -- oh.

      19                 MR. SILVERMAN:      You can answer.

     20           A.      If they did, they didn't say anything, but I

     21     don't know how they didn't notice before he snipped

     22     it.

     23           Q.     And it's your testimony that it's Dr. Garcia

     24     who snipped it?

     25                  MR. SILVERMAN:      Object to form.


    Golkow Litigation Services                                            Page 264
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 266 of 291 PageID
                               Raeann
                                   19060M. Bayless

       1       A.    It is.

       2       Q.    And when was it that you first felt this

       3    perforation or --

       4       A.    I don't know how long.   Sometime right

       5    before the first time I saw Dr. Garcia in the

       6    emergency room that I noticed it.    I don't know how

       7    long it had been like that.

       8       Q.    Has Dr. Garcia given you any prognosis

       9    regarding your current complaints?

      10             MR. SILVERMAN:   Object to form.

      11       A.    No.   I just had some symptoms, I went to the

      12    emergency room mostly because of the bleeding and I

      13    knew that I didn't have a cervix or a uterus to

      14    bleed out of, and I could feel the stitched line was

      15    closed, so I needed to find out where the blood was

      16    coming from.

      17       Q.    What do you mean you could feel the stitch

      18    line was closed?

      19       A.    The back of the vagina or the bottom or

     20     however you want to put it, where the uterus and

     21     cervix used to be or was attached to, I believe.

     22     They stitched that closed and the blood was not

     23     coming from that line.    It was coming from somewhere

     24     else.

     25        Q.    As counsel discussed earlier, the last


    Golkow Litigation Services                                           Page 265
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 267 of 291 PageID
                               Raeann
                                   19061M. Bayless

       1    medical records that we have for you are from the

       2    year 2015.      What other doctors have you seen since

       3    2015 beyond whom we've already discussed?

       4       A.     Nothing for the mesh.

       5       Q.     Well, have you seen an OB since 2015?

       6       A.     No.

       7       Q.     Have you seen a primary care doctor since

       8    2015?

       9       A.     Yeah.

      10       Q.     What primary care doctor?

      11       A.     At Brevard Health Alliance, whichever one

      12    was available at the time.

      13       Q.     Have you seen any other specialists since

      14    2015 --

      15       A.     No.

      16       Q.     -- for any other conditions?

      17       A.     No.

      18       Q.     Have you seen any doctors other than at the

      19    Brevard Health Alliance --

     20        A.     No.

     21        Q.     -- since 2015?

     22        A.     Except for when I came here and I was

     23     checking up on the bacterial vaginosis or whatever

     24     it was, again.

     25        Q.     And where was it that you went for that?


    Golkow Litigation Services                                           Page 266
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 268 of 291 PageID
                               Raeann
                                   19062M. Bayless

       1       A.      I went to the ER here in Douglas.   I think

       2    it's Coffee something Medical Center, something.

       3       Q.      Is it located right here in Douglas?

       4       A.      It is.

       5       Q.      Is there more than one emergency room in

       6    Douglas?

       7               MR. SILVERMAN:   Form.

       8       A.      Not to my knowledge.

       9       Q.      And so you went to the emergency room with

      10    the bacterial vaginosis complaints that you

      11    discussed earlier?

      12       A.      Uh-huh.

      13       Q.      Is that a yes?

      14       A.      Yes.

      15       Q.      Is there any other emergency room that you

      16    visited in the last five years that you haven't told

      17    us about?

      18       A.      No.

      19       Q.      Going back to your bacterial vaginosis for a

     20     minute, how are the symptoms of bacterial vaginosis

     21     that you experience now different from those that

     22     you experienced before the surgery?

     23        A.      I cannot get rid of it.   Before I could

     24     treat it, take medicine and it would go away, the

     25     symptoms would be gone, it would clear up.

    Golkow Litigation Services                                           Page 267
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 269 of 291 PageID
                               Raeann
                                   19063M. Bayless

       1       Q.    But the symptoms themselves, are the

       2    symptoms the same?

       3             MR. SILVERMAN:    Form.

       4       A.    They're worse.

       5       Q.    Worse how?

       6       A.    The discharge is really slimy, the odor is

       7    even worse.     It's a different color.    It's grayish.

       8       Q.    What was your understanding of what had

       9    caused your bacterial vaginosis at the times that

      10    you had it pre-surgery?

      11             MR. SILVERMAN:    Object to form; calls for a

      12       medical conclusion, outside the witness's

      13       expertise.    You can answer if you know.

      14       A.    I would -- I don't know.    I don't have -- I

      15    don't have any medical knowledge as to what caused

      16    it except it was my understanding that it was just

      17    from the gapping open and more susceptible to

      18    bacteria getting into the vagina.

      19       Q.    Before the surgery?

     20        A.    Before the surgery.

     21        Q.    Did any doctor tell you that was the case?

     22              MR. SILVERMAN:    Form.

     23        A.    I -- I don't remember that.      They may have,

     24     that may be where I got the idea.

     25        Q.    I wanted to ask you about a couple people


    Golkow Litigation Services                                           Page 268
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 270 of 291 PageID
                               Raeann
                                   19064M. Bayless

       1    that you've identified as fact witnesses.            You

       2    listed your daughter Kassidy Joe.         Have you

       3    discussed your alleged injuries with her?

       4             MR. SILVERMAN:     Object to form.

       5       A.    She's aware of them.

       6       Q.    And when you say that she's aware of them,

       7    can you be a little more specific?

       8             MR. SILVERMAN:     Object to form; calls for

       9       speculation.

      10       A.    I have told her.     She has seen blood in my

      11    underwear and she knows that I don't have a period.

      12       Q.    And was she around you, living nearby you,

      13    at the time that you had your surgery in 2013?

      14       A.    She was.

      15       Q.    Were you living in the same residence in

      16    2013?

      17       A.    Maybe not the exact date of August the 9th,

      18    but it was off and on prior to that and maybe after

      19    that.

     20        Q.    Was she familiar with the prolapse and

     21     incontinence issues that you were experiencing prior

     22     to your surgery?

     23        A.    Yes.

     24              MR. SILVERMAN:     One second.     Object to form;

     25        calls for speculation.      You can answer if you


    Golkow Litigation Services                                            Page 269
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 271 of 291 PageID
                               Raeann
                                   19065M. Bayless

       1       know.

       2       Q.      Had you discussed those issues, the prolapse

       3    and incontinence issues?

       4       A.      Well, she was there when I would have

       5    leakage and stuff like that.

       6       Q.      Did she go with you to any doctor visits?

       7       A.      No.

       8       Q.      You also listed your daughter Michelle Pope.

       9    Was she living around you and near you in the 2013

      10    timeframe?

      11       A.      She lived close by, yes, but not with me.

      12       Q.      Did you discuss with her your prolapse and

      13    incontinence symptoms that you were experiencing?

      14               MR. SILVERMAN:     Form; compound.

      15       A.      She -- I openly had discussed my problem

      16    early on, you know, with the prolapse and stuff like

      17    that.   They've known about it.       We've discussed it.

      18       Q.      And have you talked with her about the

      19    injuries you've alleged in your lawsuit?

     20                MR. SILVERMAN:     Form.

     21        A.      Not extensively.     She's seen blood in my

     22     underwear and knew that it was -- knew that it

     23     shouldn't be normal because of the -- because I

     24     don't have a period, and also they would see me

     25     being physically, you know, like in pain, she was


    Golkow Litigation Services                                           Page 270
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 272 of 291 PageID
                               Raeann
                                   19066M. Bayless

       1    aware of that, that I had to lay down sometimes to

       2    rest myself or whatever, that she's seen that I

       3    can't stand too much physical activity without

       4    pulling or tugging or pressure, can't eat much

       5    because of pressure.        It, like, weighs on my pelvis

       6    area, if I eat too much, like a full meal, full

       7    plate.

       8       Q.      Has your daughter Michelle gone with you to

       9    any doctor's appointments?

      10       A.      She took me to the last one at the Brevard

      11    Health Alliance Melbourne office, she took me to

      12    that appointment.

      13       Q.      And did she go inside or stay in the waiting

      14    room?

      15       A.      She had kids with her, so she didn't come in

      16    there.

      17       Q.      Is there anyone who has ever accompanied you

      18    to any of your doctors' appointments?

      19       A.      No.

     20        Q.      Is there anyone with whom you've talked

     21     about the injuries that you've alleged in your

     22     lawsuit?

     23                MR. SILVERMAN:    Form.

     24        A.      No, not    just that one time with Sherry

     25     because Sherry, my friend Sherry had had the same.


    Golkow Litigation Services                                           Page 271
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 273 of 291 PageID
                               Raeann
                                   19067M. Bayless

       1    She had it in Brevard and I had it in Orange and it

       2    came up some kind of way and we just said about some

       3    of the same symptoms we had.

       4       Q.    And so other than your friend Sherry, there

       5    is no one else you've talked to?

       6       A.    Not extensively.

       7             MR. SILVERMAN:     Object to form.

       8       A.    Just my daughters.

       9       Q.    What is your understanding of your claim for

      10    out-of-pocket expenses in your lawsuit?

      11       A.    What did you say?

      12       Q.    What is your understanding of your claim for

      13    out-of-pocket expenses in your lawsuit?

      14             MR. SILVERMAN:     Form.

      15       A.    Time, just time, money going back -- going

      16    to Orlando or going to the doctors, gas money.

      17       Q.    And when have you gone to Orlando?

      18       A.    That was the one visit.     I didn't go back

      19    after that because of financial limitations.

     20        Q.    So what are the expenses that you're

     21     claiming in your out-of-pocket expenses portion of

     22     your lawsuit?

     23              MR. SILVERMAN:     Object to form.

     24        A.    Other than traveling, gas money, there's not

     25     much more after that.     I couldn't work.    I tried to


    Golkow Litigation Services                                           Page 272
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 274 of 291 PageID
                               Raeann
                                   19068M. Bayless

       1    work a couple of times and it would feel like a

       2    muscle was tearing, like I did -- I tried

       3    housekeeping and I couldn't make up the beds because

       4    it would put pressure and it caused pain in my

       5    abdomen area, abdominal area, so I had to quit the

       6    job.

       7       Q.    When was that?

       8       A.    I don't have -- I tried it a couple times at

       9    Ramada Inn, Comfort Inn, and then most recently,

      10    about a year ago or something, it was Fairfield

      11    Marriott in Titusville.    All of them were in

      12    Titusville.

      13       Q.    And it's your testimony that you obtained

      14    employment and were unable to maintain it?

      15             MR. SILVERMAN:    Form.

      16       A.    That's right.

      17       Q.    To go back for a second, so in terms of your

      18    out-of-pocket expenses, it's gas money, is that

      19    right?

     20              MR. SILVERMAN:    Form.

     21        A.    Most of the gas money.

     22        Q.    For trips to see your doctors?

     23        A.    I didn't have to pay for those, so that

     24     really not

     25        Q.    So those aren't


    Golkow Litigation Services                                           Page 273
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 275 of 291 PageID
                               Raeann
                                   19069M. Bayless

       1       A.      Relevant.

       2       Q.      Expenses that actually incurred?

       3       A.      Pardon.

       4               MR. SILVERMAN:   Form.

       5       Q.      Those are not expenses that you actually

       6    had?

       7       A.      No, it was based on your income and I didn't

       8    have any income, so it --

       9       Q.      And are you claiming any medication costs as

      10    out-of-pocket expenses in your lawsuit?

      11       A.      Am I claiming that?

      12       Q.      Yeah, any medication that you have needed to

      13    take as a result of your lawsuit?

      14               MR. SILVERMAN:   Form.

      15       A.      Just over the -- over the counter but there

      16    was -- nothing prescribed.       I just kind of dealt

      17    with the pain.

      18       Q.      Well, what are the over the counter

      19    medications that you claim

     20        A.      Like Aleve or Tylenol or aspirin.

     21        Q.      And have you maintained any documentation of

     22     the costs associated with your purchase of Aleve or

     23     Tylenol?

     24        A.      No.   No.

     25                MR. SILVERMAN:   Form.


    Golkow Litigation Services                                           Page 274
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 276 of 291 PageID
                               Raeann
                                   19070M. Bayless

       1       Q.    My understanding from your plaintiff fact

       2    sheet was that you are not making a claim for lost

       3    wages or lost earning capacity?

       4       A.    I couldn't work.

       5       Q.    No.   Based on your answers throughout this

       6    lawsuit, it was that you were not making a -- making

       7    such a claim for lost wages or out -- or earning

       8    capacity?

       9       A.    No, because I --

      10             MR. SILVERMAN:     Form.

      11       A.    I don't have any lost wages because I didn't

      12    work.

      13       Q.    You weren't working at the time of the

      14    surgery, correct?

      15       A.    No.

      16             MR. SILVERMAN:     Form.

      17       A.    Right before, I think it was right before

      18    that, I worked at the day spa.

      19       Q.    But you had quit that job previously?

     20        A.    After the car wreck.

     21        Q.    Have you ever had any contact or

     22     conversation with anyone who worked at a company

     23     called Coloplast before Dr. Jones did your surgery?

     24        A.    No.

     25        Q.    To your knowledge you've never seen a


    Golkow Litigation Services                                           Page 275
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 277 of 291 PageID
                               Raeann
                                   19071M. Bayless

       1    Coloplast advertisement or brochure prior to

       2    surgery, correct?

       3             MR. SILVERMAN:    Form.

       4       A.    No.

       5       Q.    You never signed any contract with Coloplast

       6    or any representative from Coloplast, correct?

       7             MR. SILVERMAN:    Form.

       8       A.    No.

       9       Q.    And you never received any written or verbal

      10    information or instructions about the Coloplast mesh

      11    that was implanted, correct?

      12             MR. SILVERMAN:    Object to form.

      13       A.    No.

      14       Q.    And you never saw any instructions for use,

      15    packaging, brochures or other informational

      16    materials about the Coloplast mesh, correct?

      17             MR. SILVERMAN:    Form.

      18       A.    That's correct.

      19       Q.    Have you ever filed a lawsuit before this

     20     one?

     21        A.    Just for the car wreck and it was the

     22     insurance company that I was entitled to, they told

     23     me I was --

     24              MR. SILVERMAN:    I'm going to instruct you

     25        that if you had an attorney at the time of that


    Golkow Litigation Services                                           Page 276
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 278 of 291 PageID
                               Raeann
                                   19072M. Bayless

       1       car accident, for that car accident, that would

       2       all be privileged information.

       3              THE WITNESS:     Okay.     Okay.

       4              MR. SILVERMAN:     Any communication you had

       5       with your attorney at that time.

       6       Q.     I'm not asking for communication or if you

       7    had an attorney

       8              MR. SILVERMAN:     I know but she was --

       9       A.     That was the only one.

      10       Q.     Did you file a lawsuit against the other

      11    driver?

      12       A.     Through the -- I filed a lawsuit with the

      13    insurance company, his insurance company.

      14       Q.     And how was that resolved?

      15              MR. SILVERMAN:     Form.

      16       A.     They awarded me, like, $3400, after the

      17    attorney got theirs.

      18       Q.     Has anyone offered to pay or reimburse you

      19    for your losses?

     20        A.     Pardon me?

     21               MR. SILVERMAN:     Object to form.

     22        Q.     Has anyone offered to pay you or reimburse

     23     you for filing your lawsuit?

     24        A.     No.

     25        Q.     Have you talked about your decision to file


    Golkow Litigation Services                                           Page 277
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 279 of 291 PageID
                               Raeann
                                   19073M. Bayless

       1    a lawsuit with anyone other than your lawyers?

       2               MR. SILVERMAN:   Form.

       3          A.   Not to my recollection, no.

       4          Q.   You testified in response to a question from

       5    Ms. Erixson that you saw a television commercial

       6    when -- about mesh lawsuits.        Is that correct?

       7          A.   I did.

       8               MR. SILVERMAN:   Form.

       9          Q.   What did that commercial say?

      10               MR. SILVERMAN:   Object to form.

      11          A.   I don't remember that.

      12          Q.   What were you watching on TV when you saw

      13    it?

      14          A.   I don't remember that.

      15          Q.   What channel were you watching when you saw

      16    it?

      17          A.   I don't remember that.

      18          Q.   What law firm was the commercial for?

      19               MR. SILVERMAN:   Form.

     20           A.   Schlesinger.

     21           Q.   Who else was watching TV with you when

     22     the ad came on?

     23           A.   I don't remember that.

     24           Q.   Was anyone else with you watching

     25     television?


    Golkow Litigation Services                                           Page 278
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 280 of 291 PageID
                               Raeann
                                   19074M. Bayless

       1       A.    I don't know.    I don't remember that.   I

       2    don't know.

       3       Q.    Do you remember having a conversation with

       4    someone about the ad that you just saw?

       5       A.    No.

       6             MR. SILVERMAN:   Object to form.

       7       Q.    Did you get the number of the law firm?

       8       A.    I did and I called it.

       9       Q.    Well, did you get it directly from that

      10    commercial?

      11       A.    Yes.

      12             MR. SILVERMAN:   Form.

      13       Q.    So did you just scribble it down right away

      14    or pause the TV?   How did you --

      15       A.    I wrote the number down.    I went and got a

      16    piece of paper and a pen and wrote it down.

      17       Q.    During the duration of the commercial?

      18       A.    Yes, before it was over, yes.

      19             MR. SILVERMAN:   Form.

     20        Q.    But you don't recall what the commercial

     21     said?

     22        A.    No.

     23        Q.    And you hadn't seen -- strike that.

     24              Had you seen such a commercial prior to

     25     having your mesh surgery?


    Golkow Litigation Services                                           Page 279
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 281 of 291 PageID
                               Raeann
                                   19075M. Bayless

       1               MR. SILVERMAN:    Object to form.

       2       A.      I don't remember.

       3       Q.      It's possible that you had?

       4               MR. SILVERMAN:    Form; calls for speculation,

       5       asked and answered.

       6       A.      I don't remember.

       7               MS. HOWARD:    I'd like to go off the record

       8       for just a moment.

       9               THE VIDEOGRAPHER:    Off the record at 4:52.

      10            (Recess from 4:52 p.m. until 4:58 p.m.)

      11               THE VIDEOGRAPHER:    Back on the record at

      12       4:58.

      13    BY MS. HOWARD:

      14       Q.      Ms. Bayless, do you have any criticisms of

      15    Dr. Jones's treatment of you?

      16               MR. SILVERMAN:    Form.

      17       A.      No, I don't.

      18       Q.      Has anyone ever told you anything that would

      19    cause you to question Dr. Jones's treatment of you?

     20        A.      No.

     21                MR. SILVERMAN:    Form.

     22                MS. HOWARD:    I'll pass the witness.

     23                MR. SILVERMAN:    You're done?

     24                MS. HOWARD:    Uh-huh.

     25                MR. SILVERMAN:    Okay.


    Golkow Litigation Services                                           Page 280
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 282 of 291 PageID
                               Raeann
                                   19076M. Bayless

       1                          CROSS-EXAMINATION

       2    BY MR. SILVERMAN:

       3       Q.    How are you, Ms. Bayless?

       4       A.     I'm fine.

       5       Q.    We've been having a long day.        Are you

       6    getting tired?

       7       A.    A little, but I'm still here.

       8       Q.    Okay.   All right.     We're almost done.      A

       9    little longer than I originally probably thought but

      10    we're almost there.      I just have a few questions for

      11    you.    I may jump around a little bit based on some

      12    of the notes that I've been taking for the last

      13    five, six hours.

      14       A.    Okay.

      15       Q.    And we'll get you out of here.        Okay?

      16       A.    Okay.

      17       Q.     I'd like to talk about Dr. Garcia.       You

      18    testified just not too long ago and earlier on in

      19    the deposition with regards to a 2015 doctor's visit

     20     with Dr. Garcia.      Do you remember that?

     21        A.     I do, vaguely, yes.

     22        Q.    That was a doctor's visit at the emergency

     23     room?

     24        A.    Yes.    I know that was for sure.

     25        Q.    Okay.   And would that be Parrish Medical

    Golkow Litigation Services                                           Page 281
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 283 of 291 PageID
                               Raeann
                                   19077M. Bayless

       1    Center in Titusville, Florida?

       2       A.    It is.    It is.

       3       Q.    Now, you testified earlier that Dr. Garcia

       4    diagnosed you with mesh erosion.          Do you remember

       5    testifying to that?

       6       A.    I do.

       7             MS. ERIXSON:       Objection.

       8             MR. SILVERMAN:       What's the objection?

       9             MS. ERIXSON:       Foundation.

      10             MR. SILVERMAN:       She testified to it earlier.

      11       I'm asking if she did.

      12             MS. ERIXSON:       Okay.

      13    BY MR. SILVERMAN:

      14       Q.    Did you testify earlier that Dr. Garcia

      15    diagnosed you with mesh erosion in 2015?

      16       A.    He confirmed it, yes.

      17       Q.    Okay.    And is that the first time that you

      18    had associated all the pain and injuries that you

      19    have described today with the mesh product?

     20        A.    Yes.

     21        Q.    And when I say mesh product, I mean the mesh

     22     implants that were implanted in you by Dr. Jones in

     23     2013.

     24              MS. ERIXSON:       Objection.

     25        A.    Yes.


    Golkow Litigation Services                                           Page 282
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 284 of 291 PageID
                               Raeann
                                   19078M. Bayless

       1       Q.      Okay.     Did Dr. Garcia tell you that the

       2    injuries that you discussed today with regards to

       3    well, strike that.

       4               You remember testifying earlier with regards

       5    to a number of injuries that you described today?

       6       A.      Yes.

       7       Q.      You talked about pain during sex, correct?

       8       A.      Yes.

       9       Q.      And you talked about bleeding and vaginal

      10    pain and a long list of symptoms and injuries that

      11    you claim are as a result of your mesh implant,

      12    correct?

      13       A.      Yes.

      14       Q.      Do remember testifying about that?

      15       A.      Yes.

      16       Q.      Okay.     Did Dr. Garcia tell you at that 2015

      17    timeframe or the 2014 -- 2015 time that those

      18    injuries were a result of the mesh products

      19    implanted in you?

     20                MS. ERIXSON:     Objection.

     21        A.      He did.

     22        Q.      I'm sorry?     You can answer.

     23        A.      He did.

     24        Q.      Okay.     Had you known at the time of the

     25     surgery -- when I say surgery, I mean with regards


    Golkow Litigation Services                                           Page 283
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 285 of 291 PageID
                               Raeann
                                   19079M. Bayless

       1    to the mesh implant from 2013 -- had you known at

       2    that time that you would have been more susceptible

       3    to all the injuries that you described today, would

       4    you have ever consented to the mesh implant?

       5             MS. ERIXSON:     Objection.

       6             MS. HOWARD:    Object to form; calls for

       7       speculation.

       8       A.    No.

       9       Q.    I'm sorry?

      10       A.    No, I wouldn't.

      11             MR. SILVERMAN:     Okay.   No further questions.

      12             MS. ERIXSON:     I have no further questions.

      13             MS. HOWARD:    I have no further questions at

      14       this time; however, I reserve the right to hold

      15       open the deposition for further questioning once

      16       we receive additional medical records from

      17       Ms. Bayless.

      18             MR. SILVERMAN:     And if that were the case,

      19       we could deal with it at this time.         At this time

     20        you guys are completed with the deposition and

     21        pursuant to the current trial order.

     22              MS. ERIXSON:     I'll make the same

     23        reservation.

     24              MR. SILVERMAN:     And I'll make the same

     25        objection and we'll deal with it at that time.


    Golkow Litigation Services                                            Page 284
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 286 of 291 PageID
                               Raeann
                                   19080M. Bayless

       1               All right, guys.    Thank you so much.   She'll

       2       read.

       3               THE VIDEOGRAPHER:    This concludes today's

       4       deposition of Raeann Bayless.       We are off the

       5       record at 5:01.

       6               (Whereupon, the deposition adjourned at

       7    5:01 p.m.)

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    Golkow Litigation Services                                           Page 285
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 287 of 291 PageID
                               Raeann
                                   19081M. Bayless

       1

       2                      CERTIFICATE
       3

       4

       5                     I HEREBY CERTIFY that the
            witness was duly sworn by me and that the
       6    deposition is a true record of the
            testimony given by the witness.
       7

                             It was requested before
       8    completion of the deposition that the
            witness, RAEANN M. BAYLESS, have the
       9    opportunity to read and sign the
            deposition transcript.
      10
      11



      12            Susan D. Wasilewski, RPR, CRR
                    Certified Reporter
      13           Notary Public
                    Dated:    June 12, 2018
      14
      15
      16
                             (The foregoing certification
      17    of this transcript does not apply to any
      18    reproduction of the same by any means,
      19    unless under the direct control and/or
     20     supervision of the certifying reporter.)
     21
     22
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    Golkow Litigation Services                                           Page 286
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 288 of 291 PageID
                               Raeann
                                   19082M. Bayless

       1                    INSTRUCTIONS TO WITNESS

       2

       3

       4             Please read your deposition over carefully

       5    and make any necessary corrections.    You should

       6    state the reason in the appropriate space on the

       7    errata sheet for any corrections that are made.

       8

       9             After doing so, please sign the errata sheet

      10    and date it.   It will be attached to your

      11    deposition.

      12

      13             It is imperative that you return the

      14    original errata sheet to the deposing attorney

      15    within thirty (30) days of receipt of the deposition

      16    transcript by you.   If you fail to do so, the

      17    deposition transcript may be deemed to be accurate

      18    and may be used in court.

      19

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    Golkow Litigation Services                                           Page 287
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 289 of 291 PageID
                               Raeann
                                   19083M. Bayless

       1

       2                           E R R A TA

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       4   PAGE   LINE    CHANGE

       5

       6     REASON:

       7

       8     REASON:

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      10     REASON:

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      12     REASON:

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      14     REASON:

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      16     REASON:

      17

      18     REASON:

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     20      REASON:

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     22      REASON:

     23

     24      REASON:

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    Golkow Litigation Services                                           Page 288
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 290 of 291 PageID
                               Raeann
                                   19084M. Bayless

       1                    ACKNOWLEDGMENT OF DEPONENT

       2

       3             I,

       4    acknowledge that I have read the foregoing pages, 1

       5    through 289, and that the same is a correct

       6    transcription of the answers given by me to the

       7    questions therein propounded, except for the

       8    corrections or changes in form or substance, if any,

       9    noted in the attached Errata Sheet.

      10

      11

      12

      13   RAEANN M. BAYLESS                             DATE

      14

      15

      16

      17

      18    Subscribed and sworn to before me this

      19    ~~   day of

     20     My Commission expires:

     21

     22

            Notary Public

     23

     24

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    Golkow Litigation Services                                           Page 289
Case 6:20-cv-00831-RBD-GJK Document 110-7 Filed 10/01/20 Page 291 of 291 PageID
                               Raeann
                                   19085M. Bayless

       1                         LAWYER'S NOTES

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    Golkow Litigation Services                                           Page 290
